Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 1 of 134 PageID #: 53175




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 THE UNITED STATES OF AMERICA,
      Plaintiff–Counterclaim Defendant,
                                               C.A. No. 1:19-cv-02103-MN-CJB
        v.
                                               FILED UNDER SEAL
 GILEAD SCIENCES, INC.,
      Defendant–Counterclaim Plaintiff,

 AND GILEAD SCIENCES IRELAND
 UC,
      Defendant.


               LETTER TO THE HONORABLE CHRISTOPHER J. BURKE
                       REGARDING DISCOVERY DISPUTE


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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 2 of 134 PageID #: 53176

 CONTAINS RESTRICTED INFORMATION—Subject to Protective Order


 Dear Judge Burke,
        According to the Court’s Order (D.I. 261), Plaintiff United States of America
 (Government) outlines the following discovery disputes with Defendants Gilead Sciences, Inc.
 (GSI) and Gilead Sciences Ireland UC (GSIUC) (collectively, Gilead).
         First, the Court should order GSIUC to designate a witness to testify on topics 4, 5, 6,
 23, 33, 35 and 54. GSIUC sought to avoid its discovery obligations by refusing to produce
 documents responsive to the Government’s Requests for Production, which caused the
 Government to seek relief from the Court last month. The Court ordered GSIUC to produce
 documents in response to the Government’s production requests. D.I. 247. With the close of fact
 discovery quickly approaching, GSIUC is still producing documents (as of yesterday) in response
 to the Court’s order, and GSIUC continues to refuse to designate a witness to testify on numerous
 30(b)(6) topics. Having already ordered GSIUC to comply with its document production
 discovery obligations, the Court should likewise order GSIUC to comply with its discovery
 obligations by designating a witness to testify regarding the ordered documents and core issues of
 this dispute.
          Topics 4, 5, 6, and 23 relate to the use and promotion of the accused products and GSIUC’s
 role in such use and promotion. See D.I. 195 at A2-A3, A7. For these topics, GSIUC does not
 assert that it lacks non-privileged information. Since the last dispute over GSIUC’s failure to
 comply with its discovery obligations, the Government has secured additional testimony
 surrounding the relevance of GSIUC to this action. One GSIUC witnesses testified that (a) GSIUC
 has given its affirmative permission to GSI to use GSIUC’s trademark to market Descovy for PrEP
 in the United States (Ex. A at 128:10-130:6) and (b) that the FDA must approve all marketing and
 promotional materials that contain GSIUC’s mark DESCOVY FOR PREP because it makes a
 positive claim about Descovy (id. at 232:25-233:12). The Government is entitled to testimony
 from GSUIC regarding the labeling of Descovy for PrEP, the use of Descovy for PrEP in
 accordance with the label, any communication with the FDA regarding the use of the Descovy for
 PrEP trademark, and the corresponding prosecution of the Descovy for PrEP trademark. Such
 testimony falls squarely within topics 4, 5, 6, and 23, and GSIUC is obligated to provide a witness
 to testify as to GSIUC’s involvement in manufacturing GSI products, their use, and promotion via
 GSIUC’s trademarks.
         Topics 33 and 35 relate to GSIUC’s knowledge of certain patents and patent applications,
 and communications with the Government regarding the patents-in-suit. See D.I. 195 at A9-A10.
 This subject matter is also clearly relevant and reflect proper topics for discovery. GSIUC’s refusal
 to designate a witness to provide any testimony, therefore, is improper.
          Topic 54 relates to work by GSIUC to manufacture, import, market, distribute, label, or
 sell Truvada and Descovy for PrEP in the U.S. Id. at A13. In light of GSIUC’s labeling activities
 and ownership of the Descovy for PrEP trademark, the Government is entitled to testimony relating
 to this topic.
          The Court should order GSIUC to designate a witness to provide testimony relating to
 topics 4, 5, 6, 23, 33, 35 and 54. This is necessary to avoid Gilead’s attempt to force the
 Government to accept Gilead’s already rejected argument that GSIUC should not be a party in this
 action. As the holder of the Descovy for PrEP trademark and the manufacturer of accused
 products, the Government is entitled to explore the GSIUC’s knowledge and coordination of
 activities with GSI through FRCP 30(b)(6).


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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 3 of 134 PageID #: 53177

 CONTAINS RESTRICTED INFORMATION—Subject to Protective Order


        Second, the Court should order Gilead to produce a non-apex witness knowledgeable
 about Mr. O’Day’s statements and topics 44-45. Gilead previously invoked the “apex” doctrine
 to avoid the deposition of Gilead’s CEO, Mr. Daniel O’Day, despite significant evidence
 concerning his personal knowledge of his own sworn testimony to the U.S. House of
 Representatives on May 16, 2009. See D.I. 233; D.I. 251; D.I. 247 (granting protective order).
 Last month, Gilead told this Court that the Government must seek testimony from alternative
 witnesses before seeking to depose Mr. O’Day. The Government has attempted to do so; however,
 Gilead has refused to provide any alternative witnesses.
         On January 7, the Government took the deposition of Mr. Gregg Alton—the interim CEO
 of Gilead who immediately preceded Mr. O’Day and remained with Gilead after Mr. O’Day
 joined. Mr. Alton admitted to having had a small role in preparing Mr. O’Day for his congressional
 testimony and he was present at the hearing. See Ex. B at 37:8-21. The Government asked Mr.
 Alton for the basis of Mr. O’Day’s testimony that “We believe the CDC patents are invalid” and
 Gilead’s counsel objected on the ground that the question “[c]alls for speculation.” See id. at
 38:15-39:3. Further, Mr. Alton did not know the basis for Mr. O’Day’s statement. See id. at 39:6-
 7. Upon further questioning into the bases for other statements by Mr. O’Day, Mr. Alton could
 not shed any light on them and ultimately agreed that, for the Government “to know what Mr.
 O’Day was saying, we would have to ask Mr. O’Day.” See id. at 53:3-8.
          Mr. Alton’s testimony was clear as to who the Government should ask about Mr. O’Day’s
 statements—Mr. O’Day himself. It is difficult to imagine any less speculative source for the
 Government to elicit testimony regarding his statements. Gilead has refused to provide a witness
 to testify about Mr. O’Day’s testimony and statements to Congress. This is the minimum needed
 to prevent Gilead from manipulating the Court’s protective order, D.I. 247, into a blanket refusal
 to provide any witness concerning Mr. O’Day’s Congressional testimony. Yet, this is precisely
 what Gilead is doing, as reflected in Gilead’s refusal to designate a witness to address topics 44
 and 45 that are specifically directed to the Congressional testimony. The Government respectfully
 requests that the Court order Gilead to identify one or more witnesses to testify regarding the
 content of Mr. O’Day’s statements to Congress.
         Third, the Court should order GSI to designate a witness to testify on Topics 19, 23,
 and 46. Topic 19 relates to Gilead’s characterizations of the use of the Accused Products “for
 PrEP.” See D.I. 195 at A6. Gilead’s refusal to designate a witness for this topic is grounded in
 the mistaken belief that this topic seeks Gilead’s legal contentions. Gilead, however, misconstrues
 topic 19 as a contention topic merely because it contains words that coincide with well-recognized
 secondary considerations. The topic does not call for Gilead’s contentions about the Patents-in-
 Suit or any of Gilead’s legal contentions. Rather, the topic calls for testimony about Gilead’s
 knowledge as to the characterizations of the Accused Products and the factual bases for these
 characterizations. Gilead produced documents using the terms referenced in the topic and
 implicating these concepts. Gilead should not be permitted to avoid providing deposition
 testimony regarding topic 19 simply because the topic (and Gilead) use terminology that overlaps
 with secondary considerations.
         Topic 23 concerns the preparation and prosecution of trademarks describing the use of the
 accused products for PrEP. Id. at A7. Gilead’s refusal to provide a witness to testify regarding
 this topic is meritless. The trademarks listed in topic 23 feature prominently in the Governments
 infringement contentions and are plainly meant to be promotional. Also, the use of such marks
 must be approved by the FDA pursuant to Ms. Koomey’s testimony concerning marketing and


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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 4 of 134 PageID #: 53178

 CONTAINS RESTRICTED INFORMATION—Subject to Protective Order


 promotional materials that contain the mark DESCOVY FOR PREP. Ex. A at 232:25-233:12.
 The Government is entitled to testimony from GSI regarding the preparation, filing, and
 prosecution of its trademarks promoting the accused products for what the Government has alleged
 is an infringing use.
          For Topic 46, Gilead initially designated Ms. Vazquez for a narrowed version of the topic
 (the execution of the MTA signatures for each of the relevant MTAs and Gilead’s compliance with
 its obligations under those MTAs) and the witness was not prepared to testify beyond the signature
 on the relevant documents and Gilead’s shipment of materials. See, e.g., Ex. C at 57:9-60:8; 61:10-
 62:21; 63:22-65:2. Gilead has now designated Jim Rooney to testify regarding yet another small
 portion of topic 46 “as it relates to approval of the listed MTAs.” Ex. D at 1. Gilead already
 agreed to provide a witness for topic 46 in its November 22 Objections and Responses (see Ex. E
 at 78-80). Fact discovery is nearly at an end and the Government is entitled to a witness that will
 testify to the full scope of the topic regarding the MTAs and Gilead’s general knowledge regarding
 them.
         Fourth, the Court should order Gilead to produce documents relating to the
 considerations and setting of the original price of Truvada. During the last discovery dispute,
 the Government requested that the Court order Gilead to produce documents related to the initial
 retail and wholesale pricing of Truvada when it was launched as an HIV treatment in 2004. See
 D.I. 233. Since this last dispute, the Government has collected additional evidence demonstrating
 good cause for the production of the requested documents from this time frame. Mr. Alton testified
 that (a) all pricing decisions at Gilead occur at the CEO level (see Ex. B at 168:2-170:4; 176:9-
 14); and (b) that to understand the price of the accused products today, one needs to look at how
 the prices were originally set (see id. at 115:22-116:23). Moreover, Mr. Alton testified that Gilead
 could not have a different price for selling Truvada for treatment or selling Truvada for PrEP. See
 id. at 113:21-114:9. Mr. Alton’s testimony provides good cause to require Gilead to produce
 documents regarding the setting of Truvada’s price upon launch in 2004. The Government
 respectfully requests that the Court reconsider its prior ruling (D.I. 247) in light of this newly
 obtained evidence.



                                                      Respectfully submitted,

                                                      /s/ Walter W. Brown
                                                      WALTER W. BROWN

 cc: Gilead’s counsel (via CM/ECF & Email)




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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 5 of 134 PageID #: 53179




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  THE UNITED STATES OF AMERICA,

          Plaintiff & Counterclaim-Defendant,

          v.

  GILEAD SCIENCES, INC. and
  GILEAD SCIENCES IRELAND UC,                                   C.A. No. 19-02103-MN-CJB

          Defendants & Counterclaim-Plaintiff.




                                      [PROPOSED] ORDER

        At Wilmington, this _____ day of ____________________, 2022, the Court, having

 considered Plaintiff United States of America Motion to Compel the production of certain

 documents and designation of witnesses for certain Rule 30(b)(6) topics and any briefing and

 argument associated therewith;

        IT IS HEREBY ORDERED that, no later than February 14, 2022, Defendant GSIUC is

 required to designate and produce a witness to testify regarding Plaintiff’s 30(b)(6) Topic Nos. 4,

 5, 6, 23, 33, 35 and 54.

        IT IS FURTHER that, no later than February 14, 2022, Defendant GSI is required to

 designate and produce a witness to testify regarding Plaintiff’s 30(b)(6) Topic Nos. 19, 23, and 46.

        IT IS FURTHER that, no later than February 14, 2022, Defendant GSI is required to

 designate and produce a witness to testify regarding Plaintiff’s 30(b)(6) Topic Nos. 44 and 45.
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 6 of 134 PageID #: 53180

 CONTAINS RESTRICTED INFORMATION—Subject to Protective Order


        IT IS FURTHER ORDERED that, no later than February 14, 2022, Defendants are

 required to produce documents responsive to Plaintiff’s Request for Production No. 222 dating

 back to when Truvada® was launched as a HIV-treatment in 2004.




                                           ______________________________
                                           The Honorable Christopher J. Burke
                                           United States Magistrate Judge




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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 7 of 134 PageID #: 53181




                          Exhibit A
    Deposition Transcript of Melissa Koomey (excerpts)
Case 1:19-cv-02103-MN   Document 287 Filed 02/01/22 Page 8 of 134 PageID #: 53182
                    CONFIDENTIAL AEO - UNDER PROTECTIVE ORDER




                   TSG Reporting - Worldwide· · 877-702-9580
Case 1:19-cv-02103-MN   Document 287 Filed 02/01/22 Page 9 of 134 PageID #: 53183
                    CONFIDENTIAL AEO - UNDER PROTECTIVE ORDER




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Case 1:19-cv-02103-MN  Document 287 Filed 02/01/22 Page 10 of 134 PageID #: 53184
                    CONFIDENTIAL AEO - UNDER PROTECTIVE ORDER




                    TSG Reporting - Worldwide· · 877-702-9580
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Case 1:19-cv-02103-MN  Document 287 Filed 02/01/22 Page 11 of 134 PageID #: 53185
                    CONFIDENTIAL AEO - UNDER PROTECTIVE ORDER




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                                                                                    YVer1f
Case 1:19-cv-02103-MN  Document 287 Filed 02/01/22 Page 12 of 134 PageID #: 53186
                    CONFIDENTIAL AEO - UNDER PROTECTIVE ORDER




                    TSG Reporting - Worldwide· · 877-702-9580
                                                                                    YVer1f
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 13 of 134 PageID #: 53187




                           Exhibit B
         Deposition Transcript of Greg Alton (excerpts)
     Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 14 of 134 PageID #: 53188
                                     Confidential

                                                                                  Page 1
·1· · · · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · · · FOR THE DISTRICT OF DELAWARE

·3

·4· ·THE UNITED STATES OF AMERICA,· · )
· · · · · · · · · · · · · · · · · · · )
·5· ·Plaintiff-Counterclaim Defendant,)
· · · · · · · · · · · · · · · · · · · ) Case No. 1:19-cv-02103-MN
·6· · · · · · · vs.· · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · ) Volume I
·7· ·GILEAD SCIENCES, INC.,· · · · · ·)
· · · · · · · · · · · · · · · · · · · ) Pages 1 to 213
·8· ·Defendant-Counterclaim Plaintiff,)
· · · · · · · · · · · · · · · · · · · )
·9· ·AND GILEAD SCIENCES IRELAND UC,· )
· · · · · · · · · · · · · · · · · · · )
10· · · · · · · · · ·Defendant.· · · ·)
· · ·_________________________________)
11

12

13

14

15· · · · · · · · · ·*** C O N F I D E N T I A L ***

16· · · · · · · · · · ·SUBJECT TO PROTECTIVE ORDER

17

18· · REMOTE VIDEOCONFERENCED VIDEOTAPED DEPOSITION OF GREGG ALTON

19· · · · · · · · Remotely in San Francisco, California

20· · · · · · · · · · · ·Friday, January 7, 2022

21

22

23

24· ·Reported by:
· · ·ELIZABETH BORRELLI, CSR No. 7844, CCRR, CLR
25· ·JOB NO. 204469


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     Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 15 of 134 PageID #: 53189
                                     Confidential

                                                        Page 2                                                                Page 3
·1                                                                ·1· ·APPEARANCES OF COUNSEL:
                                                                  ·2
·2
                                                                  ·3· ·For the Plaintiff:
·3                                                                ·4· · · · · · ·U.S. DEPARTMENT OF JUSTICE
                                                                  · · · · · · · ·BY:· PHILIP STERNHELL, appearing remotely
·4
                                                                  ·5· · · · · · ·Attorney at Law
·5                                                                · · · · · · · ·1100 L Street, NorthWest
·6                                                                ·6· · · · · · ·Washington, DC 20005
                                                                  ·7
·7                                                                ·8· ·For the Defendants Gilead Sciences, Inc., and Gilead Sciences
·8· · · · Remote Videoconferenced Videotaped                      · · ·Ireland UC:
                                                                  ·9
·9· ·Deposition of GREGG ALTON, Volume I, taken on                · · · · · · · ·WilmerHale
10· ·behalf of the Plaintiff, at San Francisco,                   10· · · · · · ·BY:· GEORGE VARGHESE, appearing remotely
                                                                  · · · · · · · · · · BENJAMIN CONERY, appearing remotely
11· ·California, commencing at 9:11 a.m., Friday,                 11· · · · · · · · · RONALD MACHEN, appearing remotely
12· ·January 7, 2022, before Elizabeth Borrelli, a                · · · · · · · · · · CHRISTINA ZAROULIS, appearing remotely
                                                                  12· · · · · · ·Attorney at Law
13· ·Certified Shorthand Reporter in the State of                 · · · · · · · ·60 State Street
14· ·California, License No. 7844.                                13· · · · · · ·Boston, Massachusetts 02109
                                                                  14
15· · · · · · · · · · · · · ·* * *                                15
16                                                                16
                                                                  17· ·For HHS:
17
                                                                  18· · · · · · ·Knobbe Martens
18                                                                · · · · · · · ·BY:· ANDREW MORRELL, PhD
                                                                  19· · · · · · ·Attorney at Law
19
                                                                  · · · · · · · ·1717 Pennsylvania Avenue
20                                                                20· · · · · · ·Washington, DC 20006
                                                                  21
21
                                                                  22
22                                                                · · · · ·Also Present:
                                                                  23
23
                                                                  · · · · · · ·CHRIS JORDAN, Videographer, appearing remotely
24                                                                24· · · · · ·TRISHA VONLANKEN, Exhibit Handler, appearing remotely
25                                                                · · · · · · ·SAMANTAK GHOSH, Gilead
                                                                  25

                                                         Page 4                                                            Page 5
·1· · · · · · · · · · · · · · · I N D E X                         ·1· ·Exhibit 6· · · Memorandum of Understanding· · · · · · 65
·2· ·WITNESS· · · · · · · · · · · · · · · · · · · EXAMINATION     · · · · · · · · · · among Gilead Sciences, Inc.,
                                                                  ·2· · · · · · · · · Department of Health and Human
·3· ·GREGG ALTON                                                  · · · · · · · · · · Services, and Centers for
·4· ·By MR. STERNHELL· · · · · · · · · · · · · · · · · · · 11     ·3· · · · · · · · · Disease Control and Prevention,
·5                                                                · · · · · · · · · · drafted April 8, 2019, Bates
·6                                                                ·4· · · · · · · · · Nos. GILDDE00523441 through
                                                                  · · · · · · · · · · GILDDE00523444, 4 pages
·7· · · · · · · · · · · · · · · EXHIBITS                          ·5
·8                                                                · · ·Exhibit 7· · · E-mail from Amy Flood to John· · · · · 68
·9· ·ALTON· · · · · · · · · · · · · · · · · · · · · · · ·PAGE     ·6· · · · · · · · · Martin, John Milligan, Norbert
                                                                  · · · · · · · · · · Bischofberger, Kevin Young,
10· ·Exhibit 1· · · Non-Party Gregg Alton’s· · · · · · · · 13     ·7· · · · · · · · · Gregg Alton, Howard Jaffe, Jim
· · · · · · · · · · Objections and Responses to                   · · · · · · · · · · Rooney, Jeffrey Hessekiel,
11· · · · · · · · · Plaintiff’s Subpoena for                      ·8· · · · · · · · · Andrew Cheng, Mick Hitchock,
· · · · · · · · · · Testimony and Documents, 12                   · · · · · · · · · · Craig Gibbs, Jim Meyers,
                                                                  ·9· · · · · · · · · Cristin Lis, Clifford Samuel,
12· · · · · · · · · pages                                         · · · · · · · · · · dated February 5, 2008, Bates
13· ·Exhibit 2· · · Letter from Committee on· · · · · · · ·32     10· · · · · · · · · Nos. GILDDE00471221 through
· · · · · · · · · · Oversight and Reform to Gilead                · · · · · · · · · · GILDDE00471224, 4 pages
                                                                  11
14· · · · · · · · · Sciences, Inc., dated April 25,               · · ·Exhibit 8· · · E-mail from Cara Miller to· · · · · · ·74
· · · · · · · · · · 2019, Bates Nos. GILDDE00343888               12· · · · · · · · · Gregg Alton, Robert Janssen,
15· · · · · · · · · through GILDDE00343898, 11                    · · · · · · · · · · Jim Rooney, David Pizzuti,
· · · · · · · · · · pages                                         13· · · · · · · · · Pamela Danagher, Clifford
                                                                  · · · · · · · · · · Samuel, Tony Caracciolo,
16                                                                14· · · · · · · · · Jeffrey Hessekiel, Coy Stout,
· · ·Exhibit 3· · · Transcript of Hearing Before· · · · · ·38     · · · · · · · · · · dated February 9, 2009, Bates
17· · · · · · · · · the Committee on Oversight and                15· · · · · · · · · Nos. GILDDE00923994, 1 page
                                                                  16· ·Exhibit 9· · · E-mail string beginning with· · · · · ·81
· · · · · · · · · · Reform dated May 16, 2019, 67
                                                                  · · · · · · · · · · e-mail from Bill Lee to Tyler
18· · · · · · · · · pages                                         17· · · · · · · · · White dated September 29, 2009,
19· ·Exhibit 4· · · Letter from Committee on· · · · · · · ·51     · · · · · · · · · · Bates Nos. GILDDE00344472
· · · · · · · · · · Oversight and Reform to Gilead                18· · · · · · · · · through GILDDE00344476, 5 pages
                                                                  19· ·Exhibit 10· · ·E-mail from Cara Miller to· · · · · · ·84
20· · · · · · · · · Sciences, Inc., dated June 26,                · · · · · · · · · · Gregg Alton, Robert Janssen,
· · · · · · · · · · 2019, Bates Nos. FOLKS_00000004               20· · · · · · · · · Jim Rooney, David Pizzuti,
21· · · · · · · · · through FOLKS_00000010, 7 pages               · · · · · · · · · · Pamela Danagher, Clifford
                                                                  21· · · · · · · · · Samuel, Tony Caracciolo,
22· ·Exhibit 5· · · Donation Agreement, Bates Nos.· · · · ·61
                                                                  · · · · · · · · · · Jeffrey Hessekiel, Coy Stout,
· · · · · · · · · · GILDDE00523549 through                        22· · · · · · · · · Andrew Cheng, dated September
23· · · · · · · · · GILDDE00523561, 13 pages                      · · · · · · · · · · 11, 2009, Bates Nos.
24                                                                23· · · · · · · · · GILDDE003666352, 1 page
                                                                  24
25                                                                25


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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 16 of 134 PageID #: 53190
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                                                   Page 34                                                      Page 35
·1· · · · · · ·THE WITNESS:· -- what's missing here --       ·1· ·remarkably profitable, netting $3 billion in sales
·2· ·when you -- when you say trajectory, I -- I don't       ·2· ·for Gilead in 2018 alone."
·3· ·understand what you're saying in terms of               ·3· · · · · · ·Do you agree with that statement?
·4· ·trajectory.                                             ·4· · · · · · ·MR. VARGHESE:· Objection.
·5· ·BY MR. STERNHELL:                                       ·5· · · · · · ·THE WITNESS:· I -- I don't know.· I don't
·6· · · · Q.· ·Meaning --                                    ·6· ·-- I'm not -- I'm not familiar with all the
·7· · · · A.· ·Because trajectory -- trajectory usually      ·7· ·financial results and detail.
·8· ·implies a time period.                                  ·8· ·BY MR. STERNHELL:
·9· · · · Q.· ·That -- that -- that it started at -- that    ·9· · · · Q.· ·I -- would -- would you agree that Truvada
10· ·the price started at $1,200, and that at the time of    10· ·has been remarkably profitable for Gilead?
11· ·this letter in 2019, that it was approximately          11· · · · · · ·MR. VARGHESE:· Objection.
12· ·$2,000 per month?                                       12· · · · · · ·THE WITNESS:· I would say it's been a --
13· · · · A.· ·That -- that may be the case.· I -- I         13· ·I -- I don't know what remarkably means.· That's a
14· ·don't know specifically.· But as -- as is standard      14· ·subjective standard.· I would say it's been
15· ·in the industry for all of Gilead products, we take     15· ·profitable, no question.
16· ·annual, sometimes more than annual price increases,     16· ·BY MR. STERNHELL:
17· ·usually in the 5 to 10 percent range.· So that would    17· · · · Q.· ·Okay.· And I think this is -- I think this
18· ·be normal, yeah.                                        18· ·gets to some of what we were talking about before.
19· · · · Q.· ·Did Gilead ever do price decreases for        19· ·The -- the next sentence makes reference to concerns
20· ·Truvada?                                                20· ·about whether the increase in price has become a
21· · · · A.· ·Not on our list price, no, but we would       21· ·significant barrier to access.
22· ·take discounts on a -- on a case-by-case basis.· But    22· · · · · · ·While you were at Gilead, did you believe
23· ·not on the list price, no.                              23· ·that the price of Truvada was a barrier to access?
24· · · · Q.· ·Okay.· If we could go to the top of page      24· · · · A.· ·No, I -- I do not believe -- or did not
25· ·2, there's the statement, "Truvada has been             25· ·believe it and I do not believe it today.· And, in
                                                   Page 36                                                      Page 37
·1· ·fact, we looked into that very carefully and we were    ·1· ·low income patients of -- of -- of those that we're
·2· ·unable to find any significant impact of price on       ·2· ·really trying to reach, the real disparately
·3· ·access to Truvada.                                      ·3· ·impacted, low income patients, and they can't give
·4· · · · Q.· ·What did you do to -- you said you looked     ·4· ·it away because of the reasons I said before.· It's
·5· ·into it very carefully.· At what --                     ·5· ·not cost, it is stigma discrimination.· It is weak
·6· · · · A.· ·Yeah.· So we -- we look at various -- so      ·6· ·healthcare systems.· It is more -- more cultural
·7· ·we would look at various pay- -- payor segments and     ·7· ·community-based impact and it's not price.
·8· ·patient segments and we would try to identify what      ·8· · · · Q.· ·You're aware that Mr. O'Day did eventually
·9· ·type of patient because of cost would not have          ·9· ·testify in response or in -- in connection to this
10· ·access to Truvada.· And because of the discounting      10· ·request from House oversight, correct?
11· ·and the -- the availability within, you know,           11· · · · A.· ·Yes, I was present at the -- at the
12· ·Medicaid programs, because of the free drug programs    12· ·testimony.
13· ·that we would put in place, the assistance programs     13· · · · Q.· ·Okay.· At -- were you -- did you have a
14· ·that we would have in place, it was actually very       14· ·role with respect to preparing Mr. O'Day for his
15· ·hard for us to find any patient -- I think it was --    15· ·testimony?
16· ·it was a very small percentage, like in the             16· · · · A.· ·Very little.
17· ·single -- low single digits, potentially.               17· · · · Q.· ·Do you know who was responsible for
18· · · · · · ·And I think that -- that one -- one           18· ·preparing Mr. O'Day, I guess, given that he had just
19· ·thing -- and this comes back to what I said before      19· ·recently joined the company?
20· ·about working with the US government that we've         20· · · · A.· ·Yeah, it was largely our legal group that
21· ·learned, and I think that has really been played out    21· ·prepared him and outside counsel.
22· ·because of the Ready, Set, PrEP program at the CDC,     22· · · · · · ·MR. STERNHELL:· Okay.· If we can mark --
23· ·is that cost is not the issue.· The US government       23· ·there's a document, Trisha, in the folder
24· ·has access to pretty much as much free drug as they     24· ·HHRG-116-G000.
25· ·would like to have today to give away for free to       25· · · · · · ·EXHIBIT HANDLER:· This will be Exhibit 3.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 17 of 134 PageID #: 53191
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                                                   Page 38                                                      Page 39
·1· · · · · · ·MR. STERNHELL:· Thank you.                    ·1· ·patents are invalid?
·2· · · · · · ·(Whereupon Exhibit 3 was marked for           ·2· · · · · · ·MR. VARGHESE:· Objection.· Calls for
·3· · · · · · ·identification.)                              ·3· ·speculation.
·4· ·BY MR. STERNHELL:                                       ·4· ·BY MR. STERNHELL:
·5· · · · Q.· ·So if we go to the next -- to page 3, this    ·5· · · · Q.· ·Mr. Alton, can you answer?
·6· ·is the -- the testimony that we were just referring     ·6· · · · A.· ·And the answer is I -- and the answer is I
·7· ·to.· We see -- do you see at the -- as the last         ·7· ·don't know what his basis was for that statement.
·8· ·witness, Mr. O'Day?                                     ·8· · · · Q.· ·Do you have a view as to whether or not
·9· · · · A.· ·Uh-huh, yep.                                  ·9· ·the CDC patents referenced here are valid or
10· · · · Q.· ·Okay.                                         10· ·invalid?
11· · · · · · ·MR. STERNHELL:· Can we go to page 14 of       11· · · · · · ·MR. VARGHESE:· Objection.· Calls for a
12· ·the testimony.                                          12· ·legal conclusion.
13· · · · · · ·Thank you.                                    13· · · · · · ·THE WITNESS:· George, am I supposed to
14· ·BY MR. STERNHELL:                                       14· ·answer this now after you object?
15· · · · Q.· ·So I'd like you to look at the last           15· · · · · · ·MR. STERNHELL:· Yes.
16· ·sentence of the second full paragraph that begins       16· · · · · · ·MR. VARGHESE:· You can answer.
17· ·with, "We believe the CDC patents are invalid..."       17· · · · · · ·THE WITNESS:· Okay.· Yeah, I -- I --
18· · · · · · ·Do you see that?                              18· · · · · · ·MR. VARGHESE:· You can answer.
19· · · · A.· ·Where -- what does it begin with?             19· · · · · · ·THE WITNESS:· I think they're invalid. I
20· · · · Q.· ·"We believe the CDC patents are               20· ·think that they're completely obvious.
21· ·invalid..."· This is the second full paragraph on       21· ·BY MR. STERNHELL:
22· ·page 14.                                                22· · · · Q.· ·And -- and what's -- what's your basis for
23· · · · A.· ·Oh.· Gotcha, yes, I do see that.              23· ·the view that they are completely obvious?
24· · · · Q.· ·Okay.· Do you know -- what -- do you know     24· · · · A.· ·Well, first of all --
25· ·what Mr. O'Day's basis was for saying that the CDC      25· · · · · · ·MR. VARGHESE:· Objection.
                                                   Page 40                                                      Page 41
·1· · · · · · ·You can go ahead and answer --                ·1· ·BY MR. STERNHELL:
·2· · · · · · ·THE WITNESS:· First --                        ·2· · · · Q.· ·There's also this statement that -- by
·3· · · · · · ·MR. VARGHESE:· -- objection.                  ·3· ·Mr. O'Day that, "We've chosen not to challenge those
·4· · · · · · ·THE WITNESS:· First of all, in -- in          ·4· ·patents because we value our collaborative
·5· ·antivirals, it's just common practice to combine        ·5· ·relationship with the agency."
·6· ·antivirals and get a -- and get a better effect.· So    ·6· · · · · · ·You're aware that Gilead filed IPR
·7· ·you've got Viread, which is known to have a             ·7· ·petitions against the CDC patents, correct?
·8· ·prophylactic effect.· You've got FTC, which has         ·8· · · · A.· ·Correct.
·9· ·already been combined with Viread for treatment --      ·9· · · · Q.· ·But at the time of Mr. O'Day's testimony,
10· ·successfully for treatment of HIV.· It's kind of a      10· ·Gilead had not filed those IPRs, correct?
11· ·no-brainer that that would actually be something        11· · · · A.· ·Correct.
12· ·that you should evaluate for -- for prevention of       12· · · · Q.· ·When did Gilead begin preparing the -- the
13· ·HIV.                                                    13· ·IPRs against the CDC patents?
14· · · · · · ·It's something -- and quite frankly,          14· · · · · · ·MR. VARGHESE:· Objection.
15· ·something that was bantered around and talked about     15· · · · · · ·THE WITNESS:· And the answer is I don't
16· ·a lot and, you know, we saw a lot of anecdotal use      16· ·know when we began preparing.· It certainly is
17· ·of the product, anecdotal evidence, people using it     17· ·something that we discussed in terms of how to
18· ·for PrEP.· We heard about people using it for PrEP.     18· ·respond to the CDC in -- in terms of their patents.
19· ·But that's -- and by the way, that's not uncommon.      19· ·And I think that -- anyway, go ahead and ask your
20· ·There's a lot of off-label use, a lot of people         20· ·next question.· But I think I know what your next
21· ·experimenting with different combinations of            21· ·question is.
22· ·antivirals just because you know that the way that      22· ·BY MR. STERNHELL:
23· ·viruses work, one antiviral will go after the virus     23· · · · Q.· ·Well, I guess, I -- why -- why didn't you
24· ·in one spot, another antiviral will go after the        24· ·file them right away when you started preparing
25· ·virus in another spot, and it just works better.        25· ·them?

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 18 of 134 PageID #: 53192
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                                                   Page 50                                                      Page 51
·1· ·that Gilead has chosen not to challenge the patents     ·1· ·okay proceeding or do you -- or do you need to take
·2· ·and Gilead's decision to file the IPRs?                 ·2· ·a break?
·3· · · · · · ·MR. VARGHESE:· Objection.· Calls for          ·3· · · · · · ·THE WITNESS:· I'm fine.· I'm fine.
·4· ·privileged communications.· We instruct the witness     ·4· · · · · · ·MR. STERNHELL:· George, is that okay with
·5· ·not to answer that.                                     ·5· ·you?
·6· ·BY MR. STERNHELL:                                       ·6· · · · · · ·MR. VARGHESE:· Yep, that's -- that's fine.
·7· · · · Q.· ·Gilead did eventually file the IPRs,          ·7· · · · · · ·MR. STERNHELL:· Okay.· I -- we'll -- we
·8· ·correct?                                                ·8· ·can -- we can take a break after -- after this.
·9· · · · A.· ·Correct.                                      ·9· · · · · · ·EXHIBIT HANDLER:· And this would be
10· · · · Q.· ·And you understand that the PTO rejected      10· ·Exhibit 4.
11· ·all of Gilead's challenges, correct?                    11· · · · · · ·(Whereupon Exhibit 4 was marked for
12· · · · A.· ·Correct.                                      12· · · · · · ·identification.)
13· · · · · · ·MR. STERNHELL:· If we can pull up tab         13· ·BY MR. STERNHELL:
14· ·five.                                                   14· · · · Q.· ·So Exhibit 4 is a letter to Mr. O'Day from
15· · · · · · ·MR. VARGHESE:· Hey, before we go on to        15· ·the Committee on Oversight and Reform responding to
16· ·this, I know we've been going on for about an hour      16· ·the testimony that Mr. O'Day provided.
17· ·or so.· I just wanted to check and see if this would    17· · · · · · ·Have you seen this letter before?
18· ·be a good time for a break if you were moving to a      18· · · · A.· ·Yes.
19· ·new topic or document.                                  19· · · · Q.· ·So if we look on page 1 of the second full
20· · · · · · ·MR. STERNHELL:· I -- I'm happy to take a      20· ·paragraph, there's a quote from Mr. O'Day's
21· ·break.· I -- I -- it's -- if -- George, if you want     21· ·testimony, "If we had lowered the price of our
22· ·to -- well, actually, if -- if you wouldn't mind,       22· ·medicines even a decade ago, we wouldn't be sitting
23· ·I'm -- if we pull up tab five, what I'm going on --     23· ·here today with the innovations that are changing
24· ·to is the letter -- the congressional letter after      24· ·the face of HIV/AIDS."
25· ·Mr. O'Day's testimony.· So if -- Mr. Alton, are you     25· · · · · · ·Do you have an understanding of what Mr.
                                                   Page 52                                                      Page 53
·1· ·O'Day meant by that?                                    ·1· · · · A.· ·I've heard language like this before.· But
·2· · · · · · ·MR. VARGHESE:· Objection.· Calls for          ·2· ·this is -- this is Mr. O'Day's statement, not mine.
·3· ·speculation.                                            ·3· · · · Q.· ·Okay.· So to -- I -- to know what Mr.
·4· · · · · · ·THE WITNESS:· And I don't.                    ·4· ·O'Day was saying, we would have to ask Mr. O'Day,
·5· ·BY MR. STERNHELL:                                       ·5· ·right?
·6· · · · Q.· ·Is it your understanding that continued       ·6· · · · A.· ·Yep.
·7· ·innovation, that -- was the sole reason for Gilead's    ·7· · · · Q.· ·Okay.
·8· ·price increases were -- were not lowering the -- the    ·8· · · · A.· ·Yep.
·9· ·price of its medicines?                                 ·9· · · · Q.· ·And so what I'm -- I appreciate that.
10· · · · · · ·MR. VARGHESE:· Objection.· Form.              10· ·I -- I know you're not in his head.· What I'm asking
11· ·Speculation.                                            11· ·is now for your understanding of the connection
12· · · · · · ·THE WITNESS:· I'm sorry, can you ask that     12· ·between innovation and price changes.
13· ·question again.                                         13· · · · A.· ·Well, I think that -- I think that it's
14· ·BY MR. STERNHELL:                                       14· ·more at -- at a macro level, put -- you know, put
15· · · · Q.· ·What I'm trying to understand is, Mr.         15· ·price changes aside, that the more profitable
16· ·O'Day seems to be making a connection between price     16· ·pharmaceutical companies are, the more willing
17· ·changes and continued innovation.                       17· ·investors are to invest in pharmaceutical companies.
18· · · · A.· ·Uh-huh.                                       18· ·The more willing investors are to invest in
19· · · · Q.· ·And what I'm -- what I'm trying to            19· ·pharmaceutical companies, the more capital companies
20· ·understand is your -- your view of -- I -- what I       20· ·have to invest in innovation.
21· ·think you've said is you're not in a position to        21· · · · · · ·And to -- to draw forward towards price
22· ·testify about what Mr. O'Day was saying there,          22· ·increase -- price increases increase profitability;
23· ·correct?                                                23· ·therefore, increase investor interest in
24· · · · A.· ·Correct.· I mean, I -- I --                   24· ·pharmaceutical companies; therefore, do increase
25· · · · Q.· ·You -- when --                                25· ·investment in innovation.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 19 of 134 PageID #: 53193
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                                                  Page 110                                                     Page 111
·1· ·a five-minute break.· My goal is to get -- get this     ·1· ·BY MR. STERNHELL:
·2· ·done as soon as possible because my -- my kids are      ·2· · · · Q.· ·Do you recognize this document, Mr. Alton,
·3· ·going to come home around 3:00 and I hope I'm -- I'm    ·3· ·or this type of document?
·4· ·hoping to be done by then.· So anything we can do to    ·4· · · · A.· ·The type of document, but I don't -- this
·5· ·move this along is my goal, but five minutes --         ·5· ·specific one, I don't recall.
·6· ·let's take a five-minute break.· Is that good?          ·6· · · · Q.· ·Okay.· And what would -- in 2011, remind
·7· · · · · · ·MR. STERNHELL:· Okay.                         ·7· ·me, you were transitioning from, you were both GC
·8· · · · · · ·MR. VARGHESE:· That sounds good.· It's        ·8· ·and VP of medical affairs; is that correct?
·9· ·2:35 here, so do you want to pick up at 2:40?           ·9· · · · A.· ·And -- and public affairs and government
10· · · · · · ·MR. STERNHELL:· Sure.                         10· ·affairs and access operations, yes.
11· · · · · · ·THE WITNESS:· 2:40, good.                     11· · · · Q.· ·Okay.· What -- could you explain to me
12· · · · · · ·THE VIDEOGRAPHER:· Off the record.· The       12· ·what this type of document is, what its purpose is?
13· ·time is 11:35.                                          13· · · · A.· ·No.· I -- if you -- if you -- I -- I'm
14· · · · · · ·(Recess.)                                     14· ·trying to open it up so I can actually see more of
15· · · · · · ·THE VIDEOGRAPHER:· Back on the record for     15· ·it because there are so many documents like this.
16· ·the remote deposition of Gregg Alton.· The time is      16· ·The only thing I can -- is this for earnings?· I --
17· ·11:42.                                                  17· ·I can't -- I can't -- I'd have to look at the actual
18· · · · · · ·MR. STERNHELL:· If we could mark tab 15.      18· ·Q & A.
19· ·This is a Gilead --                                     19· · · · Q.· ·Okay.· If we can turn to page 13 of
20· · · · · · ·EXHIBIT HANDLER:· Oh, I'm sorry.· It's        20· ·Exhibit 13.
21· ·Exhibit 13.                                             21· · · · A.· ·Oh, yeah, this is for -- this is for
22· · · · · · ·MR. STERNHELL:· Exhibit 13.· It's a Gilead    22· ·earnings, I believe.· Yep.
23· ·document with the Bates number ending in 527062.        23· · · · Q.· ·And what do you -- what do you mean --
24· · · · · · ·(Whereupon Exhibit 13 was marked for          24· · · · A.· ·So this would be -- this would -- so this
25· · · · · · ·identification.)                              25· ·is basically to answer questions that investors
                                                  Page 112                                                     Page 113
·1· ·would have about our quarterly earnings.· Or more       ·1· ·not an accurate view.· And I think at that time,
·2· ·particularly, analysts.                                 ·2· ·there was debate within Gilead about that and
·3· · · · Q.· ·Gotcha.                                       ·3· ·differences of opinion.· But this was the view of
·4· · · · · · ·So if we're looking at page 13, there's a     ·4· ·the commercial organization.
·5· ·statement that "Gilead's expectation at this point      ·5· · · · Q.· ·Okay.· Under the "Extra If Asked," there's
·6· ·is that PrEP will be a very small commercial            ·6· ·a statement that "Gilead would not anticipate having
·7· ·opportunity for Truvada."                               ·7· ·another trademark for the PrEP indication."
·8· · · · · · ·Do you see that?                              ·8· · · · · · ·Why -- why was that the case?
·9· · · · A.· ·Yes.                                          ·9· · · · A.· ·I think it says right there, "We believe
10· · · · Q.· ·Why -- why did Gilead have that               10· ·this would be confusing for patients and
11· ·expectation?                                            11· ·physicians."
12· · · · A.· ·This is the -- this is -- so, remember,       12· · · · Q.· ·I mean, Gilead did ultimately seek a
13· ·this is a document from the commercial group.· This     13· ·trademark for Truvada for PrEP, correct?
14· ·is the view of the commercial organization, that        14· · · · A.· ·I don't know about that.
15· ·they did not feel that PrEP would be used broadly,      15· · · · Q.· ·Okay.· Why -- why was there a concern that
16· ·that it would be a significant commercial               16· ·Truvada's standing in the treatment setting not be
17· ·opportunity.                                            17· ·disturbed by the addition of a PrEP labeling?· Or --
18· · · · Q.· ·And when you say that it's -- it's from       18· ·or a -- sorry, I'll -- I'll ask that question and
19· ·the commercial group, so it was outside of your         19· ·then -- I'll -- I'll let you answer.
20· ·organization?                                           20· · · · A.· ·I don't know.
21· · · · A.· ·Yes.                                          21· · · · Q.· ·And then the last paragraph, there's a
22· · · · Q.· ·Okay.· Do you think that -- so sitting        22· ·statement that "We would not anticipate any pricing
23· ·here today, was -- was that view, the -- the -- was     23· ·impact as a result of our PrEP label."
24· ·that view a -- an accurate view?                        24· · · · · · ·Why -- why is that?
25· · · · A.· ·So I -- I would say today, clearly, it was    25· · · · A.· ·Because you can't have a different price

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 20 of 134 PageID #: 53194
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                                                  Page 114                                                     Page 115
·1· ·for the same product.· So Truvada, whether it's for     ·1· ·commercial perspective, that would be a nonsensical
·2· ·PrEP or for treatment, the way the US healthcare        ·2· ·thing to do?
·3· ·system works, you can't have a different price.         ·3· · · · A.· ·Payers won't let you do it.
·4· · · · Q.· ·What do you mean that you can't have a --     ·4· · · · Q.· ·Okay.· All right.· So -- sorry, go ahead.
·5· ·a different price?                                      ·5· · · · A.· ·No, so I -- so I -- so, again, I think all
·6· · · · A.· ·You -- that's what I mean.· You can't have    ·6· ·we're saying here is that this is not going to
·7· ·a different price.· It's the same product.· It's        ·7· ·impact price at all.· Having the PrEP indication
·8· ·like you can't sell -- Truvada is Truvada and you       ·8· ·will have no impact on price up or down.
·9· ·have one price.· So there's no pricing impact.          ·9· · · · Q.· ·So Gilead has always approached the
10· · · · · · ·I mean, this is -- again, this is a --        10· ·pricing for Truvada independent of the PrEP label,
11· ·this is for -- investors may ask, would this have       11· ·right?
12· ·any pricing impact, and the answer is, no, this will    12· · · · A.· ·That's correct.
13· ·not have a pricing impact.· They're trying to --        13· · · · Q.· ·And there's no shift in how Gilead
14· ·they're trying to build this into the model to see      14· ·determined the price of Truvada after the PrEP label
15· ·any impact this will have on pricing.· So they're       15· ·as opposed to before?
16· ·trying to estimate what your earnings are going to      16· · · · A.· ·That's correct.
17· ·be, et cetera, et cetera.                               17· · · · Q.· ·And I think we saw earlier, there were
18· · · · Q.· ·I -- I understand that.· My -- and -- and     18· ·annual -- there had been a series of annual
19· ·I appreciate your answer.· I -- I think we're           19· ·increases in the price of Truvada, correct?
20· ·both -- I -- I was broadening this out from the --      20· · · · A.· ·There's an annual precise increase in all
21· ·the investor communications and just -- I'm just        21· ·of Gilead products, including Truvada.
22· ·trying to understand what you mean by you can't have    22· · · · Q.· ·Okay.· But it's -- it's not annual -- it's
23· ·a different pricing.· Are -- are you -- are you         23· ·not annual increases all the way down, right?· It --
24· ·saying that, like, for instance, the -- the FDA         24· ·it had -- it started -- there was a price that was
25· ·wouldn't let you do that, or that from a market         25· ·set for Truvada at -- at some point in time just as
                                                  Page 116                                                     Page 117
·1· ·an initial matter, right?                               ·1· ·mark tab 17, it's a Gilead document ending in the
·2· · · · A.· ·Correct.                                      ·2· ·Bates number 363384.
·3· · · · Q.· ·How was that price set?                       ·3· · · · · · ·EXHIBIT HANDLER:· This will be Exhibit 14.
·4· · · · A.· ·I mean, the -- the -- the original price      ·4· · · · · · ·(Whereupon Exhibit 14 was marked for
·5· ·for Truvada was set based on the cost -- the price      ·5· · · · · · ·identification.)
·6· ·of Viread and the price of emtricitabine, which are     ·6· ·BY MR. STERNHELL:
·7· ·the two components of Truvada, and we went one plus     ·7· · · · Q.· ·Do you recognize this document, Mr. Alton?
·8· ·one.· We just added up the two prices and came up       ·8· · · · A.· ·No.· But it -- again, it -- it looks
·9· ·with the price of Truvada.                              ·9· ·familiar but I don't recognize the specific
10· · · · Q.· ·Gotcha.                                       10· ·document.
11· · · · · · ·So to understand -- so to understand the      11· · · · Q.· ·So this -- this appears to be a -- a memo
12· ·price of Truvada for PrEP today, we would be looking    12· ·from Tobias Peschel to a number of -- it looks to be
13· ·back at the price of Truvada as it was originally       13· ·the senior leadership team relating to the --
14· ·set, right?                                             14· ·relating to the Truvada for PrEP REMS.
15· · · · · · ·MR. VARGHESE:· Object --                      15· · · · A.· ·Uh-huh.
16· · · · · · ·THE WITNESS:· Correct.                        16· · · · Q.· ·What is the Truvada for PrEP REMS?
17· · · · · · ·MR. VARGHESE:· Objection.                     17· · · · A.· ·So this is a program that you put in place
18· ·BY MR. STERNHELL:                                       18· ·and at -- you know, typically, at the request or
19· · · · Q.· ·And to understand the -- how the price of     19· ·insistence of the FDA as part of your -- the
20· ·Truvada was originally set, we'd be looking at the      20· ·regulatory process to ensure that the product is
21· ·price of Viread and -- I'm going to butcher it --       21· ·used appropriately by the intended population, and
22· ·emtricitabine?                                          22· ·specifically not by patients who could be harmed by
23· · · · A.· ·Yes.                                          23· ·the product.· For example, the -- a very common
24· · · · Q.· ·Okay.                                         24· ·component of a REMS will be a product that is
25· · · · · · ·MR. STERNHELL:· Let's turn to -- let's        25· ·dangerous for a fetus.· You will actually have a

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 21 of 134 PageID #: 53195
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                                                  Page 118                                                     Page 119
·1· ·REMS put in place to prevent a product from being       ·1· ·an indication.· Because by having an indication,
·2· ·used by pregnant women.                                 ·2· ·they can put in the label that Truvada is for
·3· · · · · · ·In this case, you're trying to make sure      ·3· ·approved for prevention of HIV when taken daily.· It
·4· ·you're reaching the intended target of population       ·4· ·is not approved for the prevention of HIV if you
·5· ·that could benefit from PrEP and avoid having PrEP      ·5· ·take it, for example, Thursday and Friday night
·6· ·be used by a population that could be harmed by         ·6· ·before going out on the weekend and maybe engaging
·7· ·PrEP.                                                   ·7· ·in unsafe behavior.
·8· · · · Q.· ·Okay.· So if we turn to page -- it's the      ·8· · · · · · ·That was a big concern of the FDA.· So
·9· ·third page of the pdf but, actually, it's page 1 of     ·9· ·they wanted to make sure that people were actually
10· ·the document -- yep, that's the one -- ending in        10· ·adhering to PrEP, take it every day, because that is
11· ·Bates No. 386.                                          11· ·the only data that we had at that time was daily use
12· · · · A.· ·Uh-huh.                                       12· ·of this.· We could not say that if you took this
13· · · · Q.· ·So this appears to identify the goals of      13· ·every other day or only took it spot -- you know,
14· ·the Truvada for PrEP REMS; is that correct?             14· ·sporadically, that it would actually prevent HIV
15· · · · A.· ·Yes.· The goals of PrEP -- of REMS, yes.      15· ·infection.· And the concern was, people that didn't
16· · · · Q.· ·And one -- if we look at number three, one    16· ·take it every day may engage in more unsafe behavior
17· ·of those goals relates to informing prescribers         17· ·and actually be more at risk of contracting HIV.
18· ·pharmacists and others regarding the necessity of       18· · · · Q.· ·Was -- was this goal, goal number three
19· ·strict adherence to the treatment regimen; is that      19· ·from the REMS, met?
20· ·correct?                                                20· · · · A.· ·Was it met?
21· · · · A.· ·Yes, that's correct.                          21· · · · Q.· ·Yeah.· Did -- did Gilead meet this goal?
22· · · · Q.· ·Why was that goal of the REMS?                22· · · · A.· ·I'm not -- I -- I don't understand how we
23· · · · A.· ·That's a goal of the REMS -- and I guess I    23· ·would say we met this goal.· I mean, we -- we
24· ·would -- to back up, this is -- one reason is this      24· ·certainly put this in the REMS and everything we did
25· ·relates to why the FDA was so insistent upon having     25· ·was to encourage people to take the product every
                                                  Page 120                                                     Page 121
·1· ·day.· Could I say -- I -- I don't know what we mean     ·1· ·That they would actually be monitoring, ensuring
·2· ·by meeting a goal.· The goal was to do our best to      ·2· ·that what they were trying to do was actually
·3· ·ensure the appropriate use of it.                       ·3· ·working, and if it wasn't working, you know, try
·4· · · · · · ·I -- I'm sure 100 percent of patients         ·4· ·something else.
·5· ·didn't take the product every day.· I -- I take a       ·5· · · · · · ·And I also would assume that that was done
·6· ·statin and I probably don't take it every day.· I'm     ·6· ·in close collaboration with the FDA and CDC, who
·7· ·sure I've missed a dose sometime in the last 10         ·7· ·helped put this together and probably had a strong
·8· ·years, but this was -- this was the -- this was what    ·8· ·interest in not only saying what we're going to do,
·9· ·was really sought out to do our best of.                ·9· ·but ensuring we're doing what we're doing.
10· · · · Q.· ·Did Gilead track -- make efforts to -- to     10· · · · Q.· ·It's my understanding that there was no
11· ·track whether or not it was meeting this goal of        11· ·REMS requirement or no REMS program put together for
12· ·informing prescribers, pharmacists and others about     12· ·Descovy for PrEP.· Is that your understanding as
13· ·the -- the necessity of adherence to the treatment      13· ·well?
14· ·regimen?                                                14· · · · A.· ·I don't know.
15· · · · A.· ·I don't know specifically but I believe we    15· · · · Q.· ·You have no knowledge of whether or not
16· ·would have, yes.                                        16· ·there was a REMS for Descovy for PrEP?
17· · · · Q.· ·Okay.· So you're saying you don't know        17· · · · A.· ·I don't have a knowledge of that, no.
18· ·specifically.· You're not aware of sort of feedback     18· · · · Q.· ·Okay.
19· ·on -- feedback that was received in response to the     19· · · · · · ·MR. STERNHELL:· Let's mark tab 19. I
20· ·REMS?                                                   20· ·think it's Exhibit 15.· It's a Gilead document with
21· · · · A.· ·Yeah, so just -- just to -- to back -- I      21· ·the Bates number ending 343924.
22· ·mean, this was not my department, but I -- I know       22· · · · · · ·(Whereupon Exhibit 15 was marked for
23· ·Tobias and I know the people who worked on this and     23· · · · · · ·identification.)
24· ·I'm absolutely certain that they didn't just put        24· ·BY MR. STERNHELL:
25· ·something in place and assumed it would happen.         25· · · · Q.· ·Are you familiar with this document,

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 22 of 134 PageID #: 53196
                                    Confidential

                                                  Page 166                                                     Page 167
·1· ·the CFO was on the committee.· I'm trying to            ·1· ·company does for virtually every product.· I can't
·2· ·remember the other members of the committee that        ·2· ·say that's 100 percent.· So we didn't want to have
·3· ·would evaluate and approve launch prices and            ·3· ·the Global Pricing Committee bogged down with having
·4· ·negotiation ranges that you could have for your         ·4· ·to look at something that really was a little bit
·5· ·launch prices, especially in international markets.     ·5· ·more routine, and we really wanted this just to be
·6· ·That's probably where most of this occurred.· But it    ·6· ·done more simply at the executive committee level.
·7· ·also would approve anything that's sort of outside      ·7· · · · · · ·Where the Global Pricing Committee was
·8· ·budget for the commercial organization in the US in     ·8· ·much more involved in is launch pricing, and then,
·9· ·terms of -- so the -- the US commercial organization    ·9· ·typically, as I said, it's more -- much more
10· ·had a little more flexibility in terms of               10· ·internationally focused, which would be more the
11· ·discounting, but it would include -- it would           11· ·dynamics of dealing with international markets where
12· ·include launch prices in the US as well.                12· ·you have governments that are negotiating
13· · · · Q.· ·So just so I understand, so we're -- what     13· ·continually on your prices and your volumes, which
14· ·was the Global Pricing Committee's responsibilities,    14· ·does not occur in the US.
15· ·if any, with respect to annual increases?               15· · · · Q.· ·Okay.· So their -- was the Global Pricing
16· · · · A.· ·None.                                         16· ·Committee -- sorry, strike that.· Give me one
17· · · · Q.· ·Okay.· So once -- so, like, once a price      17· ·second.
18· ·had been set initially for launch, it -- it fell        18· · · · A.· ·And I would actually -- even just -- just
19· ·outside of the -- the scope of that?                    19· ·to back up, I'm -- now that think about it, I don't
20· · · · A.· ·I would -- so, yes, I think it largely        20· ·think the Global Pricing Committee even establishes
21· ·did.· I think it was a -- and then what -- the price    21· ·the launch prices in the US.· I don't believe it
22· ·increases were evaluated at -- because you have to      22· ·actually has that role.· It's really more set up to
23· ·recall, as I said earlier, price increases in the US    23· ·deal with more dynamic pricing markets that you have
24· ·by the pharmaceutical industry in these ranges, it's    24· ·to, you know, really manage on a day to -- so the US
25· ·just very typical.· This is what virtually every        25· ·is not that type of market, the way the pricing work
                                                  Page 168                                                     Page 169
·1· ·in the US.                                              ·1· ·how far back does that go?· Descovy was launched in
·2· · · · Q.· ·Okay.· So, I guess, in, you know, looking     ·2· ·2016.· Would that include the setting of the price
·3· ·back to 2004 with the -- the launch of Truvada, was     ·3· ·for Descovy?
·4· ·the Global Pricing Committee -- would the Global        ·4· · · · A.· ·I -- I believe the setting for the price
·5· ·Pricing Committee have been involved in setting         ·5· ·for Descovy was developed more at the executive
·6· ·that -- the launch price of Truvada?                    ·6· ·committee level.· Again, I -- I just don't have the
·7· · · · A.· ·I -- well, first of all, I don't think the    ·7· ·specific recollection.· I don't believe it went to
·8· ·Global Pricing Committee was even established in        ·8· ·the -- the GPC.· And this -- this evolved a lot.
·9· ·2004.· But now that I think about it, and just          ·9· ·There was a lot of change in how -- how it happened.
10· ·recalling some of the more recent product launches,     10· ·But fundamentally, the price of Descovy, similar to
11· ·I don't believe the Global Pricing Committee really     11· ·the prices of -- of other US launches, would be
12· ·does that in the US.· Again, it's a committee that's    12· ·established by John Martin and his direct reports
13· ·set up to handle what really happens in more of the     13· ·based on a recommendation from commercial.· I don't
14· ·international markets where you just have more          14· ·believe that there was a formal Global Pricing
15· ·back-and-forth in terms of pricing than you do in       15· ·Committee, you know, role in that.· But it would
16· ·the US.· It's -- it's just different.                   16· ·largely be the same people anyway that would be
17· · · · · · ·So I believe in the -- my recall -- my        17· ·making that recommendation:· The CFO, myself, head
18· ·recollection in the US for the last few product         18· ·of R&D, you know, the -- the -- the head of
19· ·launches was it was really handled by the executive     19· ·commercial, making those -- that -- that decision.
20· ·committee.· So that would be John Martin and his        20· · · · Q.· ·And so, as you said, that -- that
21· ·reports and the executive committee agree on those      21· ·information or that -- that decision-making process
22· ·prices at -- based on the recommendations from          22· ·was at the CEO -- occurred at the CEO level?
23· ·commercial.                                             23· · · · A.· ·The initial launch price definitely
24· · · · Q.· ·Okay.· And would that include -- I guess,     24· ·happens at the CEO level with input from the
25· ·would that include the Descovy -- I guess, how --       25· ·executive team.· And price increases also would run

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 23 of 134 PageID #: 53197
                                    Confidential

                                                  Page 170                                                     Page 171
·1· ·through the CEO.· That would be something John          ·1· · · · · · ·MR. STERNHELL:· Let's mark tab 32.· It's a
·2· ·Martin would definitely want to be a part of and --     ·2· ·Gilead document with the Bates number 526245.· And I
·3· ·and have, you know, approval of, and knowledge of,      ·3· ·think are we at 24?
·4· ·yeah.                                                   ·4· · · · · · ·EXHIBIT HANDLER:· That's correct.
·5· · · · Q.· ·Okay.· In setting -- in setting the launch    ·5· · · · · · ·(Whereupon Exhibit 24 was marked for
·6· ·prices, whether for Truvada or Descovy, is there a      ·6· · · · · · ·identification.)
·7· ·specific target profitability that's set?               ·7· ·BY MR. STERNHELL:
·8· · · · A.· ·No.                                           ·8· · · · Q.· ·So are these the materials for the
·9· · · · Q.· ·So you have no -- I -- across your            ·9· ·November 2018 -- or, sorry, this is for the US
10· ·products, there's no consideration of what the          10· ·Pricing Committee.· Is that different than the
11· ·profitability will be?                                  11· ·Global Pricing Committee?
12· · · · A.· ·Well, we -- you asked about Truvada,          12· · · · A.· ·Yes.· Yes, it is.
13· ·Descovy.· But in general, you price the product         13· · · · Q.· ·And what's -- what's the difference
14· ·based on the marketplace.· So you -- in HIV, it's a     14· ·between the two?
15· ·little bit easier because it was an established         15· · · · A.· ·Well, one -- one's US and one's global.
16· ·market.· There's, I think, over 30 products on the      16· ·But I think, again, the -- the US has a -- a pricing
17· ·market right now for HIV.· So you look at what the      17· ·system that's really different from any country.
18· ·competitors are charging, what the most recent          18· ·Pretty much any country in the world.· So you -- you
19· ·launches have come out at.· You look at your product    19· ·don't have the same dynamics.· So the US Pricing
20· ·profile, is it superior or inferior or equivalent to    20· ·Committee we decided to separate out from GPC,
21· ·those products and you price -- price accordingly.      21· ·which -- Global Pricing Committee -- which, again,
22· ·If it's -- you know, if -- you might make changes if    22· ·needs to meet more regularly.· It's dealing with,
23· ·it's a -- more of a niche product or if it's more of    23· ·you know, requests for, you know, lowering prices
24· ·a -- but -- but, in general, in HIV, the products       24· ·for -- you know, there's different mechanisms that
25· ·all price around the same, yeah, roughly.               25· ·countries have in place on -- on pricing that we
                                                  Page 172                                                     Page 173
·1· ·just -- that just don't exist in the US.· There are     ·1· ·members of the US Pricing Committee?
·2· ·more similar --                                         ·2· · · · A.· ·I don't know but I think it was primarily
·3· · · · · · ·(Reporter requests clarification.)            ·3· ·the US commercial group and the CFO.
·4· · · · · · ·THE WITNESS:· Mechanisms.· So we -- they      ·4· · · · Q.· ·And would you receive these materials and
·5· ·have -- so different countries around the world have    ·5· ·provide input to the CEO on these pricing decisions?
·6· ·different valuation mechanisms put in place and         ·6· · · · A.· ·Yes.· Whether I liked it or not.· John
·7· ·continually, you know, will come back to Gilead or      ·7· ·Martin would always want to know -- John Martin
·8· ·other companies with demands or requests or -- or       ·8· ·always sought everyone's opinions on things.
·9· ·proposals for lowering prices that get evaluated by     ·9· · · · · · ·MR. STERNHELL:· Let's look at -- can we
10· ·the GPC, the Global Pricing Committee.                  10· ·look at slide 18, Bates number ending in 263.
11· · · · · · ·You don't have that in the US.· It's a        11· · · · · · ·Yep, that's it.· Thank you.
12· ·very different dynamic.· In the US, you launch          12· ·BY MR. STERNHELL:
13· ·your -- your product at a price, you choose that        13· · · · Q.· ·So there's a notation in the red box in
14· ·price; payers decide whether or not they're going to    14· ·the middle of the page about creating a price
15· ·pay for it.· Once they pay for it, then you start       15· ·differential between Truvada and Descovy.
16· ·negotiating discounts and rebates with your -- with     16· · · · · · ·Do you see that?
17· ·those different payers.· And then the pricing into      17· · · · A.· ·Yes, I do.
18· ·the government systems is just a -- generally, a --     18· · · · Q.· ·What's -- what's your understanding of
19· ·a percentage off of that initial launch price.· So      19· ·that notation?
20· ·it's just -- it's a very different dynamic.             20· · · · A.· ·I really don't know.· It looks to me like
21· ·BY MR. STERNHELL:                                       21· ·the commercial group had some concern if there's a
22· · · · Q.· ·Were you a member of the US Pricing           22· ·difference in price between Descovy and Truvada,
23· ·Committee?                                              23· ·that you may wind up with some payers having
24· · · · A.· ·No.                                           24· ·different formularies for the two based on the
25· · · · Q.· ·So who were -- I guess, who were the          25· ·difference in prices.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 24 of 134 PageID #: 53198
                                    Confidential

                                                  Page 174                                                     Page 175
·1· · · · Q.· ·Do you understand -- do you have an           ·1· ·was, in fact -- that Descovy has, in fact, been
·2· ·understanding of whether there was a price              ·2· ·priced at parity to remove that possibility?
·3· ·differential between Truvada or Descovy or whether      ·3· · · · A.· ·That was my -- that's my recollection,
·4· ·they were priced at -- at parity with one another?      ·4· ·yes.
·5· · · · A.· ·My recollection is they were priced at        ·5· · · · Q.· ·Okay.· If we look at slide 24, so Bates
·6· ·parity.                                                 ·6· ·number ending in 269, of Exhibit 24.
·7· · · · Q.· ·And why would they -- why were they priced    ·7· · · · A.· ·Okay.· That's a -- that's a slide.
·8· ·at -- at parity?                                        ·8· · · · Q.· ·Yeah.· I know it's -- it's a little -- a
·9· · · · A.· ·And the reason, to make it very simple for    ·9· ·little hard to read, but I -- what I believe this is
10· ·payers to allow a switch, patients to switch from       10· ·just -- it's showing -- it's -- it's reflecting the
11· ·Truvada over to Descovy.· So that way, you would        11· ·annual historical WAC pricing.· Is that your
12· ·take out that -- I think that's really what they're     12· ·understanding?
13· ·getting at here, that if we had a higher price for      13· · · · A.· ·Yep.· Yes.
14· ·Descovy, there could be some, you know, payers that     14· · · · Q.· ·And -- and, you know, looking -- looking
15· ·might say, well, we're just going to, you know,         15· ·at the Truvada column from 2004 through Q1 2018,
16· ·basically, put Descovy on a more restricted list.       16· ·it's had an annualized price increase since launch
17· ·For example, require female have renal monitoring       17· ·of 7 percent?
18· ·and have some renal insufficiency before they were      18· · · · A.· ·That -- that sounds about right.
19· ·eligible for Descovy, and we wanted to make sure it     19· · · · Q.· ·Okay.· And Descovy, looking at the Descovy
20· ·was available for everybody.                            20· ·column, it has a shorter history but the same
21· · · · Q.· ·So having a price differential between the    21· ·annualized price increase and the same wholesale
22· ·two would inhibit -- inhibit the transition of          22· ·acquisition cost, right?
23· ·patients from Truvada to Descovy?                       23· · · · A.· ·Just trying to -- yes.
24· · · · A.· ·It could.· It could, yes.                     24· · · · Q.· ·And that matches your understanding and
25· · · · Q.· ·Okay.· And it's your understanding that it    25· ·recollection?
                                                  Page 176                                                     Page 177
·1· · · · A.· ·Yes.                                          ·1· ·BY MR. STERNHELL:
·2· · · · Q.· ·How often does Gilead reevaluate a price?     ·2· · · · Q.· ·So looking at Exhibit 25, similar to
·3· ·Is it annually or -- or more often?                     ·3· ·before, I -- there -- there's nothing -- I don't
·4· · · · A.· ·My recollection, certainly late -- late --    ·4· ·think anything interesting about this e-mail.· I'm
·5· ·you know, in the -- in the later years before I         ·5· ·just establishing that what I actually want to look
·6· ·left, was annually.· I think there were times where     ·6· ·at was sent on a particular date.
·7· ·there were some less -- I mean, more frequent price     ·7· · · · · · ·So this seems to be a meeting notice for
·8· ·increases, but generally annually.                      ·8· ·HIV Day with Dan O'Day.
·9· · · · Q.· ·Okay.· And again, just -- I may have asked    ·9· · · · A.· ·Uh-huh.
10· ·this.· So this -- Exhibit 24, this is the type of       10· · · · Q.· ·And what was -- what was HIV Day?
11· ·materials that commercial would generate and send up    11· · · · A.· ·Hold on.· Among -- among the different --
12· ·to the CEO to make a decision on what price increase    12· ·what -- what date is this?
13· ·to take or not take?                                    13· · · · Q.· ·This is --
14· · · · A.· ·Correct.                                      14· · · · A.· ·So HIV Day is...
15· · · · Q.· ·Okay.                                         15· · · · Q.· ·Yeah, so it looks like the meeting for HIV
16· · · · · · ·MR. STERNHELL:· If we could put both tabs     16· ·Day was set for March 21, 2019.
17· ·33 and 34 into the chat.· We'll mark 33, which is a     17· · · · A.· ·So I think -- yeah, so -- so this would be
18· ·Gilead document with the Bates number ending in         18· ·to get Dan O'Day up to speed on HIV.· Because he's
19· ·2197219, as Exhibit 25.· And the tab 34, with the --    19· ·coming from -- from Roche, where he had very, very
20· ·it's a Gilead document, the Bates number ending in      20· ·little involvement with HIV.· He's coming to a
21· ·2197509, as Exhibit 26.                                 21· ·company that is the HIV company and we really wanted
22· · · · · · ·(Whereupon Exhibit 25 was marked for          22· ·to, like, get -- you know, start to really start to
23· · · · · · ·identification.)                              23· ·feed him into everything we're doing around HIV.· So
24· · · · · · ·(Whereupon Exhibit 26 was marked for          24· ·this is to get -- just to educate Dan.
25· · · · · · ·identification.)                              25· · · · Q.· ·Gotcha.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 25 of 134 PageID #: 53199
                                    Confidential

                                                  Page 178                                                     Page 179
·1· · · · · · ·So this is -- and this is as you are --       ·1· ·Scott McCallister.
·2· ·this is shortly after your transition out of, or, I     ·2· · · · · · ·Do you see that?
·3· ·guess, during your transition out of interim CEO?       ·3· · · · A.· ·Yes.
·4· · · · A.· ·So I -- this was -- I ended as interim CEO    ·4· · · · Q.· ·And who is Scott McCallister?
·5· ·on March 1st.· So this would be three weeks after.      ·5· · · · A.· ·I believe Scott McCallister is our
·6· · · · Q.· ·Okay.· And --                                 ·6· ·clinical research group.
·7· · · · A.· ·And also three weeks after Dan started.       ·7· · · · Q.· ·Okay.· And this is the -- so if we turn to
·8· ·So this would be, basically, his third week at          ·8· ·Exhibit 26, it's this presentation that I'd like to
·9· ·Gilead.                                                 ·9· ·take a look at.
10· · · · Q.· ·Gotcha.                                       10· · · · A.· ·Okay.
11· · · · · · ·So the -- the materials that were being       11· · · · Q.· ·So if we can start with -- I -- sorry, let
12· ·presented are the ones that you and your team and, I    12· ·me step back.
13· ·guess, other teams as well thought were appropriate     13· · · · · · ·So you were present for HIV Day, correct?
14· ·to get Mr. O'Day up to speed on Gilead's HIV            14· · · · A.· ·I can't say that I was.· I don't -- I
15· ·business as a new CEO?                                  15· ·actually don't think I was present, but I'm sure I
16· · · · A.· ·Yes.                                          16· ·reviewed the materials.
17· · · · Q.· ·So you presumably -- they were presumably     17· · · · Q.· ·Okay.· Let's look at slide -- at slide 9.
18· ·your best information at -- at the time, correct?       18· ·It has the Bates number ending in 517.· Yep.
19· · · · A.· ·This would be the best information            19· · · · A.· ·So you didn't put page numbers on here.
20· ·probably at a level that -- that somebody who does      20· · · · Q.· ·I'm sorry?
21· ·not have a background in HIV could understand.          21· · · · A.· ·I said you didn't put page numbers on
22· · · · Q.· ·So let's take a look -- well, so if we go     22· ·here.· That's a big no-no.
23· ·down to the end of Exhibit -- the end of the -- this    23· · · · Q.· ·There's -- there's one -- it's just very,
24· ·exhibit, the second to last bullet, there's a           24· ·very blurry in the bottom left corner.
25· ·reference to "Prevention:· Descovy and Beyond" by       25· · · · A.· ·Yes, but I've got -- okay.· I've got --
                                                  Page 180                                                     Page 181
·1· ·I've got the slide.· Go ahead.                          ·1· ·FDA, had the FDA agree would likely support approval
·2· · · · Q.· ·Okay.· So this appears to make reference      ·2· ·of indication.· The more -- the longer answer is to
·3· ·to the -- DISCOVER -- "DISCOVER:· A randomized,         ·3· ·do a superiority trial, while not even -- while not
·4· ·noninferiority trial of F/TAF for PrEP."                ·4· ·necessary, would also be very, very difficult to run
·5· · · · · · ·Do you see that?                              ·5· ·because the number of patients that you would need
·6· · · · A.· ·Uh-huh, yes.                                  ·6· ·to have and the number of events, or people that
·7· · · · Q.· ·Are you familiar with Discover or this        ·7· ·would seroconvert or become positive with HIV, would
·8· ·noninferiority trial?                                   ·8· ·have to be very, very high to -- to do that.· It
·9· · · · A.· ·Yes.                                          ·9· ·would be a very challenging study to do,
10· · · · Q.· ·What's -- what was your understanding of      10· ·particularly when you have availability of Truvada
11· ·it?                                                     11· ·on the market for people who want it already.
12· · · · A.· ·That this was the trial that we put           12· · · · · · ·So it would just -- it would just -- it
13· ·together to show that F/TAF or Descovy was as           13· ·would have really been almost -- it would have been
14· ·effective in prevention of HIV as Truvada and           14· ·a really hard study to do in terms of numbers of
15· ·ideally has statistical significance to support         15· ·patients.
16· ·an -- an FDA indication for that.                       16· ·BY MR. STERNHELL:
17· · · · Q.· ·I -- I guess, what's the -- so what --        17· · · · Q.· ·And showing -- showing that it was an
18· ·what's the rationale for doing a noninferiority         18· ·adequate substitute for Truvada was sufficient for
19· ·trial?· What's the significance of it being not         19· ·your purposes?
20· ·(indiscernible)?                                        20· · · · A.· ·Which was -- yeah, for ours, which is --
21· · · · A.· ·So it would be very difficult --              21· ·which is not -- that's very typical.· So, yes, that
22· · · · · · ·(Reporter requests clarification.)            22· ·was -- that was adequate.
23· · · · · · ·MR. STERNHELL:· Not inferior.                 23· · · · · · ·MR. STERNHELL:· Okay.· If we turn to slide
24· · · · · · ·THE WITNESS:· So the -- the simple answer     24· ·17, so Bates number ending in 525.
25· ·to that is that is what we, in discussions with the     25· ·BY MR. STERNHELL:

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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 26 of 134 PageID #: 53200




                           Exhibit C
     Deposition Transcript of Martha Vazquez (excerpts)
     Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 27 of 134 PageID #: 53201
                                     Confidential

                                                                                  Page 1
·1· · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE DISTRICT OF DELAWARE

·3· __________________________________

·4· THE UNITED STATES OF AMERICA,· · · )
· · · · · · · · · · · · · · · · · · · ·)
·5· · · · · · · · · · · · · · · · · · ·)
· · ·Plaintiff-Counterclaim Defendant, )
·6· · · · · · · · · · · · · · · · · · ·)
· · · · v.· · · · · · · · · · · · · · ·) Civil No.
·7· · · · · · · · · · · · · · · · · · ·) 1:19-cv-02103-MN
· · GILEAD SCIENCES, INC.,· · · · · · ·)
·8· · · · · · · · · · · · · · · · · · ·)
· · ·Defendant-Counterclaim Plaintiff, )
·9· · · · · · · · · · · · · · · · · · ·)
· · AND GILEAD SCIENCES IRELAND UC,· · )
10· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · ·)
11· · · · · · · · · ·Defendant.· · · · )
· · ___________________________________)
12

13· · · · · · · · · · · CONFIDENTIAL

14· · · · · ·VIDEOTAPED 30(b)(6) DEPOSITION OF

15· · ·Gilead Sciences, by and through its Designated

16· · · · · · · · · · ·Representative,

17· · · · · · · · · · ·MARTHA VAZQUEZ

18· · · · · · ·San Francisco, California 94111

19· · · · · · · · Tuesday, December 7, 2021

20

21· Reported Stenographically by:
· · MARY J. GOFF
22· CSR No. 13427
· · Job No. 203253
23· PAGES 1-134

24

25


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     Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 28 of 134 PageID #: 53202
                                     Confidential

                                                          Page 2                                                              Page 3
·1                                                                 ·1· APPEARANCES:
·2                                                                 ·2· For Plaintiff-Counterclaim Defendant
·3                                                                 ·3· · · ·THE UNITED STATES OF AMERICA
·4· · · · VIDEOTAPED 30(b)(6) DEPOSITION of MARTHA                 ·4· · · ·U.S. Department of Justice
·5· VAZQUEZ, Volume I, taken on behalf of                          ·5· · · ·1100 L Street NW
·6· Plaintiff-Counterclaim Defendant, the United States            ·6· · · ·Washington, D.C. 20005
·7· of America, at WilmerHale, One Front Street,                   ·7· · · ·BY:· AMANDA KELLY, ESQ.
·8· Suite 3500, San Francisco, California 94111,                   ·8· ~and~
·9· beginning at 9:38 a.m. and ending at 1:20 p.m., on             ·9· · · ·U.S. Department of Health
10· Tuesday, December 7, 2021, before MARY J. GOFF,                10· · · ·and Human Services
11· California Certified Shorthand Reporter No. 13427.             11· · · ·233 N. Michigan Avenue
12                                                                 12· · · ·Chicago, Illinois 60601
13                                                                 13· · · ·BY:· ANDY MILLER, ESQ. (HHS)
14                                                                 14· · · · · · MICHAEL IMBACUAN, ESQ. (HHS)
15                                                                 15· · · · · · LENA YUEH, ESQ. (HHS)
16                                                                 16· · · ·(Imbacuan and Yueh appeared via phone.)
17                                                                 17· ~and~
18                                                                 18· · · ·Knobbe Martens
19                                                                 19· · · ·BY:· ANDREW MORRELL, Ph.D., Esq.
20                                                                 20· · · ·1717 Pennsylvania Avenue N.W.
21                                                                 21· · · ·Washington, D.C. 20006
22                                                                 22
23                                                                 23
24                                                                 24
25                                                                 25


                                                          Page 4                                                              Page 5
·1· APPEARANCES (continued):                                       ·1
·2· For Defendant-Counterclaim Plaintiff                           ·2· · · · · · · · · · · · · INDEX
                                                                   ·3· WITNESS· · · · · · · · · · · · · · · · · EXAMINATION
·3· · · ·GILEAD SCIENCES, INC.
                                                                   ·4· MARTHA VAZQUEZ
·4· · · ·WilmerHale                                                ·5· Volume I
·5· · · ·BY:· GEORGE VARGHESE, ESQ.                                ·6
·6· · · · · · BENJAMIN CONERY, ESQ.                                ·7· · · · · · · · · · ·ATTORNEY KELLY· · · · · · · · · 8
                                                                   ·8· · · · · · · · · · ·ATTORNEY VARGHESE· · · · · · ·124
·7· · · · · · JULIUS JEFFERSON, Ph.D., ESQ.
                                                                   ·9
·8· · · ·Attorneys at Law
                                                                   10· NUMBER· · · · · · ·DESCRIPTION· · · · · · · · · PAGE
·9· · · ·60 State Street                                           11· Exhibit 1· ·Notice of Deposition· · · · · · · · · 14
10· · · ·Boston, Massachusetts 02109                               12
                                                                   13· Exhibit 2· ·Material Transfer Agreement· · · · · ·42
11
                                                                   · · · · · · · · Process, Martha Vazquez
12
                                                                   14· · · · · · · October 8, 2008
13                                                                 · · · · · · · · GILDDE00990462-69
14                                                                 15

15                                                                 16· Exhibit 3· ·4-27-04 email string· · · · · · · · · 53
                                                                   · · · · · · · · Proposed MTA
16
                                                                   17· · · · · · · US_02250251-55
17                                                                 18· Exhibit 4· ·Public Health Service MTA· · · · · · ·57
18· ALSO PRESENT:· Janice Ye, Gilead senior counsel                · · · · · · · · US_02252938-42
19· Videographer:· Christopher Throm                               19
                                                                   20· Exhibit 5· ·MTA-Amendment· · · · · · · · · · · · ·61
20
                                                                   · · · · · · · · CDC and Prevention
21                                                                 21· · · · · · · CDC Ref. NCHSTP-V043072-01
22                                                                 · · · · · · · · US_02515000
23                                                                 22
                                                                   23
24
                                                                   24
25                                                                 25



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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 29 of 134 PageID #: 53203
                                    Confidential

                                                 Page 54                                                    Page 55
·1· sticker up here because there's a lot of text.         ·1· that you are a 30(b)(6) witness here today?
·2· · · ·Q· · (BY ATTORNEY KELLY) A document bearing       ·2· · · ·A· · Yes.
·3· Bates Nos. US_02250251 through 255.· Okay.             ·3· · · ·Q· · Okay.· And a corporate witness.· Okay.
·4· · · · · · Do you want to look that over quickly?       ·4· · · · · · ATTORNEY VARGHESE:· I think we should go
·5· Okay.· Ms. Vazquez, now that you have had an           ·5· going off the record and discuss this briefly.
·6· opportunity to review this document, do you            ·6· · · · · · ATTORNEY KELLY:· You and I?
·7· recognize this document at all?                        ·7· · · · · · ATTORNEY VARGHESE:· Yep.
·8· · · ·A· · I don't.                                     ·8· · · · · · ATTORNEY KELLY:· Okay.
·9· · · ·Q· · Okay.· Have you ever seen this document      ·9· · · · · · THE VIDEOGRAPHER:· The time is 10:40 a.m.
10· before?                                                10· We are now going back off the record.
11· · · ·A· · No.                                          11· · · · · · (A break was taken from 10:40 a.m. to
12· · · ·Q· · Okay.· I'm going to walk you through some    12· 10:57 a.m.)
13· of this.· And you do understand that you are here to   13· · · · · · THE VIDEOGRAPHER:· The time is 10:57 a.m.
14· testify on behalf of Gilead Sciences regarding         14· We are now going back on the record.
15· communications related to the MTAs in this case; is    15· · · ·Q· · (BY ATTORNEY KELLY) Ms. Vazquez.· I just
16· that correct?                                          16· wanted to state on the record that it's our
17· · · ·A· · Correct.                                     17· understanding that --
18· · · ·Q· · Okay.· Do you recognize this as a            18· · · · · · THE COURT STENOGRAPHER:· Do you have your
19· communication related to an MTA in this case?          19· mic on?
20· · · · · · ATTORNEY VARGHESE:· We're going to object    20· · · · · · ATTORNEY KELLY:· No, I don't.· Sorry.
21· to that characterization of why she is here to         21· · · · · · I just wanted to state on the record that
22· testify.· If you want to go off the record to talk     22· it's our understanding that you have been designated
23· about it --                                            23· to testify only as to the execution and signature
24· · · · · · ATTORNEY KELLY:· Okay.· No, that's fine.     24· and compliance with the MTAs at issue in this case
25· · · ·Q· · (BY ATTORNEY KELLY) I guess you understand   25· and that Gilead Sciences will be putting up
                                                 Page 56                                                    Page 57
·1· additional witnesses regarding other parts of          ·1· MTAs?
·2· Topic 46.· And with that, I'll just continue to ask    ·2· · · ·A· · No.
·3· questions.                                             ·3· · · ·Q· · Okay.· If Adela had to work on an MTA,
·4· · · ·Q· · (BY ATTORNEY KELLY) Do you recognize this    ·4· would she communicate directly with Mick Hitchcock
·5· document at all?                                       ·5· then?
·6· · · ·A· · Which document are you talking about?        ·6· · · · · · ATTORNEY VARGHESE:· Objection, calls for
·7· · · ·Q· · I'm sorry.· Exhibit 3, the one that you      ·7· speculation.
·8· reviewed right before --                               ·8· · · ·A· · I don't know.
·9· · · ·A· · No --                                        ·9· · · ·Q· · (BY ATTORNEY KELLY) You don't know.· Okay.
10· · · ·Q· · You --                                       10· Okay.· Okay.· I'm going to mark as Exhibit 4, a
11· · · ·A· · -- I don't.                                  11· document bearing Bates Nos. US_02252938 through 942.
12· · · ·Q· · -- went on break?· Okay.                     12· · · · · · (Exhibit 4 was marked for identification
13· · · · · · And can you see, though, by looking at it,   13· and is attached to the transcript.)
14· that it is a discussion of language in an MTA?         14· · · ·Q· · (BY ATTORNEY KELLY) Thank you.· Okay.· Do
15· · · · · · ATTORNEY VARGHESE:· Objection, calls for     15· you recognize this document at all?
16· speculation.                                           16· · · ·A· · It's a "Public Health Service Material
17· · · ·Q· · (BY ATTORNEY KELLY) You can answer, to the   17· Transfer Agreement."
18· extent you can.                                        18· · · ·Q· · Okay.· Have you ever seen this document
19· · · ·A· · Yes, I can see that.                         19· before?
20· · · ·Q· · Okay.· Do you recognize any of the names     20· · · ·A· · Yes.
21· that were emailing regarding this MTA?                 21· · · ·Q· · Okay.· Do you recall working on this
22· · · ·A· · I recognize Adela.                           22· document?
23· · · ·Q· · Okay.· And who was Adela?                    23· · · ·A· · I don't.
24· · · ·A· · She was counsel.                             24· · · ·Q· · Okay.· If you turn to the last page,
25· · · ·Q· · Okay.· And did you ever work with Adela on   25· you'll see a signature page.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 30 of 134 PageID #: 53204
                                    Confidential

                                                 Page 58                                                    Page 59
·1· · · ·A· · I see.                                       ·1· · · ·A· · I don't.
·2· · · ·Q· · Okay.· Do you recall any of the names on     ·2· · · ·Q· · Okay.· Do you know who at Gilead sent this
·3· the signature page?                                    ·3· to Janet Collins to sign?
·4· · · ·A· · Mick Hitchcock --                            ·4· · · ·A· · I don't remember.
·5· · · ·Q· · Okay.                                        ·5· · · ·Q· · Okay.· Do you recall ever corresponding
·6· · · ·A· · -- my supervisor.                            ·6· with Shambavi Subbarao to have this signed?
·7· · · ·Q· · Okay.· Do you recognize the name Janet       ·7· · · ·A· · I don't remember.
·8· Collins?                                               ·8· · · ·Q· · Okay.· Do you recall the name Shambavi
·9· · · ·A· · I don't.                                     ·9· Subbarao at all?
10· · · ·Q· · Okay.· Do you recognize the name Shambavi    10· · · ·A· · I don't.
11· Subbarao?                                              11· · · ·Q· · Okay.· Do you remember executing an MTA
12· · · ·A· · I don't.                                     12· with the CDC in 2004?
13· · · ·Q· · Okay.· Have you ever seen this signature     13· · · ·A· · I don't remember.
14· page before?                                           14· · · ·Q· · Okay.· Do you recall Mick Hitch -- Mick
15· · · ·A· · Yes.                                         15· Hitchcock -- every time -- Mick Hitchcock executing
16· · · ·Q· · Okay.· Do you recall working on executing    16· an MTA with the CDC in 2004?
17· this signature page on this agreement?                 17· · · ·A· · I mean, the signature is there.· I don't
18· · · ·A· · I don't recall.                              18· remember though.
19· · · ·Q· · Okay.· Do you know who executed this MTA?    19· · · ·Q· · Okay.· So you can't verify any of these
20· · · ·A· · I don't know.                                20· signatures for us here -- sitting here today?
21· · · ·Q· · Okay.· Do you know anything about the        21· · · ·A· · No.
22· execution of this MTA?                                 22· · · · · · ATTORNEY VARGHESE:· Objection.
23· · · ·A· · I don't.                                     23· · · ·Q· · (BY ATTORNEY KELLY) Okay.· You don't
24· · · ·Q· · Okay.· Do you know who would be              24· recognize any of these signature?
25· knowledgeable about executing this MTA?                25· · · · · · ATTORNEY VARGHESE:· Objection --
                                                 Page 60                                                    Page 61
·1· · · ·A· · I --                                         ·1· · · ·Q· · Okay.· And so you don't -- seeing it
·2· · · · · · ATTORNEY VARGHESE:· -- objection,            ·2· doesn't refresh your recollection at all?
·3· mischaracterizes her testimony.                        ·3· · · ·A· · No.
·4· · · · · · ATTORNEY KELLY:· Okay.                       ·4· · · ·Q· · Okay.
·5· · · ·Q· · (BY ATTORNEY KELLY) Is there any testimony   ·5· · · · · · ATTORNEY KELLY:· 2515000.· Did I lose my
·6· that you can provide regarding the execution of this   ·6· stickers?
·7· MTA sitting here today?                                ·7· · · · · · THE COURT STENOGRAPHER:· Let me put the
·8· · · ·A· · I don't.                                     ·8· numbers on there for you.
·9· · · · · · ATTORNEY VARGHESE:· Objection, vague.        ·9· · · · · · ATTORNEY KELLY:· Sorry.
10· · · ·Q· · (BY ATTORNEY KELLY) Can you -- can you       10· · · ·Q· · (BY ATTORNEY KELLY) Okay.· I'm going to
11· tell me when this was executed?                        11· mark as Exhibit 5, a document bearing Bates
12· · · ·A· · It says here that it was executed on         12· No. US_02515000.
13· June 2004 -- June 21, 2004.                            13· · · · · · (Exhibit 5 was marked for identification
14· · · ·Q· · Okay.· And do you know who at Gilead         14· and is attached to the transcript.)
15· executed this document on June 21, 2004?               15· · · ·Q· · (BY ATTORNEY KELLY) Ms. Vazquez, do you
16· · · ·A· · Mick Hitchcock.                              16· recognize this document?
17· · · ·Q· · Okay.· And do you know who reviewed it       17· · · ·A· · I do.
18· before Mitch -- Mick Hitchcock?                        18· · · ·Q· · Okay.· And what is this document?
19· · · ·A· · I don't know.                                19· · · ·A· · It's a Material Transfer Agreement
20· · · ·Q· · Okay.· So you don't have any knowledge of    20· Amendment --
21· the execution of this MTA?                             21· · · ·Q· · Okay.
22· · · ·A· · I don't.                                     22· · · ·A· · -- with the CDC.
23· · · ·Q· · Okay.· When did you last see this            23· · · ·Q· · Okay.· And do you recall the execution of
24· document?                                              24· this document?
25· · · ·A· · I think it was in 2004.                      25· · · ·A· · I don't.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 31 of 134 PageID #: 53205
                                    Confidential

                                                 Page 62                                                    Page 63
·1· · · ·Q· · Okay.· Do you know who executed this         ·1· 02515008 through 012.
·2· document?                                              ·2· · · · · · (Exhibit 6 was marked for identification
·3· · · ·A· · I -- it was Mick Hitchcock.· Hitchcock.      ·3· and is attached to the transcript.)
·4· · · ·Q· · Okay.· And do you know who coordinated       ·4· · · ·Q· · (BY ATTORNEY KELLY) Do you recognize this
·5· with CDC to finalize and execute this agreement?       ·5· document?
·6· · · ·A· · I don't remember.                            ·6· · · ·A· · I do.
·7· · · ·Q· · Okay.· Other than recognizing the            ·7· · · ·Q· · Okay.· And what is this document?
·8· signatures on the page, do you know any -- are you     ·8· · · ·A· · It's a "Public Health Service Material
·9· aware of any other circumstances regarding the         ·9· Transfer Agreement."
10· execution of this document?                            10· · · ·Q· · Okay.· And do you recall working on this
11· · · ·A· · I don't.                                     11· Public Health Service Material Transfer Agreement?
12· · · ·Q· · Okay.· Do you recall who Shambavi Subbarao   12· · · ·A· · I do.
13· is?                                                    13· · · ·Q· · Okay.· And what do you recall regarding
14· · · ·A· · I don't.                                     14· working on this Material Transfer Agreement?
15· · · ·Q· · Okay.· And you don't recall coordinating     15· · · ·A· · Just working on sending the powder.
16· with Shambavi Subbarao regarding the MTAs?             16· · · ·Q· · Sending the powder.· Okay.
17· · · ·A· · Correct.                                     17· · · · · · And what powder were you sending?
18· · · ·Q· · Okay.· And you don't recall executing this   18· · · ·A· · Okay.· Emtricitabine, FTC.
19· document?                                              19· · · ·Q· · Okay.· And do you recall who you were
20· · · ·A· · Correct.                                     20· sending it to?
21· · · ·Q· · Okay.                                        21· · · ·A· · Yes.· It was to Walid Heneine.
22· · · · · · ATTORNEY KELLY:· Do you want -- I guess,     22· · · ·Q· · Okay.· And do you remember when you
23· the next MTA.                                          23· started sending it to Walid Heneine?
24· · · ·Q· · (BY ATTORNEY KELLY) Okay.· I'm marking as    24· · · ·A· · I don't.
25· Exhibit 6, a document bearing U.S. Bates Nos.          25· · · ·Q· · Okay.· And do you recall how much you were
                                                 Page 64                                                    Page 65
·1· sending to him?                                        ·1· · · ·Q· · Do you recall coordinating that?
·2· · · ·A· · I would send the specified amount on the     ·2· · · ·A· · Yes.
·3· contract to 50 grams.                                  ·3· · · ·Q· · Okay.· Okay.· I'm going to mark as
·4· · · ·Q· · Okay.· So 50 grams.                          ·4· Exhibit 7, a document bearing Bates
·5· · · · · · And do you recall how often you were         ·5· No. GILDDE00338821.
·6· sending it?                                            ·6· · · · · · (Exhibit 7 was marked for identification
·7· · · ·A· · I don't.                                     ·7· and is attached to the transcript.)
·8· · · ·Q· · Okay.· Do you recall working on the          ·8· · · ·Q· · (BY ATTORNEY KELLY) Okay.· Do you recall
·9· execution of this document?                            ·9· this document?
10· · · ·A· · Just the -- just the back and forth of,      10· · · ·A· · I don't.
11· you know, whatever -- you know, they signed; we        11· · · ·Q· · Okay.· Do you recognize that this was an
12· signed.· That was the extent.                          12· email that was sent to you?
13· · · ·Q· · Okay.· Were you involved in the execution    13· · · ·A· · I do.
14· of this document?                                      14· · · ·Q· · Okay.· Regarding MTAs with CT -- CDC?
15· · · ·A· · No.                                          15· · · ·A· · I'm sorry?· Can you re --
16· · · ·Q· · Okay.· Do you know who was?                  16· · · ·Q· · I'm sorry.· And this was sent to you as an
17· · · ·A· · I don't.                                     17· email, and it was sent to you regarding MTAs with
18· · · ·Q· · Okay.· And do you know if Mick Hitchcock     18· the Center for Disease Control?
19· was the one who reviewed this document?                19· · · ·A· · It wasn't sent to me.
20· · · ·A· · I don't know that.                           20· · · ·Q· · Okay.· At the top where it says "Message,"
21· · · ·Q· · Okay.· Do you know if he was the one that    21· there's a "CC" line.
22· approved this document?                                22· · · ·A· · Oh, yes, I see it.
23· · · ·A· · He signed it.                                23· · · ·Q· · All right.· And I think you're one, two,
24· · · ·Q· · Okay.· So he was the one who executed it?    24· three -- fourth in the "CC" line?
25· · · ·A· · Yes.                                         25· · · ·A· · Correct.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 32 of 134 PageID #: 53206
                                    Confidential

                                                 Page 66                                                    Page 67
·1· · · ·Q· · Okay.· And that -- you recognize that to     ·1· · · ·Q· · And what was he asking you to do?
·2· be yourself?                                           ·2· · · ·A· · He was going to ask if the MTA covered the
·3· · · ·A· · Yes.                                         ·3· new compound.
·4· · · ·Q· · Okay.                                        ·4· · · ·Q· · Okay.· And do you have a recollection of
·5· · · ·A· · Sorry.· I didn't --                          ·5· -- of executing this agreement or sending compounds
·6· · · ·Q· · Right.· So you don't recognize this          ·6· related to this agreement?
·7· document --                                            ·7· · · ·A· · I sent many -- many compounds to
·8· · · ·A· · I don't.                                     ·8· Dr. Walid.
·9· · · ·Q· · -- at all?· Okay.                            ·9· · · ·Q· · Okay.· So you don't recall anything
10· · · · · · And you can see it says:                     10· related to this particular --
11· · · · · · · · ·Hi, Walid.· I will ask Martha           11· · · ·A· · I don't.
12· · · · · · Vazquez, who manages the MTAs, to            12· · · · · · ATTORNEY VARGHESE:· Objection.
13· · · · · · see if this additional material can          13· · · ·Q· · (BY ATTORNEY KELLY) Okay.· And you don't
14· · · · · · be covered with the current                  14· recognize this document at all sitting here today?
15· · · · · · agreements.· Stephen.                        15· · · ·A· · I'm sorry.· Can you repeat that?
16· · · · · · Correct?                                     16· · · ·Q· · You don't recognize this document at all?
17· · · ·A· · Correct.                                     17· · · ·A· · No.
18· · · ·Q· · Okay.· And who is Stephen?                   18· · · ·Q· · Okay.· And so you have no knowledge, if --
19· · · ·A· · Stephen was -- Smith was reporting to Jim    19· I guess if you go to the second email, you have no
20· Rooney.                                                20· knowledge of the -- the 200-gram Shambavi recently
21· · · ·Q· · Okay.· And what was his role?                21· received, it says, on the first page, if you go to
22· · · ·A· · I don't remember.                            22· the second email?
23· · · ·Q· · Okay.· And do you have an understanding of   23· · · ·A· · The one from Walid?
24· what Stephen was asking you to do here?                24· · · ·Q· · The second email from the top.· It says:
25· · · ·A· · Yes.                                         25· · · · · · · · ·Stephen, thank you for the
                                                 Page 68                                                    Page 69
·1· · · · · · follow-up.· The 200 grams Shambavi           ·1· that the "649 MTA."
·2· · · · · · recently received will cover mainly          ·2· · · · · · Does that make sense to you?
·3· · · · · · a new study of vaginal challenge.            ·3· · · ·A· · Yes.
·4· · · · · · You don't have any recollection or           ·4· · · ·Q· · Okay.· Do you recall working on the
·5· knowledge of sending that 200 grams to Shambavi?       ·5· 649 MTA at all?
·6· · · ·A· · Correct.                                     ·6· · · ·A· · No.
·7· · · ·Q· · Okay.· Okay.· Okay.· Yeah.· I'm going to     ·7· · · ·Q· · Okay.· Do you recall executing this -- the
·8· mark as Exhibit 8, GILDDE00343411.                     ·8· 649 agreement at all?
·9· · · · · · (Exhibit 8 was marked for identification     ·9· · · ·A· · I don't recall.
10· and is attached to the transcript.)                    10· · · ·Q· · Okay.· Do you know who executed the
11· · · ·Q· · (BY ATTORNEY KELLY) Do you recognize this    11· 649 MTA?
12· document?                                              12· · · ·A· · I would guess Mick Hitchcock.
13· · · ·A· · I do.                                        13· · · ·Q· · Okay.· Okay.· And do you recall -- you
14· · · ·Q· · Okay.· And what is it?                       14· said you sent a drug to Dr. Heneine under multiple
15· · · ·A· · It's a "Public Health Service Material       15· MTAs; is that correct?
16· Transfer Agreement. "                                  16· · · ·A· · Correct.
17· · · ·Q· · Okay.· Do you recognize this particular      17· · · ·Q· · Okay.· Do you recall -- do you have any
18· agreement?                                             18· specific recollection of providing a drug to him
19· · · ·A· · I don't.                                     19· under the 649 MTA?
20· · · ·Q· · Okay.· Do you recognize that these           20· · · ·A· · No.· Because this -- this is not the
21· agreements have different numbers at the top?          21· typical compounds that I would send him.
22· · · ·A· · Correct.                                     22· · · ·Q· · Okay.· So you didn't send him the PMPA?
23· · · ·Q· · Okay.· Do you recall the 649?· You can see   23· · · ·A· · I would have sent to regular PMPA, not the
24· up at the top -- it says "NCHSTP-V053649."             24· phospho whatever --
25· · · · · · Do you recall working -- I'm going to call   25· · · ·Q· · Okay.

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    Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 33 of 134 PageID #: 53207
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                                                 Page 70                                                    Page 71
·1· · · ·A· · -- phospho...                                ·1· · · ·A· · I do.
·2· · · ·Q· · Okay.· So this says                          ·2· · · ·Q· · Do you recognize the name --
·3· "phosphonylmethoxypropyl adenine, powder form,"        ·3· · · ·A· · Yes, Michael Hitchcock or Mick.
·4· right?                                                 ·4· · · ·Q· · Okay.· Do you recognize the name Kevin
·5· · · · · · It says 420 grams of PMPA.                   ·5· Fenton at all?
·6· · · · · · So did you send PMPA to Dr. Heneine?         ·6· · · ·A· · I don't.
·7· · · ·A· · Yes.· But it would be just the               ·7· · · ·Q· · Okay.· And do you recognize the name
·8· regular PMPA, I would say, not -- not with a           ·8· Salvatore Butera at all?
·9· adenine.                                               ·9· · · ·A· · I don't.
10· · · ·Q· · Okay.· So you would just see it listed       10· · · ·Q· · Okay.· Do you ever remember executing an
11· as PMPA, but you don't have any personal knowledge     11· MTA with Mr. Butera?
12· of what "PMPA" stands for; is that correct?            12· · · ·A· · No.
13· · · ·A· · Correct.                                     13· · · ·Q· · Okay.· So you have no knowledge of
14· · · ·Q· · Okay.· But you don't have any recollection   14· executing MTAs with Mr. Butera?
15· of sending Dr. Heneine --                              15· · · ·A· · No.
16· · · ·A· · Not the 420 grams, no.                       16· · · ·Q· · Okay.· Do you recall ever providing CDC
17· · · ·Q· · Okay.· I'm going to mark as Exhibit 9,       17· with any drugs under an MTA executed with
18· GILDDE00343397.· All right.· Please be patient.        18· Mr. Butera?
19· There's a lot of single pages in folders.· I'm going   19· · · ·A· · I don't.
20· to mark this as Exhibit 10, GILDDE00343397.· Oh, I'm   20· · · ·Q· · Okay.· So you have no knowledge of
21· sorry.· It's Exhibit 9.· There we go.                  21· providing 20 grams of GS7340 to Mr. Butera or under
22· · · · · · (Exhibit 9 was marked for identification     22· an MTA executed by Mr. Butera?
23· and is attached to the transcript.)                    23· · · ·A· · No, I don't.
24· · · ·Q· · (BY ATTORNEY KELLY) Ms. Vazquez, do you      24· · · ·Q· · Okay.· This is the last one.· I did it
25· recognize this document at all?                        25· again.· Okay.· I'm marking as Exhibit 10,
                                                 Page 72                                                    Page 73
·1· US_02544178.                                           ·1· that was her job --
·2· · · · · · (Exhibit 10 was marked for identification    ·2· · · ·Q· · Okay.
·3· and is attached to the transcript.)                    ·3· · · ·A· · -- to sign off on it.
·4· · · ·Q· · (BY ATTORNEY KELLY) Have you ever seen       ·4· · · ·Q· · Okay.
·5· Exhibit 10?                                            ·5· · · ·A· · Mick had retired at that point in time.
·6· · · ·A· · Yes.                                         ·6· · · ·Q· · Gotcha.· So you recall this because you
·7· · · ·Q· · Okay.· And what is this?                     ·7· remember having Lori Lehman -- is that correct --
·8· · · ·A· · It's a "Material Transfer Agreement          ·8· · · ·A· · Yeah.
·9· Amendment."                                            ·9· · · ·Q· · -- yeah -- sign it?
10· · · ·Q· · Okay.· And do you have any knowledge of      10· · · · · · And do you recall having Salvatore Butera
11· executing an amendment to MTA 649?                     11· execute this agreement?
12· · · ·A· · I do.                                        12· · · ·A· · I don't remember, but it says here that he
13· · · ·Q· · Okay.· And what do you recall about          13· did.
14· executing an amendment to MTA 649?                     14· · · ·Q· · Okay.· And you can see here where it says
15· · · ·A· · I had -- had Lori Lehman sign -- sign off    15· "Research Material."· At No. 1 at the top, it talks
16· on it.                                                 16· about 120 grams of a drug called tenofovir and
17· · · ·Q· · Okay.· And you recall having Lori            17· 100 grams of a drug called emtricitabine.
18· Lehman --                                              18· · · · · · Do you have any knowledge of sending those
19· · · ·A· · Excuse me?                                   19· compounds to Dr. Heneine?
20· · · ·Q· · You recall having Lori Lehman sign off on    20· · · ·A· · I do.
21· this?                                                  21· · · ·Q· · Okay.· So for this one you do -- you sent
22· · · ·A· · I do.                                        22· 100 grams of tenofovir disoproxil fumarate to him
23· · · ·Q· · Okay.· And do you recall that because that   23· and 100 -- I'm sorry -- 120 grams of tenofovir,
24· was unusual and you usually had Mick do it?            24· 100 grams of emtricitabine, and 100 grams of
25· · · ·A· · No.· By this time she had -- she was --      25· tenofovir disoproxil fumarate?

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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 34 of 134 PageID #: 53208




                           Exhibit D
           December 14, 2021 email of Mr. Tim Cook
          Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 35 of 134 PageID #: 53209


Holvey, Patrick C. (CIV)

From:                              Cook, Tim <Tim.Cook@wilmerhale.com>
Sent:                              Tuesday, December 14, 2021 11:21 AM
To:                                Brown, Walter (CIV); Ewing, Alexandra M.; Holvey, Patrick C. (CIV); Hatcher, Laura
                                   (USADE); Anis, Shamoor (USADE); Sternhell, Philip C. (CIV); Kelly, Amanda K. (CIV);
                                   Rosato, Carrie E. (CIV); Docket, PrEP (CIV)
Cc:                                cottrell@rlf.com; farnan@rlf.com; WH Gilead - HHS Patent Litigation; Tanner, Matthew
                                   D. (CIV); Bae, Sosun (CIV)
Subject:                           [EXTERNAL] RE: United States of America v. Gilead Sciences, Inc. & Gilead Sciences
                                   Ireland UC, C.A. No. 19-02103-MN: Objections & Responses to Plaintiff's Notices of
                                   Deposition Under Fed. R. Civ. P. 30(b)(6)



Counsel,

We write to provide additional designations in response to the government’s 30(b)(6) notice to GSI:

          GSI designates Jim Rooney to testify in response to the government’s topics 2, 27, 28, 29, 30, 32, and
           43, as restated in GSI’s responses and subject to GSI’s objections, and topic 46, as restated in GSI’s
           responses and subject to GSI’s objections, as it relates to approval of the listed MTAs. Dr. Rooney’s
           deposition has already been scheduled for January 18, 2022.

          GSI designates Sukeethi Seetharaman to testify in response to the government’s topic 48, as restated
           in GSI’s responses and subject to GSI’s objections. Ms. Seetharaman is available to be deposed on
           January 12, 2022, at one of WilmerHale’s Bay Area offices. Please confirm that the government will
           proceed on this date. We will follow up with the exact location.

GSI reserves the right to modify these 30(b)(6) designations upon reasonable notice to the government.

Best,
Tim


Timothy A. Cook | WilmerHale
(617) 526‐6005

From: Cook, Tim <Tim.Cook@wilmerhale.com>
Sent: Tuesday, December 7, 2021 8:46 PM
To: Brown, Walter (CIV) <Walter.Brown2@usdoj.gov>; Ewing, Alexandra M. <Ewing@rlf.com>; Holvey, Patrick C. (CIV)
<Patrick.C.Holvey@usdoj.gov>; Hatcher, Laura (USADE) <Laura.Hatcher@usdoj.gov>; Anis, Shamoor (USADE)
<Shamoor.Anis@usdoj.gov>; Sternhell, Philip C. (CIV) <Philip.C.Sternhell@usdoj.gov>; Kelly, Amanda K. (CIV)
<Amanda.K.Kelly@usdoj.gov>; Rosato, Carrie E. (CIV) <Carrie.E.Rosato@usdoj.gov>; Docket, PrEP (CIV)
<PrEP.Docket@usdoj.gov>
Cc: cottrell@rlf.com; farnan@rlf.com; WH Gilead ‐ HHS Patent Litigation <WHGilead‐
HHSPatentLitigation@wilmerhale.com>; Tanner, Matthew D. (CIV) <Matthew.D.Tanner@usdoj.gov>; Bae, Sosun (CIV)
<Sosun.Bae@usdoj.gov>
Subject: RE: United States of America v. Gilead Sciences, Inc. & Gilead Sciences Ireland UC, C.A. No. 19‐02103‐MN:
Objections & Responses to Plaintiff's Notices of Deposition Under Fed. R. Civ. P. 30(b)(6)
                                                            1
        Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 36 of 134 PageID #: 53210


Wally,

We have several updates on depositions of Gilead’s witnesses, as well as additional 30(b)(6) designations:

   1. Manish Bisaria.                                                                                , so
      December 14 is no longer possible for his deposition. Mr. Bisaria is available on January 20, 2022, in
      our Palo Alto office. Please let us know if this works for the government.

   2. Declan Hickey. We are still working to find dates that work for Mr. Hickey in January, but we wanted
      to follow up on the part of your request about whether GSIUC would consider a remote
      deposition. GSIUC will agree to the government’s request to conduct the deposition remotely if the
      deposition is completed within normal business hours in Ireland (either by starting at 9am GMT or by
      agreeing to a hard stop at 6pm GMT) and if Mr. Hickey is permitted (at his discretion) to have his
      counsel with him in person at the deposition. These accommodations are appropriate because the
      government, not the witness or GSIUC, is requesting the remote deposition, and because the
      deposition of GSIUC would need to take place in Ireland if it were conducted in person. Please confirm
      that the government agrees—if so, we will propose modifications to our usual stipulation. We will also
      send Mr. Hickey’s availability when we have it.

   3. Bill Lee. Dr. Lee, who is now a retired third party, is not available on January 14, which is the date in
      the government’s deposition notice. He is available on January 18, 2022. We expect that he will be
      available at our firm’s San Francisco office, but there is a chance that the birth of a grandchild will
      require him to be deposed at our firm’s Denver office. We will let you know as soon as we have
      confirmed the location, but please let us know if the date is acceptable.

         Moreover, GSI designates Bill Lee to testify in response to the government’s topics 33 and 34, as these
         topics are restated in GSI’s responses and subject to GSI’s objections.

   4. Sonja Tong. GSI designates Sonja Tong to testify in response to the government’s topics 4 and 5, as
      these topics are restated in GSI’s responses and subject to GSI’s objections, and to the government’s
      topic 3, as restated in GSI’s responses and subject to GSI’s objections, as it relates to labeling. Ms.
      Tong is available to be deposed on January 21, 2022, likely at our firm’s Palo Alto office. Ms. Tong,
      however, reserves the right to request a remote deposition; if she does, we will let you know by early
      January. Please confirm that the government will proceed on January 21.

   5. Melissa Koomey. GSI designates Melissa Koomey to testify in response to the government’s topics 7,
      8, 22, and 42, as restated in GSI’s responses and subject to GSI’s objections. Ms. Koomey is available to
      be deposed on January 6, 2022, at 9am EST. Ms. Koomey requests a remote deposition. Ms. Koomey
      is located in the Toronto area but will stipulate to the administration of the oath using the same form
      of stipulation that we have used for other remote depositions. Please confirm that the government
      agrees and will proceed on this date.

GSI reserves the right to modify these 30(b)(6) designations upon reasonable notice to the government.

Best,
Tim

                                                        2
        Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 37 of 134 PageID #: 53211


Timothy A. Cook | WilmerHale
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From: Brown, Walter (CIV) <Walter.Brown2@usdoj.gov>
Sent: Friday, December 3, 2021 7:16 PM
To: Cook, Tim <Tim.Cook@wilmerhale.com>; Ewing, Alexandra M. <Ewing@rlf.com>; Holvey, Patrick C. (CIV)
<Patrick.C.Holvey@usdoj.gov>; Hatcher, Laura (USADE) <Laura.Hatcher@usdoj.gov>; Anis, Shamoor (USADE)
<Shamoor.Anis@usdoj.gov>; Sternhell, Philip C. (CIV) <Philip.C.Sternhell@usdoj.gov>; Kelly, Amanda K. (CIV)
<Amanda.K.Kelly@usdoj.gov>; Rosato, Carrie E. (CIV) <Carrie.E.Rosato@usdoj.gov>; Docket, PrEP (CIV)
<PrEP.Docket@usdoj.gov>
Cc: cottrell@rlf.com; farnan@rlf.com; WH Gilead ‐ HHS Patent Litigation <WHGilead‐
HHSPatentLitigation@wilmerhale.com>; Tanner, Matthew D. (CIV) <Matthew.D.Tanner@usdoj.gov>; Bae, Sosun (CIV)
<Sosun.Bae@usdoj.gov>
Subject: RE: United States of America v. Gilead Sciences, Inc. & Gilead Sciences Ireland UC, C.A. No. 19‐02103‐MN:
Objections & Responses to Plaintiff's Notices of Deposition Under Fed. R. Civ. P. 30(b)(6)

EXTERNAL SENDER


Tim,

I wanted to address some of the deposition issues you raised before next week.

Regarding the Miller depositions, we are confirming both Madeline Miller for 1/14 and Michael Miller for 1/7. I
apologize for the confusion; I was trying to address Madeline Miller deposition in my email, but neglected to confirm the
Michael Miller date as well.

Regarding the location of the Folks deposition, your proposal is acceptable to us. Let us know when you confirm the
location. We can also confirm that the depositions of Tara Kirby (Dec. 15) and Carl Dieffenbach (Dec. 17) will be held at
WilmerHale’s Washington, DC offices.

Regarding the Conant deposition, we were not aware that the date had been set, but nonetheless Government counsel
will be attending that deposition along with the Avery Goldstein deposition on December 14.

We expect to have additional information on outstanding scheduling issues early next week.

Regards,

Wally

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                                                            3
        Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 38 of 134 PageID #: 53212




From: Cook, Tim <Tim.Cook@wilmerhale.com>
Sent: Friday, December 03, 2021 9:38 AM
To: Brown, Walter (CIV) <Walter.Brown2@usdoj.gov>; Ewing, Alexandra M. <Ewing@rlf.com>; Holvey, Patrick C. (CIV)
<Patrick.C.Holvey@usdoj.gov>; Hatcher, Laura (USADE) <lhatcher@usa.doj.gov>; Anis, Shamoor (USADE)
<SAnis@usa.doj.gov>; Sternhell, Philip C. (CIV) <Philip.C.Sternhell@usdoj.gov>; Kelly, Amanda K. (CIV)
<Amanda.K.Kelly@usdoj.gov>; Rosato, Carrie E. (CIV) <Carrie.E.Rosato@usdoj.gov>; Docket, PrEP (CIV)
<PrEP.Docket@usdoj.gov>
Cc: cottrell@rlf.com; farnan@rlf.com; WH Gilead ‐ HHS Patent Litigation <WHGilead‐
HHSPatentLitigation@wilmerhale.com>; Tanner, Matthew D. (CIV) <Matthew.D.Tanner@usdoj.gov>; Bae, Sosun (CIV)
<Sosun.Bae@usdoj.gov>
Subject: [EXTERNAL] RE: United States of America v. Gilead Sciences, Inc. & Gilead Sciences Ireland UC, C.A. No. 19‐
02103‐MN: Objections & Responses to Plaintiff's Notices of Deposition Under Fed. R. Civ. P. 30(b)(6)

Wally,

Thanks for your understanding on Mr. Bisaria’s deposition, and we look forward to hearing from you about the
alternative date.

Thanks also for confirming the Luetgens, Attard, and Miller depositions. To be clear, is the government
confirming the date we offered for Madeline Miller (1/14), Michael Miller (1/7), or both?

We will follow up separately about Mr. Hickey’s later availability.

January 4 works for us for Dr. Folks’s deposition. We will try to make arrangements at the same hotel we
discussed in October and will let you know when the space is confirmed. Please also let us know when Drs.
Heneine, Garcia‐Lerma, and Grant are available to be deposed—from our call on Monday, we understood that
the government was expecting to provide their availability this week.

As for third‐party depositions, the depositions of Avery Goldstein and Marcus Conant will proceed as indicated
in the subpoenas. Dates have not been set for depositions of Dinsmore, Weston Gould, or Mylan, but we will
let you know when they are. And as you already know, the Klarquist/Siegel deposition is scheduled for
December 10, subject to reaching agreement among all parties on a remote deposition stipulation. (Relatedly,
please let us know today if the draft stipulation that Kevin Yurkerwich sent on November 18 is acceptable—
the draft is still subject to review by Klarquist, and the deposition is next Friday.)

Aside from documents produced by DOJ (which we assume do not need to be reproduced), we have received
documents in response to a subpoena only from Klarquist. We understand that Klarquist has been
coordinating with DOJ on its response, but we will reproduce what Klarquist served shortly.

Best,
Tim


Timothy A. Cook | WilmerHale
(617) 526‐6005

                                                           4
        Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 39 of 134 PageID #: 53213

From: Brown, Walter (CIV) <Walter.Brown2@usdoj.gov>
Sent: Thursday, December 2, 2021 8:00 PM
To: Cook, Tim <Tim.Cook@wilmerhale.com>; Ewing, Alexandra M. <Ewing@rlf.com>; Holvey, Patrick C. (CIV)
<Patrick.C.Holvey@usdoj.gov>; Hatcher, Laura (USADE) <Laura.Hatcher@usdoj.gov>; Anis, Shamoor (USADE)
<Shamoor.Anis@usdoj.gov>; Sternhell, Philip C. (CIV) <Philip.C.Sternhell@usdoj.gov>; Kelly, Amanda K. (CIV)
<Amanda.K.Kelly@usdoj.gov>; Rosato, Carrie E. (CIV) <Carrie.E.Rosato@usdoj.gov>; Docket, PrEP (CIV)
<PrEP.Docket@usdoj.gov>
Cc: cottrell@rlf.com; farnan@rlf.com; WH Gilead ‐ HHS Patent Litigation <WHGilead‐
HHSPatentLitigation@wilmerhale.com>; Tanner, Matthew D. (CIV) <Matthew.D.Tanner@usdoj.gov>; Bae, Sosun (CIV)
<Sosun.Bae@usdoj.gov>
Subject: RE: United States of America v. Gilead Sciences, Inc. & Gilead Sciences Ireland UC, C.A. No. 19‐02103‐MN:
Objections & Responses to Plaintiff's Notices of Deposition Under Fed. R. Civ. P. 30(b)(6)

EXTERNAL SENDER


Tim,

Thank you for providing Gilead’s first set of Rule 30(b)(6) witness designations.

The previously scheduled Vazquez and Parthasarathy depositions will go forward on the present schedule, with the
added designations. We are considering the alternative date for the Bisaria deposition, which we will address later, but
certainly are amenable to changing the date in light of                         .

We are also prepared to move forward on the Luetgens, Attard, and Miller depositions on the dates proposed. We will
also likely serve fact deposition notices for these witnesses, though we are not seeking more than a total of 7 hours with
any of these individuals.

We are unable, however, to agree to the Hickey deposition proposed to take place in Ireland on December 14 (less than
two weeks from today). First, the Government would like to resolve the GSIUC document issues prior to such a
deposition; at present, GSIUC has produced only two custodial documents. Second, we are exploring whether any DOJ
(or other) restrictions would prevent our travel to Ireland for a deposition, including any COVID‐related restrictions (as
Ireland has been designated a Level 4 country). In that vein, please provide alternative dates for this deposition as well
as Gilead’s position on whether the deposition can been held remotely.

Also, the Government is also proposing that Dr. Folks’ deposition be held on January 4 in the San Antonio area. Let me
know if this date is amenable to Gilead.

Finally, update us as to any additional third‐party depositions that are being scheduled. I am not aware, for example, of
any scheduled dates for the Dinsmore and Mylan depositions. We have also not received any documents from Gilead
that it may have obtained from third‐party subpoenas, which would be responsive to Government RFP No. 254 (served
on October 4). Please update us on that issue as well.

Regards,

Wally

Walter W. Brown
Senior Litigation Counsel
Commercial Litigation Branch
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1100 L Street, N.W.
                                                             5
       Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 40 of 134 PageID #: 53214

Room 8504
Washington, D.C. 20005
Telephone: (202) 307‐0341
Facsimile: (202) 307‐0345
Email: walter.brown2@usdoj.gov




From: Cook, Tim <Tim.Cook@wilmerhale.com>
Sent: Tuesday, November 30, 2021 10:27 AM
To: Ewing, Alexandra M. <Ewing@rlf.com>; Brown, Walter (CIV) <Walter.Brown2@usdoj.gov>; Holvey, Patrick C. (CIV)
<Patrick.C.Holvey@usdoj.gov>; Hatcher, Laura (USADE) <lhatcher@usa.doj.gov>; Anis, Shamoor (USADE)
<SAnis@usa.doj.gov>; Sternhell, Philip C. (CIV) <Philip.C.Sternhell@usdoj.gov>; Kelly, Amanda K. (CIV)
<Amanda.K.Kelly@usdoj.gov>; Rosato, Carrie E. (CIV) <Carrie.E.Rosato@usdoj.gov>; Docket, PrEP (CIV)
<PrEP.Docket@usdoj.gov>
Cc: cottrell@rlf.com; farnan@rlf.com; WH Gilead ‐ HHS Patent Litigation <WHGilead‐
HHSPatentLitigation@wilmerhale.com>
Subject: [EXTERNAL] RE: United States of America v. Gilead Sciences, Inc. & Gilead Sciences Ireland UC, C.A. No. 19‐
02103‐MN: Objections & Responses to Plaintiff's Notices of Deposition Under Fed. R. Civ. P. 30(b)(6)

Counsel,

We write to provide Defendants’ first set of designations in response to the government’s 30(b)(6) notices:

       GSI designates Martha Vazquez to testify in response to the government’s topic 46, as restated in GSI’s
        responses and subject to GSI’s objections, as it relates to GSI’s execution of and compliance with the
        MTAs. Ms. Vazquez’s deposition has already been scheduled for December 7, 2021.

       GSI designates Manish Bisaria to testify in response to the government’s topic 9, as restated in GSI’s
        responses and subject to GSI’s objections, and topic 13, as restated in GSI’s responses and subject to
        GSI’s objections, as it relates to sales volume and revenue. Mr. Bisaria’s deposition has already been
        scheduled for December 8, 2021.

       GSI designates Kavitha Parthasarathy to testify in response to the government’s topic 11, as restated
        in GSI’s responses and subject to GSI’s objections, and topic 13, as restated in GSI’s responses and
        subject to GSI’s objections, as it relates to demand volume and market share. Ms. Parthasarathy’s
        deposition has already been scheduled for December 9, 2021.

       GSIUC designates Declan Hickey to testify in response to the government’s topics 42 and 53, as these
        topics are restated in GSIUC’s responses and subject to GSIUC’s objections. Mr. Hickey is available to
        be deposed on December 14, 2021, at a location to be determined near Carrigtwohill, Ireland. GSIUC
        reiterates that the government’s continued assertion of claims against it is objectively baseless, and
        GSIUC intends to seek its fees and costs for this deposition if it takes place. Please let us know by this
        Thursday, December 2, 2021, if the government will proceed on this date.

       GSI designates Jennifer Luetgens to testify in response to the government’s topics 15, 16, 17, and 18,
        as these topics are restated in GSI’s responses and subject to GSI’s objections. Ms. Luetgens is
        available to be deposed on December 17, 2021 at WilmerHale’s Palo Alto office. Please let us know by
        this Thursday, December 2, 2021, if the government will proceed on this date. In addition, Ms.
                                                           6
         Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 41 of 134 PageID #: 53215

          Luetgens has asked that only necessary individuals be in the room and that everyone follow strict
          COVID precautions, including 6‐foot distancing and wearing masks.

         GSI designates Stefania Attard to testify in response to the government’s topic 31, as restated in GSI’s
          responses and subject to GSI’s objections. Ms. Attard is available to be deposed on January 11, 2022 at
          WilmerHale’s Palo Alto office. Please confirm that the government will proceed on this date.

         GSI designates Madeline Miller to testify in response to the government’s topic 47, as restated in GSI’s
          responses and subject to GSI’s objections. Dr. Miller is available to be deposed on January 14, 2022 at
          WilmerHale’s San Francisco office. Please confirm that the government will proceed on this date.

We will provide designations for other topics, along with witness availability, on a rolling basis.

Best,
Tim


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From: Ewing, Alexandra M. <Ewing@rlf.com>
Sent: Monday, November 22, 2021 5:18 PM
To: Brown, Walter (CIV) <Walter.Brown2@usdoj.gov>; Holvey, Patrick C. (CIV) <Patrick.C.Holvey@usdoj.gov>; Hatcher,
Laura (USADE) <Laura.Hatcher@usdoj.gov>; Anis, Shamoor (USADE) <Shamoor.Anis@usdoj.gov>; Sternhell, Philip C.
(CIV) <Philip.C.Sternhell@usdoj.gov>; Kelly, Amanda K. (CIV) <Amanda.K.Kelly@usdoj.gov>; Rosato, Carrie E. (CIV)
<Carrie.E.Rosato@usdoj.gov>; Docket, PrEP (CIV) <PrEP.Docket@usdoj.gov>
Cc: cottrell@rlf.com; farnan@rlf.com; Schoenbaum, Griffin A. <Schoenbaum@rlf.com>; WH Gilead ‐ HHS Patent
Litigation <WHGilead‐HHSPatentLitigation@wilmerhale.com>
Subject: United States of America v. Gilead Sciences, Inc. & Gilead Sciences Ireland UC, C.A. No. 19‐02103‐MN:
Objections & Responses to Plaintiff's Notices of Deposition Under Fed. R. Civ. P. 30(b)(6)

EXTERNAL SENDER


Counsel,

Attached please find:


                                                                             7
        Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 42 of 134 PageID #: 53216

    (1) Objections & Responses to Plaintiff’s Notice of Deposition of Gilead Sciences, Inc. Under Fed. R. Civ. P. 30(b)(6);
        and
    (2) Objections & Responses to Plaintiff’s Notice of Deposition of Gilead Sciences Ireland UC Under Fed. R. Civ. P.
        30(b)(6).

Best,
Ally

Alexandra M. Ewing
Richards, Layton & Finger, P.A.
One Rodney Square
920 North King Street
Wilmington, DE 19801
302‐651‐7898 (direct dial)
Ewing@rlf.com



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Thank you.




                                                             8
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 43 of 134 PageID #: 53217




                           Exhibit E
      Gilead Sciences, Inc., Objections and Responses to
         the United States' 30(b)(6) Deposition Notice
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 44 of 134 PageID #: 53218




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA,

         Plaintiff & Counterclaim-Defendant,            C.A. No. 19-02103-MN

                 v.

 GILEAD SCIENCES, INC. and
 GILEAD SCIENCES IRELAND UC,

         Defendants & Counterclaim-Plaintiff.



           OBJECTIONS & RESPONSES TO PLAINTIFF’S NOTICE OF
      DEPOSITION OF GILEAD SCIENCES, INC. UNDER FED. R. CIV. P. 30(b)(6)

        Pursuant to Rules 26 and 30 of the Federal Rules of Civil Procedure and the applicable

 Local Rules of Civil Practice and Procedure for the District of Delaware, Gilead Sciences, Inc.

 (“GSI”) objects and responds to the Notice of Deposition pursuant to Rule 30(b)(6) to GSI,

 served by Plaintiff United States of America (the “Government” or “Plaintiff”) and dated

 November 1, 2021 (the “Notice”).

                                 GENERAL OBJECTIONS

        GSI incorporates each of the following General Objections into its responses to each of

 the Topics, whether or not each such General Objection is expressly referred to in GSI’s

 response to a specific Topic.

        1.      GSI objects to the date and location of the deposition contained in the notice as

 unduly burdensome, particularly because GSI’s principal place of business is not located in or

 near Washington, D.C. GSI is willing to meet and confer with the government regarding the

 date, place, time, and format of any depositions taken in response to the Notice.




                                                –1–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 45 of 134 PageID #: 53219




        2.      GSI objects to the Notice, and to the Definitions, Instructions, and Topics

 contained therein, to the extent it seeks to impose a burden on GSI greater than or inconsistent

 with that required by the Federal Rules of Civil Procedure, including Rule 30(b)(6), the Local

 Rules, or any other relevant rule, statute, regulation, or precedent.

        3.      GSI objects to the Notice to the extent that it suggests that the deposition of any

 GSI designee “will continue day to day until complete with adjournments as to time and place

 that may be necessary.” GSI will not produce any witness for a deposition of longer than seven

 hours or greater than one day. See Fed. R. Civ. P. 30(d)(1); D.I. 27, ¶ 8(e)(i).

        4.      GSI objects to Defendants’ incorporation by reference of the Definitions set forth

 in the Government’s Corrected First Set of Requests for Production of Documents and Things

 (Nos. 1-182) and the Government’s Second Set of Requests for Production of Documents and

 Things (Nos. 183-250). Many of these documents containing contradictory definitions.

 Compare Notice at 1 (“Defendant Gilead Sciences, Inc. (hereinafter, Gilead or Defendant)”),

 with Pl.’s Corrected 1st Set of Requests for Prod. of Docs. & Things, Def’n ¶ 2 (“‘Gilead’ …

 refers, collectively or singly, to Gilead Sciences, Inc. (GSI), Gilead Sciences Ireland UC

 (GSIUC), and any and all predecessors, successors, divisions, subsidiaries, subcontractors,

 franchisees, assigns, or joint ventures thereof, together with any and all parent or affiliated

 companies, corporations, or other legal entities, whether foreign or domestic, and all past or

 present officers, directors, employees, agents, attorneys, lobbyists, representatives, and all other

 persons acting or purporting to act or that have acted or purported to act on behalf of any of the

 foregoing.”). Moreover, requiring each designee to review multiple documents to locate

 definitions presents an undue burden. GSI interprets the terms in each Topic to have their plain

 and ordinary meaning unless expressly defined in the Notice itself.




                                                 –2–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 46 of 134 PageID #: 53220




        5.      GSI objects to each Topic to the extent that it seeks information that GSI is

 precluded from disclosing under legal obligations of any kind, including foreign or domestic

 privacy laws. Except as set forth in GSI’s specific responses below, GSI is not currently aware

 of such obligations that would affect their ability to respond to the Topics, but GSI expressly

 reserves the right to object and withhold testimony on this basis should GSI become aware of

 such obligations.

        6.      Any statement by GSI that it will designate a witness is made without waiving or

 intending to waive any objections as to relevancy, materiality, privilege, or admissibility of any

 information in this or any subsequent proceeding or at the trial of this or any other action, on any

 ground.

        7.      GSI reserves the right to object to any specific deposition question at the time of

 examination. Objections as to the relevance, foundation, or admissibility of any information are

 expressly reserved.

        8.      Any statement by GSI that it will designate a witness to testify to the Topics

 contained in the Notice does not constitute an admission to the relevance or admissibility of any

 Topic or a representation that GSI has any knowledge or information relating to a given Topic.

        9.      GSI objects to the Notice and the Topics contained therein to the extent they call

 for testimony protected from disclosure by the attorney-client privilege, the attorney work

 product doctrine, the joint defense or common interest privilege, or any other applicable

 privilege or immunity. GSI intends to and does claim all such protections and privileges. No

 person will be designated to testify concerning such privileged information, and no documents

 subject to such privilege will be produced. The inadvertent disclosure by GSI of information




                                                –3–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 47 of 134 PageID #: 53221




 protected from disclosure by any privilege or doctrine shall not constitute a waiver by GSI of

 such objections or protections.

        10.     GSI objects to the Notice and the Topics contained therein to the extent they are

 overly broad, unreasonably burdensome, or seek discovery of information that is not relevant to

 any party’s claims or defenses or not proportional to the needs of this case.

        11.     GSI objects to the Notice and the Topics contained therein to the extent it is

 premature and/or to the extent it conflicts with the Scheduling Order entered by the Court or

 seeks information that is properly the subject of expert testimony.

        12.     GSI objects to the Notice to the extent that any Topic seeks duplicative

 information already requested by, and more appropriately obtained through, other discovery

 mechanisms, including requests for production and interrogatories.

        13.     GSI objects to the Notice to the extent that any Topic is not limited to any

 reasonable time period.

        14.     GSI objects to the Notice to the extent that any Topic is not geographically

 limited to the United States.

        15.     GSI objects to the Notice to the extent that any Topic calls for a witness or

 witnesses to testify as to a legal conclusion.

        16.     GSI objects to the Notice to the extent that any Topic calls for a witness or

 witnesses to testify as to GSI’s contentions in this action. See, e.g., Guest Tek Interactive Entm’t,

 Ltd. v. Nomadix, Inc., C.A. No. 18-1394-RGA (D. Del. Dec. 18, 2020) (D.I. 212); Intellectual

 Ventures II LLC v. Symantec Corp., C.A. 13-440-LPS (D. Del. June 12, 2015), Tr. at 37-38;

 Sanofi-Aventis, U.S. LLC v. Eli Lilly & Co., C.A. 14-113-RGA-MPT (D. Del. Feb. 26, 2015), Tr.

 at 87; Axiohm IPS Inc. v. Epson Am., Inc., C.A. No. 00-420-SLR (D. Del. Mar. 28, 2001), Tr. at




                                                  –4–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 48 of 134 PageID #: 53222




 4; Int’l Bus. Machines Corp. v. The Priceline Grp. Inc., No. CV 15-137-LPS, 2016 WL 6305981,

 at *2 (D. Del. Sept. 29, 2016) (denying request to compel party to put forward a witness to testify

 on “de facto contention deposition categories” that are “more properly the subject of expert

 testimony”).

        17.     GSI objects to the Notice and the Topics to the extent they call for testimony on

 matters that are not within GSI’s possession, custody, or control and thereby seek to avoid the

 requirements of Federal Rule of Civil Procedure 45.

        18.     GSI reserves the right to revise, correct, add to, supplement, modify, or clarify

 their testimony as to any Topic pursuant to Federal Rule of Civil Procedure 26(a) in any manner

 it deems appropriate. These responses are made without prejudice to GSI’s right to present at

 trial additional evidence or witnesses as may be discovered or produced.

        19.     GSI objects to the Notice to the extent it seeks to require GSI to produce one or

 more witnesses to testify concerning Topics that pertain to documents or information beyond

 what GSI is able to locate upon a reasonable search of its own files and from a reasonable

 inquiry of its present employees.

        20.     GSI objects to examination on Topics that seek information that already is

 possessed by or known by the government, that is publicly available, or that is in the sole

 possession of any third party.

        21.     GSI objects to the definition of “Agreement Form” in the Notice. GSI interprets

 this term in the Topics to refer to published documents having the title “Agreement Form for

 Initiating Emtricitabine/Tenofovir Disoproxil Fumarate 200 mg/300 mg for HIV-1 Pre-exposure

 Prophylaxis (PrEP)” and having substantially the same form and content as the document

 produced by GSI with the Bates number GILDDE00267952.




                                                –5–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 49 of 134 PageID #: 53223




         22.    GSI objects to the definition of “Training Guide for Healthcare Providers” in the

 Notice. GSI interprets this term in the Topics to refer to published documents having the title

 “Emtricitabine/Tenofovir Disoproxil Fumarate 200 mg/300 mg for HIV-1 Pre-exposure

 Prophylaxis (PrEP) Training Guide for Healthcare Providers” and having substantially the same

 form and content as the document produced by GSI with the Bates numbers GILDDE00268598-

 GILDDE00268608.

               OBJECTIONS AND RESPO NSES TO SPE CI FIC TO PICS

 Topic No. 1:

                Gilead’s decision to seek or not seek a PrEP indication for the
                Accused Products, including any decision to discontinue any PrEP
                indication for an Accused Product, and all information used or
                considered in making these decisions such as scientific, sales,
                market, or clinical research used or considered.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, to the extent the request seeks testimony about “all information used or considered in

 making these decisions such as scientific, sales, market, or clinical research used or considered,”

 it is not sufficiently particularized to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous, including the phrase “used or

 considered in making these decisions.” Moreover, GSI objects to this Topic as calling for a




                                                 –6–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 50 of 134 PageID #: 53224




 subjective judgment about whether information was “considered.” As such, this Topic is vague

 and ambiguous.

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

        GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether certain information was “used or considered” by GSI, which

 requires legal conclusions regarding corporate agency.

        GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

        Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of GSI’s decision to seek or not seek a PrEP indication for

 the Accused Products, to the extent that such information exists; is in GSI’s possession, custody,

 or control; and can be located with a reasonable search.

 Topic No. 2:

                The research, development, testing, and analysis performed by or
                on behalf of Gilead concerning PrEP or the PrEP indications for
                the Accused Products.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. GSI has

 performed substantial “research, development, testing, and analysis performed by or on behalf of

 Gilead concerning PrEP or the PrEP indications for the Accused Products” over the course of




                                                –7–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 51 of 134 PageID #: 53225




 more than two decades; accordingly, this Topic it is not sufficiently particularized to enable GSI

 to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous, including the terms “on behalf of” and

 “concerning.” Moreover, GSI objects to this Topic as calling for a subjective judgment about

 whether research, development, testing, or analysis was performed “on behalf of” GSI and

 whether it “concern[ed]” PrEP or the PrEP indications for the Accused Products. As such, this

 Topic is vague and ambiguous.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether research, development, testing, or analysis was performed “on

 behalf of” GSI, which requires legal conclusions regarding corporate agency.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information




                                                  –8–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 52 of 134 PageID #: 53226




 related to GSI’s general knowledge of GSI’s research, development, testing, and analysis

 concerning PrEP or the PrEP indications for the Accused Products, to the extent that such

 information exists; is in GSI’s possession, custody, or control; and can be located with a

 reasonable search.

 Topic No. 3:

                Gilead’s regulatory filings concerning the PrEP indication for the
                Accused Products or any efficacy supplement regarding the use of
                the Accused Products for PrEP from December 14, 2011 through
                June 23, 2020, the preparation and contents of such filings, the
                decision-making process behind such filings, communications with
                regulatory agencies (including the FDA) regarding such filings,
                and the identities of individuals involved in such filings.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, the filings and communications covered by this Topic are voluminous, and much of the

 information contained in the filings is not relevant to the claims and defenses in this case;

 accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

 designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. For example, GSI’s communications with “regulatory agencies” outside the United States

 are not relevant to the claims and defenses in this case, nor are GSI’s communications with

 regulatory agencies other than the FDA within the United States.




                                                 –9–
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 53 of 134 PageID #: 53227




         GSI objects to this Topic as vague and ambiguous, including the terms “concerning,”

 “involved in,” and “decision-making process behind such filings.” Moreover, GSI objects to this

 Topic as calling for a subjective judgment about whether information “concern[ed]” “the PrEP

 indication for the Accused Products or any efficacy supplement regarding the use of the Accused

 Products for PrEP.” As such, this Topic is vague and ambiguous.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of GSI’s efficacy supplements regarding the use of the

 Accused Products for PrEP in the United States—and about a reasonable number of specific such

 filings that the Government identifies in writing at least 14 days in advance of the deposition—to

 the extent that such information exists; is in GSI’s possession, custody, or control; and can be

 located with a reasonable search.




                                                 – 10 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 54 of 134 PageID #: 53228




 Topic No. 4:

                All discussions of PrEP contained in each of Gilead’s Labels,
                Medication Guides, Agreement Forms, and Training Guides for
                Healthcare Providers for the Accused Products from July 16, 2011
                through June 23, 2020 including, but not limited to, the dosage
                form, drug amounts, and route of administration for the use of the
                Accused Products for PrEP; the use of the Accused Products for
                PrEP, including any regimen for PrEP; management during the use
                of the Accused Products for PrEP; instructions concerning safer
                sex practices before and during the use of the Accused Products for
                PrEP; the testing of individuals for HIV before initiation of and
                during the use of the Accused Products for PrEP; as well as the
                reasons for including this information in these Labels, Medication
                Guides, Agreement Forms, and Training Guides for Healthcare
                Providers; and any amendments made by Gilead to each of the
                aforementioned Labels, Medication Guides, Agreement Forms,
                and Training Guides for Healthcare Providers, and all drafts or
                iterations thereof.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, PrEP is discussed in the documents recited in this topic in many different contexts, and

 to the extent that Topic seeks detailed testimony about “[a]ll discussions” of PrEP in the

 documents, it is not sufficiently particularized to enable GSI to prepare a corporate designee.

 Likewise, to the extent this Topic seeks testimony about “all drafts or iterations” of the recited

 documents, it is not sufficiently particularized to enable GSI to prepare a corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. For example, “discussions of PrEP” in versions of the documents recited in this Topic that

 were not used after June 2, 2015—the date that the first Patent-in-Suit issued—are not relevant to

 the parties’ claims or defenses.


                                                – 11 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 55 of 134 PageID #: 53229




         GSI objects to this Topic as vague and ambiguous, including the terms “any regimen for

 PrEP,” “management during the use of the Accused Products for PrEP,” “before and during the

 use of the Accused Products for PrEP,” and “before initiation of and during the use of the

 Accused Products for PrEP.” Moreover, GSI objects to this Topic as calling for a subjective

 judgment about whether particular information was among the “reasons for including this

 information in” the recited documents. As such, this Topic is vague and ambiguous.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of the discussions of PrEP contained in Gilead’s Labels,

 Medication Guides, Agreement Forms, and Training Guides for Healthcare Providers for the

 Accused Products from June 2, 2015, through June 23, 2020, for Truvada® and from October 3,

 2019, through June 23, 2020, for Descovy®—and about a reasonable number of specific such

 Labels, Medication Guides, Agreement Forms, and Training Guides for Healthcare Providers

 that the Government identifies in writing at least 14 days in advance of the deposition—to the

 extent that such information exists; is in GSI’s possession, custody, or control; and can be

 located with a reasonable search.




                                                 – 12 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 56 of 134 PageID #: 53230




 Topic No. 5:

                Any communications between Gilead and the FDA concerning the
                Labels, Medication Guides, Agreement Forms, and Training
                Guides for Healthcare Providers, and any amendments made by
                Gilead to each of the Labels, Medication Guides, Agreement
                Forms, and Training Guides for Healthcare Providers as a result of
                communications with the FDA.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, GSI has had extensive communications with FDA about the labels for Truvada® and

 Descovy®, much of which does not relate to the claims or defenses in this case; accordingly, this

 Topic is not sufficiently particularized to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. For example, GSI’s communications with FDA about the Truvada® and Descovy® labels

 prior to the products’ approval for HIV treatment are not relevant to any claim or defense in this

 case.

         GSI objects to this Topic as vague and ambiguous to the extent it requires a subjective

 judgment about whether an amendment was made “as a result of communications with the

 FDA.”

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.




                                                 – 13 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 57 of 134 PageID #: 53231




         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of communications between Gilead and the FDA concerning

 the Labels, Medication Guides, Agreement Forms, and Training Guides for Healthcare Providers

 and any amendments thereto—and about a reasonable number of specific communications or

 amendments that the Government identifies in writing at least 14 days in advance of the

 deposition—to the extent that such information exists; is in GSI’s possession, custody, or

 control; and can be located with a reasonable search.

 Topic No. 6:

                 The preparation and contents of any brochure, report, meeting,
                 briefing package, study plan, and/or presentation, including drafts
                 of the same, prepared by or on behalf of Gilead that discusses the
                 use of an Accused Product for PrEP.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. This

 Topic seeks testimony on the “preparation and contents” of “any brochure, report, meeting,

 briefing package, study plan, and/or presentation, including drafts” that discusses the use of two

 of GSI’s products for PrEP. This captures an immense volume of documents—it captures, and

 seeks detailed testimony about, essentially all documents (and drafts) generated in the course of




                                                 – 14 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 58 of 134 PageID #: 53232




 two areas of GSI’s business. Accordingly, this Topic is not sufficiently particularized to enable

 GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous. Moreover, GSI objects to this Topic

 as calling for a subjective judgment about whether a document was prepared “on behalf of” GSI.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a document was prepared “on behalf of” GSI, which requires legal

 conclusions regarding corporate agency.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic. However, subject to and without waiving the foregoing General

 and Specific Objections, GSI is willing to provide one or more designees to testify concerning

 relevant, non-privileged factual information related to GSI’s general knowledge of the

 preparation and contents of a reasonable number of brochures, reports, meetings, briefing




                                                 – 15 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 59 of 134 PageID #: 53233




 packages, study plans, and/or presentations, prepared by GSI that discusses the use of an

 Accused Product for PrEP (to the extent that such information exists; is in GSI’s possession,

 custody, or control; and can be located with a reasonable search) if the government identifies the

 brochures, reports, meetings, briefing packages, study plans, and/or presentations in advance of

 the deposition. GSI is unable to determine who the designee should be until the government

 identifies the documents on which it seeks testimony; accordingly, GSI requests that the

 government identify the document no later than 14 days before the first deposition of a GSI

 employee is scheduled.

 Topic No. 7:

                All non-identical marketing, promotional, safety information
                (including but not limited to information for adults or adolescents
                who do not have HIV) and fact sheets, checklists for prescribers, or
                educational materials relating to the use of the Accused Products
                for PrEP, including drafts or iterations thereof, all communications
                with regulatory agencies (including the FDA) regarding such
                materials, Gilead’s efforts to provide such materials to healthcare
                providers or patients, and the identities of all individuals involved
                in the preparation or selection of such materials, including all
                marketing and promotional materials identified in Gilead’s
                responses to Plaintiff’s Interrogatory No. 7.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks testimony about every document (including “drafts or iterations”)

 generated in a significant part of GSI’s business. It also seeks testimony about “all

 communications” with regulatory agencies about such documents and all “efforts to provide such

 materials to healthcare providers or patients,” again capturing an excessive volume of

 communications. This Topic also seeks detailed testimony on “all marketing and promotional




                                               – 16 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 60 of 134 PageID #: 53234




 materials identified in Gilead’s responses to Plaintiff’s Interrogatory No. 7,” which cites more

 than 800 documents. Accordingly, this Topic is not sufficiently particularized to enable GSI to

 prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. For example, the government identified only about 13 documents falling within the scope

 of this Topic in its October 30, 2020 initial infringement contentions, yet it seeks testimony on a

 set of documents that is many times larger than that. Many of the documents recited in this

 Topic also have no relation to the government’s claims or defenses, such as communications

 with “regulatory agencies” outside the United States.

         GSI objects to this Topic as vague and ambiguous, including the terms “non-identical,

 “educational materials relating to the use of the Accused Products for PrEP,” and “Gilead’s

 efforts to provide such materials to healthcare providers or patients.”

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information




                                                 – 17 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 61 of 134 PageID #: 53235




 related to GSI’s general knowledge of the marketing of Truvada® and Descovy® for PrEP in the

 United States since the approval of their respective PrEP indications—and about a reasonable

 number of specific marketing materials that the Government identifies in writing at least 14 days

 in advance of the deposition—to the extent that such information exists; is in GSI’s possession,

 custody, or control; and can be located with a reasonable search.

 Topic No. 8:

                Gilead’s promotion and efforts to promote the sale or use of the
                Accused Products for PrEP, all changes to these promotions or
                efforts, and the reasons for any change.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, to the extent this Topic requests testimony about “all changes to these promotions or

 efforts, and the reasons for any change,” it captures an enormous volume of potentially

 responsive information, including information about routine, day-to-day decisions made by

 individual sales representatives. Accordingly, this Topic is not sufficiently particularized to

 enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous, including the terms “efforts to

 promote” and “changes to these promotions or efforts.”




                                                 – 18 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 62 of 134 PageID #: 53236




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether particular actions constitute “promotion.”

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of GSI’s promotion and efforts to promote the sale or use of

 Truvada® and Descovy® for PrEP in the United States since the approval of their respective PrEP

 indications, including about changes to such promotion or efforts and the reasons for such

 changes—and about a reasonable number of specific changes to such promotion or efforts that

 the Government identifies in writing at least 14 days in advance of the deposition—to the extent

 that such information exists; is in GSI’s possession, custody, or control; and can be located with

 a reasonable search.

 Topic No. 9:

                 The amount of money spent by Gilead to promote the use of an
                 Accused Product for any approved indication, including but not




                                                 – 19 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 63 of 134 PageID #: 53237




                limited to the use of an Accused Product for PrEP in the United
                States.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic is not limited to particular indications, uses, time periods, or geographies;

 accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

 designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, particularly to the extent it seeks testimony regarding the amount of money spent by GSI to

 promote the Accused Products for any use other than PrEP or to promote the Accused Products

 prior to issuance of the first Patent-in-Suit on June 2, 2015, or outside the United States.

        GSI objects to this Topic as vague and ambiguous, including the term “amount of money

 spent to promote the use,” which calling for a subjective judgment about whether certain

 expenditures were “to promote” a particular use versus use of the product generally and whether

 certain activities, such as educational activities, are activities “to promote” use.

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

        GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether certain activities constitute “promotion.”




                                                 – 20 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 64 of 134 PageID #: 53238




         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of GSI’s marketing expenditures for Truvada® and Descovy®

 in the United States from June 2, 2015, to present, including GSI’s marketing expenditures for

 Truvada® and Descovy® for PrEP in the United States over that period, to the extent that such

 information exists; is in GSI’s possession, custody, or control; and can be located with a

 reasonable search.

 Topic No. 10:

                 [Intentionally Omitted]



         No response to this Topic is required.

 Topic No. 11:

                 Any study, analysis, survey, or investigation by or for Gilead of
                 any projected, expected, or potential sales, market share, or market
                 information for the use of the Accused Products according to any
                 of their indications, including any comparison of sales, market
                 share, or market information for each indication.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, to the extent this Topic seeks testimony on “[a]ny” study, analysis, survey, or




                                                  – 21 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 65 of 134 PageID #: 53239




 investigation, it potentially seeks testimony about voluminous calculations. Moreover, this

 Topic fails to identify any particular element of any such “study, analysis, survey, or

 investigation,” despite such studies frequently involving complex and diverse types of

 calculations. Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a

 corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, particularly to the extent it seeks testimony regarding any “study, analysis, survey, or

 investigation” covering only periods prior to issuance of the first Patent-in-Suit on June 2, 2015,

 or geographies outside the United States.

        GSI objects to this Topic as vague and ambiguous, including the terms “for Gilead,” “for

 the use of the Accused Products according to any of their indications,” and “any comparison of

 sales, market share, or market information for each indication.”

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

        GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a “study, analysis, survey, or investigation” was performed “for

 Gilead,” which requires legal conclusions regarding corporate agency.

        GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.




                                                – 22 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 66 of 134 PageID #: 53240




         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of its near- and mid-range forecasts of Truvada® and

 Descovy® demand volume and market share in the United States, including its forecasts of

 Truvada® and Descovy® demand volume and market share for PrEP in the United States, to the

 extent that such information exists; is in GSI’s possession, custody, or control; and can be

 located with a reasonable search. If the government intends to seek particularized testimony

 about any specific forecast or document in response to this Topic, GSI requests that the

 government identify the document in writing at least 14 days in advance of the deposition.

 Topic No. 12:

                 [Intentionally Omitted]



         No response to this Topic is required.

 Topic No. 13:

                 Gilead’s knowledge, estimates, and/or calculations of sales and
                 market share for the use of each of the Accused Products for PrEP
                 in the U.S., including: prescription estimates (and the data
                 underlying such prescription estimates), gross and net sale
                 estimates, profit and loss estimates (and the data underlying such
                 profit and loss estimates), any growth or decline in sales and
                 factors contributing to the same, costs (including research and
                 development costs), pricing, gross and net profits, revenues,
                 market share, market definition, sales and profit projections,
                 consumer profiles, and physician or managed care surveys; any


                                                  – 23 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 67 of 134 PageID #: 53241




                information or documents identified in Gilead’s responses to
                Plaintiff’s Interrogatory No. 4; and any statements made by or on
                behalf of Gilead concerning the aforementioned knowledge,
                estimates, and/or calculations during earnings calls, and the
                manner in which Gilead arrived at the aforementioned estimates
                and/or calculations.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. This

 138-word, single-sentence Topic covers a vast range of different financial and sales metrics and

 information about sales and seeks information that cannot possibly be known by a single

 corporate designee. Accordingly, this Topic is not sufficiently particularized to enable GSI to

 prepare a corporate designee.

        GSI objects to this Topic as vague and ambiguous. Indeed, as written, this compound

 Topic is essentially incomprehensible.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, for example, to the extent this Topic seeks information about the sales of Truvada® prior to

 the issuance of the first Patent-in-Suit on June 2, 2015, or Descovy® prior to the approval of its

 PrEP indication on October 3, 2019.

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.




                                                – 24 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 68 of 134 PageID #: 53242




         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether statements were made “on behalf of Gilead,” which requires legal

 conclusions regarding corporate agency.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of (i) its estimates of the U.S. demand volume, sales volume,

 revenue, and market share of Truvada® for PrEP from June 2, 2015 to present and of Descovy®

 for PrEP from October 3, 2019 to present and (ii) its near- and mid-range forecasts of Truvada®

 and Descovy® demand volume, sales volume, revenue, and market share for PrEP in the United

 States, to the extent that such information exists; is in GSI’s possession, custody, or control; and

 can be located with a reasonable search.

 Topic No. 14:

                 [Intentionally Omitted]



         No response to this Topic is required.

 Topic No. 15:

                 Any study, analysis, survey, or investigation by or for Gilead
                 regarding the use of the Accused Products for PrEP, including but


                                                  – 25 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 69 of 134 PageID #: 53243




                not limited to the number or percentage of individuals using the
                Accused Products for PrEP that have contact with HIV or that
                engage in activity that could result in contact with HIV.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks testimony on “[a]ny study, analysis, survey, or investigation” about

 the recited subject matter but fails to identify, with specificity, any such study that has actually

 been performed. Accordingly, this Topic is not sufficiently particularized to enable GSI to

 prepare a corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, particularly to the extent that it is not limited to the period for with the government is

 seeking damages or to the United States.

        GSI objects to this Topic as vague and ambiguous, including the terms “for Gilead,”

 “regarding the use of the Accused Products for PrEP,” “individuals using the Accused Products

 for PrEP that have contact with HIV,” and “individuals … that engage in activity that could

 result in contact with HIV.”

        GSI objects to this Topic as improperly seeking party contentions through deposition to

 the extent this Topic seeks testimony about whether particular uses of the Accused Products for

 PrEP practice the claim limitations as construed by the Court. See General Objection No. 16.

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.


                                                 – 26 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 70 of 134 PageID #: 53244




         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a “study, analysis, survey, or investigation” was performed “for

 Gilead,” which requires legal conclusions regarding corporate agency.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of behavioral studies performed by GSI regarding the

 activities of patients who are taking the Accused Products for PrEP, to the extent that such

 studies exist and such information is in GSI’s possession, custody, or control and can be located

 with a reasonable search. If the government intends to seek particularized testimony about any

 specific study or document in response to this Topic, GSI requests that the government identify

 the document in writing at least 14 days in advance of the deposition.

 Topic No. 16:

                 Any Gilead effort or instruction intended to reduce the risk of HIV
                 infection amongst patients using the Accused Products for PrEP in
                 the U.S., including but not limited to efforts or instructions
                 concerning safer sex practices, Gilead’s knowledge, estimates,




                                                 – 27 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 71 of 134 PageID #: 53245




                 and/or calculations concerning the result of such efforts or
                 instructions, and the reasons for Gilead’s efforts or instruction.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks testimony on “[a]ny Gilead effort or instruction” about the recited

 subject matter and “knowledge, estimates, and/or calculations concerning the result of such

 efforts or instructions” but fails to identify, with specificity, an actual effort or instruction that it

 seeks testimony about or any such “estimate[]” or “calculation[]” that actually exists.

 Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

 designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, particularly to the extent that it is not limited to the period for with the government is

 seeking damages.

         GSI objects to this Topic as vague and ambiguous, including the terms “intended to

 reduce the risk of HIV infection amongst patients using the Accused Products for PrEP” and

 “safer sex practices.” Moreover, GSI objects to this Topic as calling for a subjective judgment

 about whether particular information constitutes a “reason[] for Gilead’s efforts or instruction.”

         GSI objects to this Topic as improperly seeking party contentions through deposition to

 the extent this Topic seeks testimony about whether particular uses of the Accused Products for

 PrEP practice the claim limitations as construed by the Court. See General Objection No. 16.




                                                  – 28 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 72 of 134 PageID #: 53246




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a “study, analysis, survey, or investigation” was performed “for

 Gilead,” which requires legal conclusions regarding corporate agency.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         GSI objects to this Topic as duplicative of at least Topic Nos. 4 and 7 to the extent it

 seeks information regarding “[a]ny Gilead effort or instruction intended to reduce the risk of HIV

 infection amongst patients using the Accused Products for PrEP in the U.S., including but not

 limited to efforts or instructions concerning safer sex practices.” GSI will not separately

 designate a witness to testify about this information in response to Topic No. 16 but will provide

 testimony concerning this information in response to Topic Nos. 4 and 7, subject to the

 objections and responses contained herein.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of behavioral studies performed by GSI regarding the

 activities of patients who are taking the Accused Products for PrEP, to the extent that such




                                                 – 29 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 73 of 134 PageID #: 53247




 studies exist and such information is in GSI’s possession, custody, or control and can be located

 with a reasonable search. If the government intends to seek particularized testimony about any

 specific study or document in response to this Topic, GSI requests that the government identify

 the document in writing at least 14 days in advance of the deposition.

 Topic No. 17:

                 Gilead’s knowledge, estimates, and/or calculations of patients
                 using the Accused Products for PrEP in the U.S. that are exposed
                 or are potentially exposed to HIV, any changes concerning the
                 aforementioned estimates and/or calculations, and the manner in
                 which Gilead arrived at the aforementioned estimates and/or
                 calculations.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks testimony on “estimates, and/or calculations of patients using the

 Accused Products for PrEP in the U.S. that are exposed or are potentially exposed to HIV” but

 fails to identify, with specificity, any such estimates or calculations that actually exist.

 Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

 designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, particularly to the extent that it is not limited to the period for with the government is

 seeking damages.




                                                 – 30 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 74 of 134 PageID #: 53248




         GSI objects to this Topic as vague and ambiguous, including the terms “estimates, and/or

 calculations of patients using the Accused Products for PrEP in the U.S.” and “that are exposed

 or are potentially exposed to HIV.”

         GSI objects to this Topic as improperly seeking party contentions through deposition to

 the extent this Topic seeks testimony about whether particular uses of the Accused Products for

 PrEP practice the claim limitations as construed by the Court. See General Objection No. 16.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of behavioral studies performed by GSI regarding the

 activities of patients who are taking the Accused Products for PrEP, to the extent that such

 studies exist and such information is in GSI’s possession, custody, or control and can be located

 with a reasonable search. If the government intends to seek particularized testimony about any

 specific study or document in response to this Topic, GSI requests that the government identify

 the document in writing at least 14 days in advance of the deposition.




                                                 – 31 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 75 of 134 PageID #: 53249




 Topic No. 18:

                 Gilead’s knowledge, estimates, and/or calculations of patients
                 using the Accused Products for PrEP in the U.S. to remain HIV
                 negative or uninfected, including the types of testing that provide
                 evidence of HIV negative status or uninfected status, including but
                 not limited to serological tests or polymerase chain reaction tests,
                 the prevalence of such testing as evidence of HIV negative or
                 uninfected status, and the frequency of such testing as evidence of
                 HIV negative or uninfected status.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, the information sought in the “including” clause of this Topic is not a subset of the

 information sought in the first clause of this Topic. Accordingly, this Topic is not sufficiently

 particularized to enable GSI to prepare a corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case, particularly to the extent that it is not limited to the period for which the government is

 seeking damages.

        GSI objects to this Topic as vague and ambiguous, including the terms “estimates, and/or

 calculations of patients using the Accused Products for PrEP in the U.S. to remain HIV negative

 or uninfected,” “types of testing,” and “prevalence of such testing as evidence of HIV negative

 or uninfected status.”

        GSI objects to this Topic as improperly seeking party contentions through deposition to

 the extent this Topic seeks testimony about whether particular uses of the Accused Products for

 PrEP practice the claim limitations as construed by the Court. See General Objection No. 16.



                                                – 32 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 76 of 134 PageID #: 53250




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control. In particular, GSI cannot provide testimony regarding the intent of specific

 users of the Accused Products for PrEP.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of behavioral studies performed by GSI regarding the

 activities of patients who are taking the Accused Products for PrEP, to the extent that such

 studies exist and such information is in GSI’s possession, custody, or control and can be located

 with a reasonable search. If the government intends to seek particularized testimony about any

 specific study or document in response to this Topic, GSI requests that the government identify

 the document in writing at least 14 days in advance of the deposition.

 Topic No. 19:

                 Gilead’s knowledge of factual information bearing on any
                 commercial success, unexpected result or outcome, long-felt but
                 unmet need, industry praise, teaching away, failure of Gilead or




                                                 – 33 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 77 of 134 PageID #: 53251




                 others, copying by Gilead or others, and/or skepticism by Gilead or
                 others regarding the use of the Accused Products for PrEP.



         GSI objects to this Topic as improperly seeking party contentions through deposition.

 See General Objection No. 16. This Topic is an improper contention topic because whether

 particular “factual information bear[s] on” any secondary consideration of non-obviousness

 requires both the formation of legal conclusions and the recitation of GSI’s invalidity

 contentions.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic fails to identify the facts that it seeks and instead simply seeks to define its

 scope as facts “bearing on” a legal issue; accordingly, this Topic is not sufficiently particularized

 to enable GSI to prepare a corporate designee.

         To the extent this Topic seeks testimony about facts related to the secondary

 considerations of non-obviousness that no party has asserted in this case, GSI objects to this

 Topic to the extent that it seeks information that is not relevant to the claims or defenses of any

 party to this litigation, not reasonably calculated to lead to the discovery of admissible evidence,

 or seeks discovery that is not proportional to the needs of the case.

         GSI objects to this Topic as vague and ambiguous, including the term “bearing on,”

 which requires a subjective judgment about whether particular information “bear[s] on” a

 particular legal issue.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a particular fact “bear[s] on” a particular secondary consideration of

 non-obviousness.



                                                 – 34 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 78 of 134 PageID #: 53252




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic.

 Topic No. 20:

                 Gilead’s knowledge of factual information bearing on any
                 secondary considerations (also known as objective indicia) the
                 Government asserts supports the non-obviousness of the Patents-
                 in-Suit, including but not limited to factual information bearing on
                 commercial success, unexpected results, long-felt but unmet need,
                 industry praise, teaching away, failure of others, copying, and/or
                 skepticism regarding the alleged invention(s) claimed in the
                 Patents-in-Suit, as well as factual information bearing on any
                 alleged nexus between any such secondary considerations and the
                 subject matter claimed in any of the Patents-in-Suit.



         GSI objects to this Topic as improperly seeking party contentions through deposition.

 See General Objection No. 16. This Topic is an improper contention topic because whether

 particular “factual information bear[s] on” any secondary consideration of non-obviousness

 requires both the formation of legal conclusions and the recitation of GSI’s invalidity

 contentions.



                                                 – 35 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 79 of 134 PageID #: 53253




         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic fails to identify the facts that it seeks and instead simply seeks to define its

 scope as facts “bearing on” a legal issue. Moreover, this Topic seeks testimony that is defined

 by what “the Government asserts” without defining, with specificity, what the government

 asserts. Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a

 corporate designee.

         To the extent this Topic seeks testimony about facts related to the secondary

 considerations of non-obviousness that no party has asserted in this case, GSI objects to this

 Topic to the extent that it seeks information that is not relevant to the claims or defenses of any

 party to this litigation, not reasonably calculated to lead to the discovery of admissible evidence,

 or seeks discovery that is not proportional to the needs of the case.

         GSI objects to this Topic as vague and ambiguous, including the term “bearing on,”

 which requires a subjective judgment about whether particular information “bear[s] on” a

 particular legal issue.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a particular fact “bear[s] on” a particular secondary consideration of

 non-obviousness.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.




                                                 – 36 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 80 of 134 PageID #: 53254




         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic.

 Topic No. 21:

                 All facts relating to Gilead’s preparation, filing, and prosecution of
                 any U.S. or foreign applications or patents relating to PrEP, any
                 decision by Gilead concerning the pursuit of such applications or
                 patents, and any patent or patent application assigned or licensed to
                 Gilead that refers to PrEP.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. The mere fact that a patent application refers to PrEP does not make it relevant to this case,

 nor does it make discovery into the “preparation, filing, and prosecution” of the application

 proportional to the needs of this case. Moreover, GSI has not asserted a claim of patent

 infringement in this case.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, PrEP has been known since at least the 1990s and has been discussed in a very large

 number of patent filings. This Topic seeks testimony on “[a]ll facts” related to all such filings




                                                 – 37 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 81 of 134 PageID #: 53255




 without identifying any specific filing; accordingly, this Topic is not sufficiently particularized to

 enable GSI to prepare a corporate designee.

          GSI objects to this Topic as vague and ambiguous, including the terms “facts relating to,”

 “relating to PrEP,” “concerning the pursuit of such applications,” and “refers to PrEP.”

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding the scope of the disclosure in unrelated patent applications.

          To the extent this Topic seeks testimony regarding the disclosure of prior art asserted by

 Defendants in this action, GSI objects to this Topic as improperly seeking party contentions

 through deposition, see General Objection No. 16, and GSI objects to this Topic to the extent

 that it seeks expert opinions prior to the deadline for disclosing such opinions in the Scheduling

 Order.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

          Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic.

 Topic No. 22:

                 Gilead’s decision to seek trademarks relating to PrEP including,
                 without limitation, TRUVADA FOR PREP (U.S. Reg. No.
                 5,358,262), EMTRICITABINE 200 MG / TENOFOVIR
                 DISOPROXIL FUMARATE 300 MG TABLETS FOR PREP


                                                  – 38 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 82 of 134 PageID #: 53256




                PRE-EXPOSURE PROPHYLAXIS (Registration No. 5,623,246),
                DESCOVY FOR PREP (U.S. Ser. No. 88,266,226), and
                DESCOVY EMTRICITABINE 200 MG / TENOFOVIR
                ALAFENAMIDE 25MG TABLETS FOR PREP PRE-
                EXPOSURE PROPHYLAXIS (Serial No. 88,615,918), as well as
                any valuation, costs, and expenses relating to such trademarks, and
                any consummated or unconsummated license to such trademarks,
                and the use of such trademarks to promote the use of the Accused
                Products for PrEP.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks testimony regarding an unbounded set of “trademarks relating to

 PrEP,” without limitation to specific time periods, products, or jurisdictions; accordingly, this

 Topic is not sufficiently particularized to enable GSI to prepare a corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. In particular, “Gilead’s decision to seek trademarks relating to PrEP,” “any valuation,

 costs, and expenses relating to such trademarks, and any consummated or unconsummated

 license to such trademarks” are not relevant to any claim or defense in this action.

        GSI objects to this Topic as vague and ambiguous, including the terms “decision to

 seek,” “trademarks relating to PrEP,” “valuation, costs, and expenses relating to such

 trademarks,” and “consummated or unconsummated licenses.”

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity, particularly with respect to GSI’s decision to seek such trademarks.




                                                – 39 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 83 of 134 PageID #: 53257




         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a license is “consummated” or encompasses the recited trademarks

 and whether a particular trademark has been “used” and whether such use constitutes

 “promotion.”

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control. In particular, GSI objects to this Topic to the extent it seeks testimony about

 GSI’s “decision to seek … DESCOVY FOR PREP (U.S. Ser. No. 88,266,226), and DESCOVY

 EMTRICITABINE 200 MG / TENOFOVIR ALAFENAMIDE 25MG TABLETS FOR PREP

 PRE-EXPOSURE PROPHYLAXIS (Serial No. 88,615,918)” because these trademarks were

 sought and obtained by a different entity.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of the use of the trademarks bearing U.S. Registration Nos.

 5,358,262, 5,623,246 and U.S. Serial Nos. 88,266,226 and 88,615,918 in the United States since

 June 2, 2015, to promote the use of Truvada® or Descovy® for PrEP, to the extent that such

 information exists; is in GSI’s possession, custody, or control; and can be located with a

 reasonable search.

 Topic No. 23:

                 Gilead’s preparation, filing, and prosecution of trademarks relating
                 to PrEP including, without limitation, TRUVADA FOR PREP
                 (U.S. Reg. No. 5,358,262), EMTRICITABINE 200 MG /
                 TENOFOVIR DISOPROXIL FUMARATE 300 MG TABLETS
                 FOR PREP PRE-EXPOSURE PROPHYLAXIS (Registration No.
                 5,623,246), DESCOVY FOR PREP (U.S. Ser. No. 88,266,226),


                                                 – 40 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 84 of 134 PageID #: 53258




                and DESCOVY EMTRICITABINE 200 MG / TENOFOVIR
                ALAFENAMIDE 25MG TABLETS FOR PREP PRE-
                EXPOSURE PROPHYLAXIS (Serial No. 88,615,918).



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks testimony regarding an unbounded set of “trademarks relating to

 PrEP,” without limitation to specific time periods, products, or jurisdictions; accordingly, this

 Topic is not sufficiently particularized to enable GSI to prepare a corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. In particular, “Gilead’s preparation, filing, and prosecution of trademarks relating to PrEP”

 is not relevant to any claim or defense in this action.

        GSI objects to this Topic as vague and ambiguous, including the term “preparation.”

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

        GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control. In particular, GSI objects to this Topic to the extent it seeks testimony about

 GSI’s “preparation, filing, and prosecution of … DESCOVY FOR PREP (U.S. Ser. No.

 88,266,226), and DESCOVY EMTRICITABINE 200 MG / TENOFOVIR ALAFENAMIDE

 25MG TABLETS FOR PREP PRE-EXPOSURE PROPHYLAXIS (Serial No. 88,615,918)”

 because these trademarks were sought and obtained by a different entity.




                                                 – 41 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 85 of 134 PageID #: 53259




         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic.

 Topic No. 24:

                 All writings, publications, abstracts, papers, articles, memoranda,
                 reports, speeches, or presentations (whether published or not)
                 authored, co-authored, or given by or for Gilead concerning the
                 Accused Products, tenofovir, TDF, TAF, or FTC for PrEP.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. This

 Topic seeks testimony on “[a]ll writings, publications, abstracts, papers, articles, memoranda,

 reports, speeches, or presentations (whether published or not)” that “concerning the Accused

 Products, tenofovir, TDF, TAF, or FTC for PrEP.” This captures an immense volume of

 documents—it captures, and seeks detailed testimony about, essentially all documents (and

 drafts) generated in the course of GSI’s work with several of its products. Accordingly, this

 Topic is not sufficiently particularized to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous. Moreover, GSI objects to this Topic

 as calling for a subjective judgment about whether a document was “authored, co-authored, or

 given … for” GSI.



                                                 – 42 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 86 of 134 PageID #: 53260




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether a document was “authored, co-authored, or given … for” GSI,

 which requires legal conclusions regarding corporate agency.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic. However, subject to and without waiving the foregoing General

 and Specific Objections, GSI is willing to provide one or more designees to testify concerning

 relevant, non-privileged factual information related to GSI’s general knowledge of a reasonable

 number of writings, publications, abstracts, papers, articles, memoranda, reports, speeches, or

 presentations authored, co-authored, or given by or for GSI concerning the Accused Products,

 tenofovir, TDF, TAF, or FTC for PrEP (to the extent that such information exists; is in GSI’s

 possession, custody, or control; and can be located with a reasonable search) if the government

 identifies the writings, publications, abstracts, papers, articles, memoranda, reports, speeches, or

 presentations in advance of the deposition. GSI is unable to determine who the designee should

 be until the government identifies the documents on which it seeks testimony; accordingly, GSI

 requests that the government identify the document no later than 14 days before the first

 deposition of a GSI employee is scheduled.




                                                 – 43 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 87 of 134 PageID #: 53261




 Topic No. 25:

                 Gilead’s characterizations of nucleoside reverse transcriptase
                 inhibitors (NRTIs), nucleotide reverse transcriptase inhibitors
                 (NtRTIs), and/or any prodrugs of NRTIs/NtRTIs as an ester, as
                 containing an ester, as being an esterified form of a metabolite, or
                 otherwise referring to or characterizing the NRTI/ NtRTIs as an
                 ester or prodrug.



        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. It is undisputed that both Accused Products contain a “tenofovir prodrug” and that

 Truvada® contains a “tenofovir ester,” as those terms are used in the Asserted Claims. In view of

 the Court’s construction of the term “tenofovir ester,” the government has no good-faith basis to

 assert that Descovy® contains a “tenofovir ester,” as explained in Defendants’ October 20, 2021

 letter to the government, which is incorporated herein by reference. Moreover, “Gilead’s

 characterizations” of particular compounds is not relevant to infringement or validity of the

 asserted claims, which is evaluated from the perspective of a person of ordinary skill in the art

 and not by reference to GSI’s internal characterizations, to the extent there were any.

        GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, it seeks testimony about any “characterizations” of any of several broad classes of

 compounds; accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a

 corporate designee.



                                                – 44 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 88 of 134 PageID #: 53262




         GSI objects to this Topic as vague and ambiguous, including the terms

 “characterizations” and “otherwise referring to or characterizing.”

         GSI objects to this Topic as improperly seeking party contentions through deposition to

 the extent it seeks GSI’s contentions regarding whether TAF is a “tenofovir ester” as the Court

 has construed that term. See General Objection No. 16.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic.

 Topic No. 26:

                 Gilead’s knowledge, statements, or disclosures regarding the in
                 vitro or in vivo conversion of TDF or TAF to tenofovir, the
                 mechanism for such conversions, and the purpose and function of
                 any phosphonester or phosphonamidate bond in TDF or TAF.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. It is undisputed that both Accused Products contain a “tenofovir prodrug” and that

 Truvada® contains a “tenofovir ester,” as those terms are used in the Asserted Claims. In view of

 the Court’s construction of the term “tenofovir ester,” the government has no good-faith basis to

 assert that Descovy® contains a “tenofovir ester,” as explained in Defendants’ October 20, 2021

 letter to the government, which is incorporated herein by reference. Moreover, “Gilead’s



                                                 – 45 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 89 of 134 PageID #: 53263




 knowledge, statements, or disclosures” of the recited subject matter is not relevant to

 infringement or validity of the asserted claims, which is evaluated from the perspective of a

 person of ordinary skill in the art and not by reference to GSI’s “Gilead’s knowledge, statements,

 or disclosures.”

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

 for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested.

         GSI objects to this Topic as vague and ambiguous, including the terms “in vitro or in vivo

 conversion” and “the purpose and function of any phosphonester or phosphonamidate bond.”

         GSI objects to this Topic as improperly seeking party contentions through deposition to

 the extent it seeks GSI’s contentions regarding whether TAF is a “tenofovir ester” as the Court

 has construed that term. See General Objection No. 16.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

 to testify concerning this Topic.




                                                 – 46 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 90 of 134 PageID #: 53264




 Topic No. 27:

                 Gilead’s monitoring of the Federal Register, its awareness of the
                 Federal Register, including 79 FR 59277, and any changes to
                 Gilead’s monitoring of the Federal Register from 2007 to present.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, it seeks testimony regarding “Gilead’s monitoring of the Federal Register” without

 specifying the purposes of such monitoring. Likewise, to the extent it is seeking GSI’s

 “awareness” of every entry contained in the Federal Register—a multivolume publication with

 tens of thousands of pages—over a 14-year time period, GSI simply cannot prepare a witness to

 provide such testimony. Accordingly, this Topic is not sufficiently particularized to enable GSI

 to prepare a corporate designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. The only Federal Register entry that has been identified by any party as relevant to this

 action is the entry at 79 Fed. Reg. 59,277. GSI will not designate a witness to testify concerning

 its “awareness” of any other entry.

        GSI objects to this Topic as vague and ambiguous, including the terms “monitoring,”

 “awareness of the Federal Register,” and “changes to Gilead’s monitoring.”

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.




                                                – 47 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 91 of 134 PageID #: 53265




        GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether information held by a particular individual is sufficient to constitute

 “awareness” by GSI.

        To the extent this Topic seeks testimony on whether information held by a particular

 individual is sufficient to constitute “awareness” by GSI, GSI objects to this Topic as improperly

 seeking party contentions through deposition. See General Objection No. 16.

        GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

        Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of GSI’s first awareness of the Federal Register entry having

 the citation 79 Fed. Reg. 59,277, to the extent that such information exists; is in GSI’s

 possession, custody, or control; and can be located with a reasonable search.

 Topic No. 28:

                 Gilead’s communication with the Government regarding the
                 manuscript that was published as J. Gerardo García-Lerma et al.,
                 Prevention of Rectal SHIV Transmission in Macaques by Daily or
                 Intermittent Prophylaxis with Emtricitabine and Tenofovir, 5 PLoS
                 Medicine e28 (2008), as well as Gilead’s review or knowledge of
                 the manuscript, including drafts thereof and any versions of this
                 manuscript.



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, it seeks testimony about “Gilead’s communication with the Government regarding the

 [recited] manuscript,” but it fails to identify the individuals who may have been involved in or




                                                – 48 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 92 of 134 PageID #: 53266




 the timeframe of the communications; accordingly, this Topic is not sufficiently particularized to

 enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous, including the terms “knowledge of the

 manuscript.”

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether information held by a particular individual is sufficient to constitute

 “knowledge” by GSI.

         To the extent this Topic seeks testimony on whether information held by a particular

 individual is sufficient to constitute “knowledge” by GSI, GSI objects to this Topic as

 improperly seeking party contentions through deposition. See General Objection No. 16.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of GSI’s communication with the government about, and

 GSI’s review of, the manuscript that was published as J. Gerardo García-Lerma et al., Prevention




                                                 – 49 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 93 of 134 PageID #: 53267




 of Rectal SHIV Transmission in Macaques by Daily or Intermittent Prophylaxis with

 Emtricitabine and Tenofovir, 5 PLoS Medicine e28 (2008), including drafts thereof and any

 versions of this manuscript, to the extent that such information exists; is in GSI’s possession,

 custody, or control; and can be located with a reasonable search.

 Topic No. 29:

                 The circumstance(s) by which and the date(s) on which Gilead first
                 became aware of any of the Patents-in-Suit, any application or
                 foreign counterpart of any of the Patents-in-Suit, or any publication
                 of an application relating to any of the aforementioned documents,
                 including, but not limited to U.S. Provisional Application No.
                 60/764,811; U.S. Patent Application No. 11/669,547, U.S. Patent
                 Publication No. US20070265227, or U.S. Patent No. 9,044,509;
                 U.S. Patent Application No. 14/679,887, U.S. Patent Publication
                 No. US2015/0272972, or U.S. Patent No. 9,579,333; U.S. Patent
                 Application No. 15/913,750, U.S. Patent Publication No.
                 US2018/0193366, or U.S. Patent No. 10,335,423; International
                 Patent Application No. PCT/US2007/002926 or International
                 Publication No. WO2007/092326; European Patent Application
                 No. 07763090.3 or European Patent No. 2015753; or patent
                 application(s) having the title “Inhibition of HIV Infection through
                 Chemoprophylaxis.”



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, to the extent this Topic seeks information about “any publication of an application

 relating to any of the [recited] documents,” this Topic fails to adequately define its boundaries;

 accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

 designee.

        GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the



                                                – 50 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 94 of 134 PageID #: 53268




 case. For example, to the extent this Topic seeks information related to GSI’s first awareness of

 the Patents-in-Suit issued after the ‘509 Patent, such information is not relevant because GSI has

 stated that “for the purposes of this action, GSI will not contest that it had actual or constructive

 knowledge of the ‘333 Patent as of February 28, 2017; the ‘191 Patent as of April 10, 2018; and

 the ‘423 Patent as of July 2, 2019.” Defs.’ 2d Suppl. Objs. & Resps. to Pl.’s Interrog. Nos. 1-4 &

 6-9, at 155 (Feb. 18, 2021).

        GSI objects to this Topic as vague and ambiguous, including the term “any publication of

 an application relating to any of the aforementioned documents.”

        GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

        GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether information held by a particular individual is sufficient to constitute

 “aware[ness]” by GSI.

        To the extent this Topic seeks testimony on whether information held by a particular

 individual is sufficient to constitute “aware[ness]” by GSI, GSI objects to this Topic as

 improperly seeking party contentions through deposition. See General Objection No. 16. GSI

 will not designate a witness to testify concerning its contentions regarding whether certain facts

 establish that GSI had corporate “aware[ness]” of the applications, publications, and patents

 recited in this Topic.

        GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.




                                                 – 51 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 95 of 134 PageID #: 53269




        Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of (1) the receipt of emails from Laura T. Prestia by Drs.

 Linda Higgins and Jay Parrish on October 23, 2014 and (2) the receipt of an email from Tara

 Kirby by Dr. Jay Parrish on March 11, 2016, to the extent that such information exists; is in

 GSI’s possession, custody, or control; and can be located with a reasonable search.

 Topic No. 30:

                 Any correspondence, attachments, or disclosures between either
                 the Government or a Named Inventor and Gilead that included a
                 reference to, or related to, U.S. Provisional Application No.
                 60/764,811; U.S. Patent Application No. 11/669,547, U.S. Patent
                 Publication No. US20070265227, or U.S. Patent No. 9,044,509;
                 U.S. Patent Application No. 14/679,887, U.S. Patent Publication
                 No. US2015/0272972, or U.S. Patent No. 9,579,333; U.S. Patent
                 Application No. 15/913,750, U.S. Patent Publication No.
                 US2018/0193366, or U.S. Patent No. 10,335,423; International
                 Patent Application No. PCT/US2007/002926 or International
                 Publication No. WO2007/092326; the title “Inhibition of HIV
                 Infection through Chemoprophylaxis;” European Patent
                 Application No. 07763090.3 or European Patent No. 2015753;
                 patent application(s) having the title “Inhibition of HIV Infection
                 through Chemoprophylaxis;” or referred to a “patent application
                 related to methods for HIV prophylaxis.”



        GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

 to describe with reasonable particularity the matters on which examination is requested. For

 example, this Topic seeks information about “[a]ny correspondence, attachments, or disclosures

 between either the Government or a Named Inventor and Gilead that included a reference to, or

 related to,” certain documents but fails to identify any specific “correspondence, attachments, or

 disclosures,” which is information that is necessarily within the government’s possession.




                                                – 52 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 96 of 134 PageID #: 53270




 Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

 designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case. For example, GSI will not designate a witness to testify concerning the portions of this

 Topic relating to U.S. Patent Application No. 14/679,887, U.S. Patent Publication No.

 US2015/0272972, U.S. Patent No. 9,579,333, U.S. Patent Application No. 15/913,750, U.S.

 Patent Publication No. US2018/0193366, or U.S. Patent No. 10,335,423 because, as stated in

 GSI’s Second Amended & Supplemental Response to Interrogatory No. 8, “for the purposes of

 this action, GSI will not contest that it had actual or constructive knowledge of the ‘333 Patent as

 of February 28, 2017; the ‘191 Patent as of April 10, 2018; and the ‘423 Patent as of July 2,

 2019.” Defs.’ 2d Suppl. Objs. & Resps. to Pl.’s Interrog. Nos. 1-4 & 6-9, at 155 (Feb. 18, 2021).

         GSI objects to this Topic as vague and ambiguous, including the term “included a

 reference to, or related to.”

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

 example, regarding whether information held by a particular individual is sufficient to constitute

 knowledge by GSI.

         To the extent this Topic seeks testimony on whether information held by a particular

 individual is sufficient to constitute knowledge by GSI, GSI objects to this Topic as improperly




                                                 – 53 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 97 of 134 PageID #: 53271




 seeking party contentions through deposition. See General Objection No. 16. GSI will not

 designate a witness to testify concerning its contentions regarding whether certain facts establish

 that GSI had corporate knowledge of the applications, publications, and patents recited in this

 Topic.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

          Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge (1) of correspondence, attachments, or disclosures prior to

 October 23, 2014 between either the Government or a Named Inventor, on the one hand, and

 GSI, on the other hand, that included a reference to any of U.S. Provisional Application No.

 60/764,811, U.S. Patent Application No. 11/669,547, U.S. Patent Publication No.

 US20070265227, International Patent Application No. PCT/US2007/002926, or International

 Publication No. WO2007/092326, European Patent Application No. 07763090.3, European

 Patent No. 2015753, or patent application(s) having the title “Inhibition of HIV Infection through

 Chemoprophylaxis” and (2) of correspondence, attachments, or disclosures prior to March 11,

 2016 between either the Government or a Named Inventor, on the one hand, and GSI, on the

 other hand, that included a reference to any U.S. Patent No. 9,044,509, to the extent that such

 information exists; is in GSI’s possession, custody, or control; and can be located with a

 reasonable search. If the government is aware of and seeks testimony about any specific

 “correspondence, attachments, or disclosures,” GSI requests that the government identify the

 document in writing at least 14 days in advance of the deposition.




                                                – 54 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 98 of 134 PageID #: 53272




 Topic No. 31:

                 The Employee Confidential Information and Inventions Agreement
                 between inventor Robert Janssen and Gilead Sciences, Inc. bearing
                 Bates numbers GILDDE00892506-GILDDE00892515, including
                 the storage, access, and dissemination of this agreement within
                 Gilead.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous, including the terms “storage, access,

 and dissemination.”

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of the storage, access, and dissemination within GSI of the

 Employee Confidential Information and Inventions Agreement between Robert Janssen and GSI

 bearing Bates numbers GILDDE00892506-GILDDE00892515, to the extent that such

 information exists; is in GSI’s possession, custody, or control; and can be located with a

 reasonable search.




                                                 – 55 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 99 of 134 PageID #: 53273




 Topic No. 32:

                 All applications for employment and/or employment records
                 Gilead possesses concerning any Named Inventor, including Dr.
                 Janssen and Dr. Heneine.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

 claims or defenses of any party to this litigation, not reasonably calculated to lead to the

 discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

 case.

         GSI objects to this Topic as vague and ambiguous, including the terms “applications for

 employment and/or employment records Gilead possesses” and “concerning.” GSI interprets

 this Topic to refer to applications for employment at GSI submitted by Dr. Janssen or Dr.

 Heneine and employment records from Dr. Janssen’s employment at GSI.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

 by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

 immunity.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

 custody, or control.

         GSI also objects to this Topic to the extent it seeks testimony concerning information

 subject to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

 provide one or more designees to testify concerning relevant, non-privileged factual information

 related to GSI’s general knowledge of Dr. Robert Janssen’s application for employment with

 GSI and his GSI employment records and, to the extent any such application was received, Dr.




                                                 – 56 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 100 of 134 PageID #: 53274




  Walid Heneine’s application for employment with GSI, to the extent that such information

  exists; is in GSI’s possession, custody, or control; and can be located with a reasonable search.

  Topic No. 33:

                  Gilead’s knowledge of Dr. Walid Heneine’s patents, patent
                  applications, and pending patent applications, including but not
                  limited to Patent Application Serial No. 60/764,811, the
                  circumstances relating to Gilead’s awareness of the
                  aforementioned patents, patent applications, and pending patent
                  applications, and communications between Dr. Walid Heneine and
                  Gilead concerning a seminar titled “HIV Prevention by
                  Antiretroviral Prophylaxis,” including the date and contents of this
                  seminar.



          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic is not limited to the Patents-in-Suit or the applications from which they

  issued but seeks testimony concerning “Dr. Walid Heneine’s patents, patent applications, and

  pending patent applications” generally; accordingly, this Topic is not sufficiently particularized

  to enable GSI to prepare a corporate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic as vague and ambiguous, including the terms “of Dr. Walid

  Heneine’s patents, patent applications, and pending patent applications” and “circumstances

  relating to Gilead’s awareness.”




                                                  – 57 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 101 of 134 PageID #: 53275




         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether information is sufficient to constitute “knowledge” or “awareness”

  by GSI, which requires legal conclusions regarding corporate agency.

         To the extent this Topic seeks GSI’s contentions about whether information is sufficient

  to constitute “knowledge” or “awareness” by GSI, GSI objects to this Topic as improperly

  seeking party contentions through deposition. See General Objection No. 16.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of Dr. Walid Heneine’s presentation at GSI on or around

  September 24, 2008 titled “HIV Prevention by Antiretroviral Prophylaxis,” to the extent that

  such information exists; is in GSI’s possession, custody, or control; and can be located with a

  reasonable search.

  Topic No. 34:

                  The provision of Dr. Walid Heneine’s CV to Susan Edl in 2008
                  and to Dr. William Lee in 2010, including the reasons relating to
                  the provision of the CV to Gilead at the aforementioned times, any
                  review of Dr. Heneine’s CV by Gilead, and all factual information
                  bearing on Gilead’s notice and/or awareness of, and any
                  subsequent steps taken by Gilead in view of the disclosure of,
                  Patent Application Serial No. 60/764,811 titled “Inhibition of HIV
                  Invention through Chemoprophylaxis” as listed in the CV that Dr.
                  Heneine provided to Ms. Edl and Dr. Lee.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For




                                                 – 58 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 102 of 134 PageID #: 53276




  example, this Topic seeks testimony on “including the reasons relating to the provision of the CV

  to Gilead at the aforementioned times,” which seeks information that is, at least in part, known

  only to the individual that provided the documents and not to GSI. Moreover, this Topic seeks

  “all factual information bearing on Gilead’s notice and/or awareness of” the recited provisional

  application without identifying the specific factual information about which the government is

  seeking testimony. Accordingly, this Topic is not sufficiently particularized to enable GSI to

  prepare a corporate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic as vague and ambiguous, including the terms “reasons relating

  to the provision of the CV to Gilead,” “review of Dr. Heneine’s CV by Gilead,” “all factual

  information bearing on Gilead’s notice and/or awareness of … Patent Application Serial No.

  60/764,811.”

          GSI objects to this Topic as lacking foundation to the extent that it states that “Dr. Walid

  Heneine’s CV” contained a “disclosure of” the recited provisional application.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether information is sufficient to constitute “notice and/or awareness” by

  GSI, which requires legal conclusions regarding corporate agency.




                                                  – 59 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 103 of 134 PageID #: 53277




         To the extent this Topic seeks GSI contentions regarding whether information is

  sufficient to constitute “notice and/or awareness” by GSI, GSI objects to this Topic as

  improperly seeking party contentions through deposition. See General Objection No. 16.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

         Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of the provision of Dr. Walid Heneine’s CV to Susan Edl in

  2008 and to Dr. William Lee in 2010, including the reasons relating to the provision of the CV to

  Ms. Edl and Dr. Lee at the aforementioned times and any review of the versions of Dr. Heneine’s

  CV provided to Ms. Edl or Dr. Lee by GSI employees, to the extent that such information exists;

  is in GSI’s possession, custody, or control; and can be located with a reasonable search.

  Topic No. 35:

                  All communications between Gilead and the Government relating
                  to the Patents-in-Suit and any correspondence or documents
                  prepared by Gilead regarding the Patents-in-Suit.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. In particular, the government necessarily has “[a]ll communications between Gilead and

  the Government relating to the Patents-in-Suit” because the government was a party to the

  communications; it is unduly burdensome and not proportional to the needs of this case for the

  government to seek corporate testimony from GSI about information that the government already




                                                 – 60 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 104 of 134 PageID #: 53278




  has. Moreover, such communications arose in the context of potential settlement negotiations

  and are not admissible pursuant to Federal Rule of Evidence 408—indeed, the government itself

  marked the communications as inadmissible pursuant to Rule 408. And to the extent this Topic

  seeks testimony regarding “documents prepared by Gilead regarding the Patents-in-Suit” that

  were not included in correspondence with the government, it seeks testimony about documents

  that are entirely protected by at least the attorney-client privilege and the work-product doctrine.

          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic fails to identify, with specificity, the communications, correspondence, or

  documents about which the government seeks testimony. Accordingly, this Topic is not

  sufficiently particularized to enable GSI to prepare a corporate designee.

          GSI objects to this Topic as vague and ambiguous, including the terms “relating to the

  Patents-in-Suit” and “regarding the Patents-in-Suit.”

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether a particular document was “prepared by Gilead,” which requires

  legal conclusions regarding corporate agency.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.




                                                  – 61 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 105 of 134 PageID #: 53279




         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 36:

                  All information Gilead has provided or has considered providing to
                  the USPTO relating to the patentability of the asserted claims of
                  the Patents-in-Suit since its knowledge of any of the following:
                  U.S. Provisional Application No. 60/764,811; U.S. Patent
                  Application No. 11/669,547, U.S. Patent Publication No.
                  US20070265227, or U.S. Patent No. 9,044,509; U.S. Patent
                  Application No. 14/679,887, U.S. Patent Publication No.
                  US2015/0272972, or U.S. Patent No. 9,579,333; U.S. Patent
                  Application No. 15/913,750, U.S. Patent Publication No.
                  US2018/0193366, or U.S. Patent No. 10,335,423; International
                  Patent Application No. PCT/US2007/002926 or International
                  Publication No. WO2007/092326, European Patent Application
                  No. 07763090.3 or European Patent No. 2015753, any decisions as
                  to whether to provide such information, and all information used or
                  considered in making these decisions.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. To the extent this Topic seeks testimony regarding “information Gilead has provided … to

  the USPTO relating to the patentability of the asserted claims of the Patents-in-Suit,” this Topic

  seeks information that is a matter of public record—the prosecution histories of the Patents-in-

  Suit reflect all such information, and it would be unduly burdensome and not proportional to the

  needs of this case for GSI to prepare a witness to provide testimony for the government

  regarding the contents of a public government file. Moreover, to the extent this Topic seeks

  testimony regarding either “information Gilead … has considered providing to the USPTO

  relating to the patentability of the asserted claims of the Patents-in-Suit” but did not actually




                                                 – 62 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 106 of 134 PageID #: 53280




  provide, or testimony regarding GSI’s “decisions as to whether to provide [information that it

  has provided to the USPTO], and all information used or considered in making these decisions,”

  it seeks testimony about documents that are entirely protected by at least the attorney-client

  privilege and the work-product doctrine.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested.

         GSI objects to this Topic as vague and ambiguous, including the terms “considered

  providing,” “relating to the patentability of the asserted claims of the Patents-in-Suit,” “decisions

  as to whether to provide such information,” and “information used or considered in making these

  decisions.”

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether information is “relat[ed] to the patentability of the asserted claims of

  the Patents-in-Suit” or whether information is sufficient to constitute “knowledge” by GSI of the

  recited patents or patent applications, which requires legal conclusions regarding corporate

  agency.

         To the extent this Topic seeks testimony regarding whether information is “relat[ed] to

  the patentability of the asserted claims of the Patents-in-Suit” or whether information is

  sufficient to constitute “knowledge” by GSI of the recited patents or patent applications, GSI

  objects to this Topic as improperly seeking party contentions through deposition. See General

  Objection No. 16.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

  for disclosing such opinions in the Scheduling Order.




                                                 – 63 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 107 of 134 PageID #: 53281




         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 37:

                  Gilead’s knowledge of factual information bearing on attempts by
                  Gilead to design around the asserted claims of the Patents-in-Suit
                  including, but not limited to, any decision or communications with
                  regulatory agencies (including the FDA) concerning the
                  amendment of the Labels or Medication Guides for the Accused
                  Products in view of the Patents-in-Suit.



         GSI objects to this Topic as improperly seeking party contentions through deposition.

  See General Objection No. 16. This Topic is an improper contention topic because whether

  particular “factual information bear[s] on” and attempts “to design around the asserted claims of

  the Patents-in-Suit” requires both the formation of legal conclusions and the recitation of GSI’s

  contentions regarding the scope of the asserted claims.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic fails to identify the facts that it seeks and instead simply seeks to define its

  scope as facts “bearing on” a legal issue; accordingly, this Topic is not sufficiently particularized

  to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. GSI has provided, and will continue to provide, its contentions in response to the



                                                  – 64 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 108 of 134 PageID #: 53282




  government’s interrogatories and according to the schedule for contention disclosures set by the

  Court. A witness’s ability to recall those contentions during a deposition is simply not relevant

  to any claim or defense.

         GSI objects to this Topic as vague and ambiguous, including the term “bearing on,”

  which requires a subjective judgment about whether particular information “bear[s] on” a

  particular legal issue. Moreover, GSI objects to this Topic as vague and ambiguous, including

  the terms “design around,” “concerning,” and “in view of the Patents-in-Suit.”

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding the scope of the asserted claims.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

  for disclosing such opinions in the Scheduling Order.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 38:

                  The factual information bearing on Gilead’s assertions, if any, that
                  the asserted claims of the Patents-in-Suit are invalid or




                                                 – 65 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 109 of 134 PageID #: 53283




                 unenforceable or that the Government is prohibited from owning
                 or asserting any of the Patents-in-Suit.



         GSI objects to this Topic as improperly seeking party contentions through deposition.

  See General Objection No. 16. This Topic is an improper contention topic because whether

  particular “factual information bear[s] on” GSI’s contentions regarding invalidity,

  unenforceability, and the government authority requires both the formation of legal conclusions

  and the recitation of GSI’s contentions.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic fails to identify the facts that it seeks and instead simply seeks to define its

  scope as facts “bearing on” a legal issue; accordingly, this Topic is not sufficiently particularized

  to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. GSI has provided, and will continue to provide, its contentions in response to the

  government’s interrogatories and according to the schedule for contention disclosures set by the

  Court. A witness’s ability to recall those contentions during a deposition is simply not relevant

  to any claim or defense.

         GSI objects to this Topic as vague and ambiguous, including the term “bearing on.”

         GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether a particular fact “bear[s] on” a particular legal issue.




                                                  – 66 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 110 of 134 PageID #: 53284




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

         GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

  for disclosing such opinions in the Scheduling Order.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 39:

                  The factual information bearing on Gilead’s assertions, if any, that
                  it does not infringe any asserted claim of the Patents-in-Suit,
                  including factual information bearing on the efforts Gilead has
                  undertaken to determine whether or not it infringes any asserted
                  claim.



         GSI objects to this Topic as improperly seeking party contentions through deposition.

  See General Objection No. 16. This Topic is an improper contention topic because whether

  particular “factual information bear[s] on” GSI’s contentions regarding non-infringement

  requires both the formation of legal conclusions and the recitation of GSI’s contentions.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic fails to identify the facts that it seeks and instead simply seeks to define its

  scope as facts “bearing on” a legal issue; accordingly, this Topic is not sufficiently particularized

  to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the




                                                  – 67 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 111 of 134 PageID #: 53285




  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. GSI has provided, and will continue to provide, its contentions in response to the

  government’s interrogatories and according to the schedule for contention disclosures set by the

  Court. A witness’s ability to recall those contentions during a deposition is simply not relevant

  to any claim or defense.

          GSI objects to this Topic as vague and ambiguous, including the term “bearing on,”

  which requires a subjective judgment about whether particular information “bear[s] on” a

  particular legal issue.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether a particular fact “bear[s] on” GSI’s non-infringement.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

  for disclosing such opinions in the Scheduling Order.

          Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 40:

                  All valuations, assessments, analyses and/or opinions regarding the
                  Patents-in-Suit, including all opinions reflected in
                  GILDDE00893250.



          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For




                                                  – 68 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 112 of 134 PageID #: 53286




  example, this Topic fails to identify any specific non-privileged “valuations, assessments,

  analyses and/or opinions” performed by or for GSI; accordingly, this Topic is not sufficiently

  particularized to enable GSI to prepare a corporate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity. GSI is unaware of any non-privileged “valuations, assessments, analyses and/or

  opinions regarding the Patents-in-Suit” performed by or for GSI; accordingly, this Topic seeks

  testimony about documents that are entirely protected by at least the attorney-client privilege and

  the work-product doctrine.

          GSI objects to this Topic as improperly seeking party contentions through deposition.

  See General Objection No. 16.

          GSI objects to this Topic to the extent that it seeks expert opinions prior to the deadline

  for disclosing such opinions in the Scheduling Order.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control. In particular, the “opinions reflected in GILDDE00893250” are contained

  within an analyst report attributed to “Morgan Stanley/Harrison,” GILDDE00893250-

  GILDDE00893264, at GILDDE00893251—they are not opinions attributed to GSI or prepared

  for GSI.




                                                  – 69 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 113 of 134 PageID #: 53287




         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 41:

                  Any considerations by Gilead to seek or take a license under the
                  Patents-in-Suit and all communications or discussions regarding
                  such a license, including all communications and discussions
                  related to those reflected in US_00004729 to US_00005032.



         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. In particular, the government necessarily has “[a]ll communications” between Gilead and

  the government “regarding such a license” because the government was a party to the

  communications; it is unduly burdensome and not proportional to the needs of this case for the

  government to seek corporate testimony from GSI about information that the government already

  has. Moreover, such communications arose in the context of potential settlement negotiations

  and are not admissible pursuant to Federal Rule of Evidence 408—indeed, the government itself

  marked the communications as inadmissible pursuant to Rule 408. And to the extent this Topic

  seeks testimony regarding other “considerations” or “communications and discussions” that were

  not included in correspondence with the government, it seeks testimony about documents that are

  entirely protected by at least the attorney-client privilege and the work-product doctrine.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic fails to identify, with specificity, which communications, correspondence, or

  documents within the hundreds of pages identified in the Bates range US_00004729 to



                                                 – 70 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 114 of 134 PageID #: 53288




  US_00005032, which the government seeks testimony. Accordingly, this Topic is not

  sufficiently particularized to enable GSI to prepare a corporate designee.

          GSI objects to this Topic as vague and ambiguous, including the terms “considerations by

  Gilead” and “communications or discussions regarding such a license.” Moreover, GSI objects

  to this Topic as vague and ambiguous because the specific “communications and discussions”

  about which it seeks testimony—i.e., “those reflected in US_00004729 to US_00005032”—are

  not complete communications because these documents appear to contain Freedom of

  Information Act redactions.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.

          Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 42:

                  The roles and responsibilities of each Gilead entity in the
                  manufacturing, sale, distribution, prescription, research, analysis,




                                                  – 71 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 115 of 134 PageID #: 53289




                  testing, marketing, and regulatory submissions for PrEP
                  indications for the Accused Products.



          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic does not identify the specific information related to the “roles and

  responsibilities” that it is seeking; accordingly, this Topic is not sufficiently particularized to

  enable GSI to prepare a corporate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. In particular, the “roles and responsibilities” of entities other than the named Defendants

  are not relevant to any claim or defense in this litigation. Moreover, even for the named

  Defendants, their respective “roles and responsibilities” in the “prescription, research, analysis,

  [and] testing” of the Accused Products is not relevant to any claim or defense. And the roles of

  the named Defendants in the manufacturing, sale, distribution, marketing, and regulatory

  submissions for Truvada® prior to June 2, 2015 (i.e., the issuance of the first Patent-in-Suit) and

  for Descovy® prior to October 3, 2019 (i.e., the first marketing of Descovy® for PrEP in the

  United States) are not relevant to any claim or defense, nor are the activities of either named

  Defendants relating to the manufacturing, sale, distribution, marketing, and regulatory

  submissions for Truvada® or Descovy® for use outside the United States.

          GSI objects to this Topic as vague and ambiguous, including the terms “roles and

  responsibilities,” “prescription,” “analysis,” and “testing.”




                                                  – 72 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 116 of 134 PageID #: 53290




          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.

          Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of GSI’s roles and responsibilities in the manufacturing, sale,

  distribution, marketing, and regulatory submissions for Truvada® that may be sold for PrEP in

  the United States from June 2, 2015, to present and for Descovy® that may be sold for PrEP in

  the United States from October 3, 2019 to present, to the extent that such information exists; is in

  GSI’s possession, custody, or control; and can be located with a reasonable search.

  Topic No. 43:

                  Gilead’s communications and relationships, past and present, with
                  the Named Inventors during their employment at CDC.



          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic seeks non-specific testimony about any communications and relationships

  between GSI, which has thousands of employees, and the Named Inventors, without identifying

  the specific communications or nature of the communications about which the government is

  seeking testimony. Accordingly, this Topic is not sufficiently particularized to enable GSI to

  prepare a corporate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the



                                                  – 73 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 117 of 134 PageID #: 53291




  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic as vague and ambiguous, including the term “relationships.”

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether a particular communication was on behalf of GSI, which requires

  legal conclusions regarding corporate agency.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of GSI’s relationships with the Named Inventors during their

  employment at CDC to the extent that such information exists; is in GSI’s possession, custody,

  or control; and can be located with a reasonable search. GSI will not, and cannot, prepare a

  witness to testify concerning each and every communication between a GSI employee and the

  Named Inventors during their employment at CDC; however, GSI will consider providing

  testimony concerning a reasonable number of specific communications that the Government

  identifies in writing at least 14 days in advance of the deposition.

  Topic No. 44:

                  All bases for Gilead CEO Daniel O’Day’s statement in his
                  testimony before the United States House Committee on Oversight
                  and Reform on May 16, 2019 that “[u]sing Truvada for PrEP was
                  well known in the scientific community, long before CDC claimed


                                                  – 74 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 118 of 134 PageID #: 53292




                  it as an invention,” but nonetheless Gilead has “chosen not to
                  challenge those patents because we value our collaborative
                  relationship with the agency.”



          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. In particular, the May 16, 2019 testimony of Gilead’s CEO before the United States House

  Committee on Oversight and Reform is not relevant to any claim or defense in this action. GSI

  will not designate a witness to provide testimony about its prior testimony. Moreover, the timing

  of GSI’s decision to “challenge” the asserted patents after they issued is not relevant to any claim

  or defense in this litigation.

          GSI objects to this Topic as improperly seeking party contentions through deposition.

  See General Objection No. 16. The bases for Mr. O’Day’s testimony that “[u]sing Truvada for

  PrEP was well known in the scientific community, long before CDC claimed it as an invention”

  are contained within GSI’s invalidity contentions. GSI will not designate a witness to memorize

  and recite invalidity contentions that GSI has provided to the government in response to the

  government’s interrogatories and according to the schedule for exchange of invalidity

  contentions set in the Scheduling Order. To the extent this Topic seeks some or all of the bases

  for GSI’s invalidity contentions, GSI also objects to this Topic to the extent that it seeks expert

  opinions prior to the deadline for disclosing such opinions in the Scheduling Order.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity. In particular, any bases for Mr. O’Day’s testimony that GSI had “chosen not to

  challenge [the asserted] patents because we value our collaborative relationship with the agency”


                                                  – 75 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 119 of 134 PageID #: 53293




  beyond those apparent from the statement itself reflect communications with GSI’s attorneys and

  are protected from disclosure by at least the attorney-client privilege. Mr. O’Day did not join

  GSI until March 2019, which was just two months before the testimony recited in this Topic, so

  any information known by Mr. O’Day regarding events before March 2019 was necessarily

  obtained via privileged attorney-client communications.

         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, it vaguely seeks all “bases” for statements, which requires a subjective determination

  of whether a particular fact is a basis for the statements or merely informs or corroborates them.

  Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

  designee.

         GSI objects to this Topic as vague and ambiguous, including the term “bases.”

         GSI objects to this Topic as lacking foundation to the extent it selectively quotes and

  mischaracterizes the referenced testimony.

         GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 45:

                  All bases for Gilead CEO Daniel O’Day’s statements in his
                  testimony before the United States House Committee on Oversight
                  and Reform on May 16, 2019 (i) that “there was no additional
                  increase to the price [of Truvada®] as a result of the additional
                  indication [the PrEP Indication]”; (ii) that Gilead considers “the
                  access limitations that might be created by setting that price [of
                  Truvada for PrEP®], and we anticipate that in advance”; and (iii)
                  that “[w]hen we set the price for Truvada originally, we took into


                                                – 76 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 120 of 134 PageID #: 53294




                  account a variety of things, including the impact upon the
                  healthcare system . . . .”



          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. In particular, the May 16, 2019 testimony of Gilead’s CEO before the United States House

  Committee on Oversight and Reform is not relevant to any claim or defense in this action. GSI

  will not designate a witness to provide testimony about its prior testimony. Moreover, the

  underlying information sought by this Topic—i.e., information related to how GSI set the price

  of Truvada® many years before the first Patent-in-Suit issued—is not relevant to any claim or

  defense in this litigation.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity. Mr. O’Day did not join GSI until March 2019, which was just two months before the

  testimony recited in this Topic, so any information known by Mr. O’Day regarding events before

  March 2019 was necessarily obtained via privileged attorney-client communications.

          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, it vaguely seeks all “bases” for statements, which requires a subjective determination

  of whether a particular fact is a basis for the statements or merely informs or corroborates them.

  Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

  designee.

          GSI objects to this Topic as vague and ambiguous, including the term “bases.”



                                                  – 77 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 121 of 134 PageID #: 53295




          GSI objects to this Topic as lacking foundation to the extent it selectively quotes and

  mischaracterizes the referenced testimony.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.

          Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 46:

                  All MTAs between the Department of Health and Human Services
                  (HHS), including Operating Divisions of HHS such as CDC and
                  NIH, and Gilead relating to HIV research and amendments thereto,
                  all communications between HHS and Gilead regarding these
                  MTAs, all communications within Gilead regarding these MTAs,
                  and all communications regarding compliance with these MTAs.



          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic does not identify any specific MTA agreements. Accordingly, this Topic is

  not sufficiently particularized to enable GSI to prepare a corporate designee. To the extent the

  government seeks testimony regarding agreements other than those that have been expressly

  identified in the pleadings in this action, the government must identify those agreements so GSI

  can make any appropriate objections and, if GSI agrees to designee a witness to testify about a

  particular agreement, so GSI can identify and prepare an appropriate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the



                                                  – 78 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 122 of 134 PageID #: 53296




  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic as vague and ambiguous, including the terms “relating to HIV

  research,” “amendments thereto,” “regarding these MTAs,” and “compliance with these MTAs.”

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether a particular set of facts constitutes an “amendment[]” to an MTA

  and whether particular actions were taken as part of “compliance with these MTAs,” which

  necessarily requires a legal determination about the scope of GSI’s obligations under the MTAs.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.

          Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of the ’072, ’433, ’471, and ’649 MTAs (as defined in

  Defendants’ 30(b)(6) Deposition Notice to the Government), the amendments thereto, GSI’s

  communications with HHS related thereto, GSI’s internal communications related thereto, and

  GSI’s compliance with its obligations under these MTAs and amendments, to the extent that

  such information exists; is in GSI’s possession, custody, or control; and can be located with a

  reasonable search. Moreover, GSI will consider providing testimony concerning a reasonable




                                                  – 79 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 123 of 134 PageID #: 53297




  number of specific communications that the government identifies in writing at least 14 days in

  advance of the deposition. GSI will also consider providing testimony concerning a reasonable

  number of other specific MTAs that the government identifies in writing at least 14 days in

  advance of the deposition.

  Topic No. 47:

                  All CTAs between the Department of Health and Human Services
                  (HHS), including Operating Divisions of HHS such as CDC and
                  NIH, and Gilead relating to HIV research and amendments thereto,
                  all communications between HHS and Gilead regarding these
                  CTAs, all communications within Gilead regarding these CTAs,
                  and all communications regarding compliance with these CTAs.



          GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic does not identify any specific CTA agreements. Accordingly, this Topic is

  not sufficiently particularized to enable GSI to prepare a corporate designee. To the extent the

  government seeks testimony regarding agreements other than those that have been expressly

  identified in the pleadings in this action, the government must identify those agreements so GSI

  can make any appropriate objections and, if GSI agrees to designee a witness to testify about a

  particular agreement, so GSI can identify and prepare an appropriate designee.

          GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic as vague and ambiguous, including the terms “relating to HIV

  research,” “amendments thereto,” “regarding these CTAs,” and “compliance with these CTAs.”



                                                  – 80 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 124 of 134 PageID #: 53298




          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSI objects to this Topic to the extent that it seeks or requires legal conclusions, for

  example, regarding whether a particular set of facts constitutes an “amendment[]” to a CTA and

  whether particular actions were taken as part of “compliance with these CTAs,” which

  necessarily requires a legal determination about the scope of GSI’s obligations under the CTAs.

          GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

          GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.

          Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of the CDC 4323 and Botswana CTAs (as defined in

  Defendants’ 30(b)(6) Deposition Notice to the Government), the amendments thereto, GSI’s

  communications with HHS related thereto, GSI’s internal communications related thereto, and

  GSI’s compliance with its obligations under these CTAs and amendments, to the extent that such

  information exists; is in GSI’s possession, custody, or control; and can be located with a

  reasonable search. Moreover, GSI will consider providing testimony concerning a reasonable

  number of specific communications that the government identifies in writing at least 14 days in

  advance of the deposition. GSI will also consider providing testimony concerning a reasonable

  number of other specific CTAs that the government identifies in writing at least 14 days in

  advance of the deposition.




                                                  – 81 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 125 of 134 PageID #: 53299




  Topic No. 48:

                  Gilead’s process for monitoring publications, applications, and/or
                  patents relating to the technical field and/or marketplace of
                  Gilead’s pharmaceutical products) or use of such products,
                  including but not limited to, (i) the maintenance of any repository
                  or library of such information that was in effect from 2007 to
                  present and (ii) the use of patent search services identified in
                  Gilead’s response to Interrogatory No. 9 from 2007 to present.



         GSI objects to this Topic as unduly burdensome and overly broad to the extent that it fails

  to describe with reasonable particularity the matters on which examination is requested. For

  example, this Topic generally seeks testimony regarding GSI’s monitoring of the literature—a

  major function for an innovator pharmaceutical company—over a 15-year period; accordingly,

  this Topic is not sufficiently particularized to enable GSI to prepare a corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. The only period in which GSI disputes having had knowledge of one of the issued Patents-

  in-Suit is the approximately 9-month period between June 2, 2015, when the first Patent-in-Suit

  issued, and March 11, 2016. See Defs.’ 2d Suppl. Objs. & Resps. to Pl.’s Interrog. Nos. 1-4 & 6-

  9, at 154-55 (Feb. 18, 2021). Accordingly, GSI’s patent monitoring practices for the vast

  majority of the period for which this Topic seeks testimony are not relevant.

         GSI objects to this Topic as vague and ambiguous, including the terms “process for

  monitoring” and “patents relating to the technical field and/or marketplace of Gilead’s

  pharmaceutical products).”




                                                 – 82 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 126 of 134 PageID #: 53300




           GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

           GSI objects to this Topic to the extent it seeks information not within GSI’s possession,

  custody, or control.

           GSI also objects to this Topic to the extent it seeks testimony concerning information

  subject to confidentiality obligations to third parties.

           Subject to and without waiving the foregoing General and Specific Objections, GSI will

  provide one or more designees to testify concerning relevant, non-privileged factual information

  related to GSI’s general knowledge of GSI’s practices for monitoring publications, patent

  applications, and/or patent publications relating to HIV from 2007 to present, to the extent that

  such information exists; is in GSI’s possession, custody, or control; and can be located with a

  reasonable search.

  Topic No. 49:

                  Gilead’s search for and collection of the documents produced by it
                  in this action in response to the Government’s first and second
                  requests for production.



           GSI objects to this Topic to the extent that it fails to describe with reasonable

  particularity the matters on which examination is requested and is unduly burdensome and overly

  broad.

           GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the




                                                   – 83 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 127 of 134 PageID #: 53301




  case. See, e.g., Martin v. Allstate Ins. Co., 292 F.R.D. 361, 363-64 (N.D. Tex. 2013) (denying

  motion to compel 30(b)(6) testimony on “‘non-merits’ based discovery,” such as “Defendant’s

  document retention policies,” “Defendant’s efforts in responding to Plaintiff’s discovery,” or

  “Defendant’s efforts . . . to preserve documents and electronic information relevant to the

  anticipated suit”); see also Fish v. Air & Liquid Sys. Corp., No. CV GLR-16-496, 2017 WL

  697663, at *14 (D. Md. Feb. 21, 2017) (granting protective order on 30(b)(6) topic directed to

  document retention policies); Bombardier Recreational Prods., Inc. v. Arctic Cat, Inc., No. 12-

  cv-2706 (MJD/LIB), 2014 WL 10714011, at *14-15 (D. Minn. Dec. 5, 2014) (in denying

  plaintiff’s request for a Rule 30(b)(6) deposition that would address, in part, the defendant’s

  “efforts to collect and produce” responsive documents and exclude documents from production

  for purported lack of relevancy, the court rejected this topic as “discovery on discovery” without

  some showing that this information “is relevant to––or may lead to the discovery of information

  relevant to––any claim or defense at issue in the present case” and noting that the requested

  information “treads dangerously close to encroaching on attorney work product privilege”). In

  particular, GSI’s search for and collection of “the documents produced by it in this action” is not

  relevant to any claim or defense in this action and not proportional to the needs of this case

  because the documents that are the subject of this Topic have, in fact, been produced to the

  government.

         GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

         GSI objects to this Topic because it is impermissible under Section 1(d)(iii) of the

  Delaware Default Standard, which provides that “[a]ctivities undertaken in compliance with the




                                                 – 84 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 128 of 134 PageID #: 53302




  duty to preserve information are protected from disclosure and discovery under Fed. R. Civ. P.

  26(b)(3)(A) and (B).”

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 50:

                  Gilead’s document retention and destruction policies.



         GSI objects to this Topic to the extent that it fails to describe with reasonable

  particularity the matters on which examination is requested and is unduly burdensome and overly

  broad. In particular, GSI objects to this Topic to the extent it is not limit to any particular time

  period and does not specify any particular types of documents that are the subject of this Topic;

  accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a corporate

  designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the

  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case. See, e.g., Martin v. Allstate Ins. Co., 292 F.R.D. 361, 363-64 (N.D. Tex. 2013) (denying

  motion to compel 30(b)(6) testimony on “‘non-merits’ based discovery, such as “Defendant’s

  document retention policies,” “Defendant’s efforts in responding to Plaintiff’s discovery,” or

  “Defendant’s efforts . . . to preserve documents and electronic information relevant to the

  anticipated suit”); see also Fish v. Air & Liquid Sys. Corp., No. CV GLR-16-496, 2017 WL

  697663, at *14 (D. Md. Feb. 21, 2017) (granting protective order on 30(b)(6) topic directed to

  document retention policies).




                                                  – 85 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 129 of 134 PageID #: 53303




         GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

         GSI objects to this Topic because it is impermissible under Section 1(d)(iii) of the

  Delaware Default Standard, which provides that “[a]ctivities undertaken in compliance with the

  duty to preserve information are protected from disclosure and discovery under Fed. R. Civ. P.

  26(b)(3)(A) and (B).”

         Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic.

  Topic No. 51:

                  The authenticity and status as business records of all documents
                  produced by Gilead in this litigation.



         GSI objects to this Topic to the extent that it fails to describe with reasonable

  particularity the matters on which examination is requested and is unduly burdensome and overly

  broad. In particular, GSI has produced over 195,000 documents, comprising more than 2.6

  million pages, in this litigation. These documents were collected from a multitude of different

  sources and originated over the course of more than two decades. It is simply not possible for

  any witness to testify regarding “[t]he authenticity and status as business records of all [such]

  documents.” Accordingly, this Topic is not sufficiently particularized to enable GSI to prepare a

  corporate designee.

         GSI objects to this Topic to the extent that it seeks information that is not relevant to the

  claims or defenses of any party to this litigation, not reasonably calculated to lead to the




                                                 – 86 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 130 of 134 PageID #: 53304




  discovery of admissible evidence, or seeks discovery that is not proportional to the needs of the

  case.

          GSI objects to this Topic to the extent that it seeks information protected from disclosure

  by the attorney-client privilege, the work-product doctrine, or any other applicable privilege or

  immunity.

          GSIUC objects to this Topic to the extent that it seeks or requires legal conclusions.

          Based on the foregoing General and Specific Objections, GSI will not designate a witness

  to testify concerning this Topic. GSI is willing to meet and confer to discuss a general, bilateral

  procedure for obtaining authentication and/or business-record admissions or stipulations for

  documents produced in this litigation.

  Topic No. 52:

                  [Intentionally Omitted]



          No response to this Topic is required.




                                                   – 87 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 131 of 134 PageID #: 53305




   Dated: November 22, 2021                /s/ Alexandra M. Ewing
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                                      – 88 –
Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 132 of 134 PageID #: 53306




                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 22, 2021, I caused true and correct copies of the

  foregoing document to be served on the following counsel in the manner indicated:

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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 133 of 134 PageID #: 53307




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  THE UNITED STATES OF AMERICA,
       Plaintiff–Counterclaim Defendant,
                                                       C.A. No. 1:19-cv-02103-MN-CJB
         v.

  GILEAD SCIENCES, INC.,
       Defendant–Counterclaim Plaintiff,

  AND GILEAD SCIENCES IRELAND
  UC,
       Defendant.

                                  CERTIFICATE OF SERVICE

         I, Kimberly Rechner, an employee with the United States Attorney’s Office for the District

  of Delaware, hereby certify that on January 18, 2022, I caused to file under seal:

                          Letter to the Honorable Christopher J. Burke

  via CM/ECF. I further certify a copy of the foregoing was sent via email to the following:

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Case 1:19-cv-02103-MN Document 287 Filed 02/01/22 Page 134 of 134 PageID #: 53308




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                                            /s/ Kimberly Rechner
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